                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

In re: GRCDALLAS HOMES, LLC                  §              Case No. 19-41186
                                             §
                         Debtor              §              Chapter 11


                           UNSWORN DECLARATION OF RYAN ROUZ


        My name is Ryan Rouz. My date of birth is July 31, 1989. My address is 1111 S. Akard

St. #405 Dallas, Texas 75215. I declare under penalty of perjury that the foregoing is true and

correct.

        Executed in Dallas County, State of Texas, on the 18th day of May, 2022.

        1.      GRC Dallas Homes, LLC., retained me for three lawsuits referred to in this

Bankruptcy as “the Causes of Action.” The three Causes of action are:

        a. GRC v. Turner (20-2890-158)

        b. GRC v. Autry (21-6053-158)

        c. GRC v. Freeman (20-2993-16)

        2.       In addition to the aforementioned causes of action, GRC asked me to investigate

a potential cause of action against Statebridge Company, LLC., and DB RR, LLC. After

investigating the facts, I decided that GRC had a legitimate claim against the Statebridge and

DBRR, LLC. I drafted an original petition for GRC. (See Exhibit 1). However, the original

petition was never filed for two reasons. First, GRC did not have any money. Second, and the

more important reason is due to the extreme pressure Kaz is already under. I know that Kaz

cannot add any more lawsuits to his plate at this moment.




UNSWORN DECLARATION OF RYAN ROUZ – PAGE 1
        3.       Since September 30, 2020, GRC requested a payoff on the loans. (See Exhibit

2). After GRC’s initial request, a second request was sent on November 16, a third request was

made on November 30, a fourth request was made on December 14, and a fifth request was made

on December 21. Finally, on December 29, GRC was provided with the requested payoffs;

however, the payoffs were only good through December 31, 2020. (See Exhibit 3). GRC’s

requests were communicated to and/or directed to counsel for Statebridge, Statebridge itself,

Statebridge Foreclosure, and Statebridge Bankruptcy.

        4.       It took Statebridge three (3) months to provide GRC with payoffs on the

requested loans. And when Statebridge did finally provide the payoffs, they were only good for

two (2) days. Unfortunately for GRC, the self-serving tactics by Statebridge did not stop there.

The icing on the cake was the inaccurate accounting by Statebridge on the unreasonably delayed

payoff statement. Statebridge’s payoff statement states “[t]he next payment is due on 11/1/2020.”

Counsel for Statebridge also alleges that “loans are due for 11/01/2020, which means [GRC is]

60 days behind on plan payments . . . .” This is false, as November payments cleared on October

29, 2020. (See Exhibit 4).

        5.       Fast forward to March 9, 2022. DBRR mailed its notice of acceleration and

notice of trustee’s sale to GRC. (See Exhibit 5). GRC did not receive the notice until March 22,

2022. The foreclosure was scheduled for April 5, 2022. I e-mailed a payoff request to Michael

Burns, attorney for DBRR, that same day. (See Exhibits 6 and 7). Mr. Burns responded the

same day, he acknowledged receipt of the payoff statement and forwarded the payoff request for

processing. Approximately four (4) hours later, I sent Mr. Burns an e-mail with the intent to buy

GRC some extra time to avoid the foreclosure.




UNSWORN DECLARATION OF RYAN ROUZ – PAGE 2
        6.       On March 23, 2022, Mr. Burns responded by saying. “Since GRC has no good

faith intent to pay off the lien (as is made apparent in this message) DB RR, LLC will not be

providing payoff information.” On March 25, 2022 I spoke with Mr. Burns on the phone. I tried

to negotiate a deal with DBRR where GRC would pay for DBRR’s attorney fees and the

outstanding balance in exchange for DBRR cancelling the foreclosure sale and reinstating the

loan. On March 31, 2022, Mr. Burns responded, “Hi Ryan – the beneficiary denies the request to

cancel the foreclosure sale. It intends to proceed with the 04/05/2022 foreclosure sale as

scheduled. The requested payoff quote is attached. Thanks.” (See Exhibit 8).

        7.       I have little to no knowledge of Bankruptcy law. For this reason, Kaz had to rely

exclusively on his Bankruptcy lawyer to discuss possible ways of delaying the foreclosure.

However, on March 31, 2022 Kaz and Greg seemed to butt heads. As I recall, Greg was busy

throughout the day with other matters, but was trying to help Kaz. As the day progressed, Kaz

became more stressed out and was desperately trying to find a solution. I recall Kaz stating he

was going to have a phone call with Greg. I also recall the conversation took place after 5pm. I

want to be clear that I was not privy to this particular conversation. However, Kaz informed me

that he got into with Greg. Later, Kaz sent me a screen shot of a text between himself and Greg,

where Greg said, “I’ll call you tomorrow when I’m in a better mood and you’re not being a dick

to me.” (See Exhibit 9).

        8.       Greg and Kaz did not speak for three weeks after this incident. Kaz felt as though

his lawyer abandoned him at a time of need. In this situation, I sympathize with both sides. As a

lawyer, I sympathize with Greg because he is taking calls after-hours. In addition, Greg, much

like myself, have not been paid in approximately one year. It is hard to remain a zealous

advocate for your client when you feel as though you are working for free. I also sympathize




UNSWORN DECLARATION OF RYAN ROUZ – PAGE 3
with Kaz because he too has not been paid in approximately one year. Kaz explained that he

feared letting Shady Lane being foreclosed and selling at auction for less than the payoff amount

– leaving GRC with one less property and deficiency. Furthermore, I sympathize with Kaz

because of the numerous times he felt as though he was stonewalled by Robert Nicoud with his

scorched Earth litigation. More importantly, Kaz expressed many times that he has completely

lost trust in his Plan Agent, Chris Moser.

        9.       Here are some notable examples of Kaz getting “stonewalled” by Robert Nicoud

and/or Chris Moser, examples of Moser and Nicoud working very closely together, and

examples of GRC getting hit with bad luck/bad timing:

                a. Chris Moser stopped a $100,000 payment to Construction Consultant (See

                    Exhibit 10, Page 32, Line 15 – Page 33, Line 13), which caused to

                    contractors to stop working on the house – leaving Kaz to perform all the

                    work himself (See Exhibit 10, Page 78, Lines 6-14).

                b. Chris Moser shared confidential GRC information with Robert Nicoud

                    without permission from GRC. (See Exhibit 14).

                c. Robert Nicoud filed 3 frivolous writs of garnishment and dismissing each of

                    them on the day of the hearing. (See Exhibit 10, Page 60, Lines 3-25) (See

                    also Exhibits 17 and 17).

                d. Chris Moser surprised Kaz during a TRO hearing in June 2021 with offers on

                    the properties. Instead of disclosing the existence of the offers to Kaz, Chris

                    chose to wait until the day of the hearing and

                e. Chris Moser lets Robert Nicoud drive the bus. (See Exhibit 10, Page 69, Line

                    2 – Page 70, Line 10).




UNSWORN DECLARATION OF RYAN ROUZ – PAGE 4
                f. I will refrain from making any comments here. But I ask the Trustee to read

                    this. (See Exhibit 10, Page 94, Line 23 – Page 104, Line 21).

                g. In the months leading to March 22, 2022, GRC was planning on filing a

                    motion to sell. (See Exhibit 6, Page 7). GRC did not believe it needed to file

                    a motion to sell. However, GRC wanted to avoid/minimize the objections

                    filed by Robert Nicoud. Unfortunately, GRC’s plan to file a motion to sell fell

                    apart upon GRC receiving the Notice of Acceleration and Notice of Trustee’s

                    Sale.

                h. On April 22, 2022, GRC finally filed its Motion to Sell. On April 25, the

                    Trustee filed a Motion to Convert or Dismiss. On April 27, the prospective

                    purchaser rescinded his offer after discovering a defective chain of title. The

                    same day, Greg Mitchell filed a Motion to Withdraw. Despite a string of bad

                    luck, Kaz did not stop fighting to maximize the estate’s assets.

        10.      On the morning of April 1, 2022, I told Kaz that I would try to save the property

from foreclosure to prevent GRC from being converted to Chapter 7.

        11.      On April 1, 2022 at 4:10 P.M., I sent Mr. Burns the following e-mail with the

hopes of delaying the foreclosure: “Hi Michael, My client disputes the amount claimed by

DBRR in the payoff statement. Your client is hereby put on notice of GRC's imminent DTPA

claim. A formal DTPA notice is forthcoming.” Mr. Burns responded, “Thank you for the notice

Ryan. Dispute that your client is a consumer under the DTPA. The mortgagee will seek to

recover all costs and fees incurred to defend against any baseless claims.” I received Michael’s

email at 4:37 P.M., on Friday April 1, 2022. At this moment, there was only 1 business day

separating DBRR from foreclosing on the property on April 5, 2022.




UNSWORN DECLARATION OF RYAN ROUZ – PAGE 5
        12.      After receiving Michael’s email at 4:37 P.M., on Friday April 1, 2022, I drafted a

lawsuit against DBRR. (See Exhibits 11, 12, 13). My intent was to file a TRO to try to keep the

property out of foreclosure. I wanted to argue that the payoff amount was incorrect. However, at

this point there was very little time left and I could not identify with certainty that the payoff

amount was incorrect. I finally realized there was nothing I could do to delay or stop the

foreclosure, outside of paying off DBRR.

        13.      I had the funds to prevent the foreclosure. However, I was not sure whether to

purchase the property from GRC or whether I should give a loan to GRC so GRC could then pay

off the mortgage. Again, I am unfamiliar with Bankruptcy law. I felt as though giving a loan to

GRC would pose a higher risk for me.

        14.      On April 4, 2022, at 4:14 P.M., I sent a wire transfer of $191,000 to DBRR. (See

Exhibit 6). I was nervous, even at this point that I would not be able to stop the foreclosure in

time.

        15.      On the day of the foreclosure auction - Tuesday, April 5, 2022, at 8:55 AM, Mr.

Burns sent me an e-mail confirming receipt of the wire and accepted and the foreclosure sale was

cancelled. (See Exhibit 6). After the wire was accepted, Kaz executed a general warranty deed.

I recorded the warranty deed on April 21, 2022. (See Exhibit 15).

                                               Respectfully,

                                               /s/ Ryan Rouz______
                                               Ryan Rouz
                                               1111 S. Akard St. #405
                                               Dallas, Texas 75215
                                               T: 469-777-1451
                                               F: 469-666-9291
                                               e-mail: ryan@rouzlaw.com




UNSWORN DECLARATION OF RYAN ROUZ – PAGE 6
                                      NO. ____________

GRCDALLASHOMES, LLC                             §   IN THE DISTRICT COURT
Plaintiff,                                      §
                                                §
V.                                              §   ________ JUDICIAL DISTRICT
                                                §
STATEBRIDGE COMPANY, LLC AND                    §
DB RR, LLC                                      §
Defendants.                                     §   OF DENTON COUNTY, TEXAS

                           PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES GRCDallasHomes, LLC, hereinafter called Plaintiff, complaining of and

about Statebridge Company, LLC and DB RR, LLC, hereinafter called Defendants, and for cause

of action shows unto the Court the following:

                          DISCOVERY CONTROL PLAN LEVEL

       1.     Plaintiff intends that discovery be conducted under Discovery Level 2.

                                  PARTIES AND SERVICE

       2.     Plaintiff, GRCDallasHomes, LLC, is a Limited Liability Company whose address

is 13220 Beach Club Road, The Colony, Texas 75056.

       3.     Defendant Statebridge Company, LLC, a Nonresident Limited Liability

Company, may be served with process by serving the registered agent of said company, InCorp

Services, Inc., at 36 South 18th Avenure, Suite D, Brighton, CO, 80601, its registered office.

Service of said Defendant as described above can be effected by certified mail, return receipt

requested.

       4.     Defendant DB RR, LLC, a Nonresident Limited Liability Company, may be

served with process by serving the registered agent of said company, THE CORPORATION

TRUST COMPANY, at 1209 ORANGE ST, WILMINGTON, New Castle, DE, 19801, its

                                                1
registered office. Service of said Defendant as described above can be effected by certified mail,

return receipt requested.

                                  JURISDICTION AND VENUE

       5.      The subject matter in controversy is within the jurisdictional limits of this court.

       6.      Plaintiff seeks:

               a.      only monetary relief of $250,000 or less, excluding interest, statutory or

punitive damages and penalties, and attorney fees and costs.

       7.      This court has jurisdiction over Defendant Statebridge Company, LLC, because

said Defendant purposefully availed itself of the privilege of conducting activities in the state of

Texas and established minimum contacts sufficient to confer jurisdiction over said Defendant,

and the assumption of jurisdiction over Statebridge Company, LLC will not offend traditional

notions of fair play and substantial justice and is consistent with the constitutional requirements

of due process.

       8.      Furthermore, Plaintiff would show that Defendant Statebridge Company, LLC

engaged in activities constituting business in the state of Texas as provided by Section 17.042 of

the Texas Civil Practice and Remedies Code, in that said Defendant contracted with a Texas

resident and performance of the agreement in whole or in part thereof was to occur in Texas.

       9.      This court has jurisdiction over Defendant DB RR, LLC, because said Defendant

purposefully availed itself of the privilege of conducting activities in the state of Texas and

established minimum contacts sufficient to confer jurisdiction over said Defendant, and the

assumption of jurisdiction over DB RR, LLC will not offend traditional notions of fair play and

substantial justice and is consistent with the constitutional requirements of due process.

       10.     Venue in Denton County is proper in this cause under Section 15.011 of the Texas



                                                 2
Civil Practice and Remedies Code because this action involves real property as provided by said

Section, and this county is where all or part of the real property is located.

                                               FACTS

       11.     Statebridge issued loans to GRC for a property located at 6012 Mayes Place, The

Colony, Texas 75056. DB RR, LLC purchased the loans from Statebridge. Statebridge remained

the servicer of the loans. GRC filed for Bankruptcy on May 3, 2019.

       12.     Since September 30, 2020, GRC requested a payoff on the loans. After GRC’s

initial request, a second request was sent on November 16, a third request was made on

November 30, a fourth request was made on December 14, and a fifth request was made on

December 21. Finally, on December 29, GRC was provided with the requested payoffs;

however, the payoffs were only good through December 31, 2020. GRC’s requests were

communicated to and/or directed to counsel for Statebridge, Statebridge itself, Statebridge

Foreclosure, and Statebridge Bankruptcy. Despite that, Statebridge still failed to respond within

a reasonable amount of time to GRC’s request. It goes without saying that a delayed response to

the benefit of Statebridge at GRC’s detriment.

        13.    It has taken Statebridge three (3) months to provide GRC with payoffs on the

requested loans. And when Statebridge did finally provide the payoffs, they were only good for

two (2) days. The delay by Statebridge in providing the payoff statement is a far cry from being

provided within a reasonable amount of time of the initial request. To add insult to injury, the

payoff statement finally provided by Statebridge three (3) months after the initial request was

unreasonable in and of itself, as it was only good for a period of two (2) days. Unfortunately for

GRC, the self-serving tactics by Statebridge did not stop there. The icing on the cake was the

inaccurate accounting by Statebridge on the unreasonably delayed payoff statement. The



                                                  3
Statebridge payoff statement states “[t]he next payment is due on 11/1/2020.”2 Counsel for

Statebridge also alleges that “loans are due for 11/01/2020, which means [GRC is] 60 days

behind on plan payments . . . .”3 This is false, as November payments cleared on October 29,

2020.4

         14.   The repeated incidents of improper accounting by Statebridge, coupled with its

inability to provide payoff statements within a reasonable amount of time from the time of the

request has damaged GRC. Specifically, GRC has 1) incurred monthly payments and insurance

on the subject properties; 2) incurred carrying costs on the subject properties; 3) incurred

additional fees and expenses, including interest, default interest, and miscellaneous fees assessed

by Statebridge; and 4) has been named a party to a lawsuit as a result of its inability to close on a

pending transaction.

                                   BREACH OF CONTRACT

         15.   Plaintiff incorporates by reference paragraphs 11-14 herein,

         16.   A valid contract existed between the Parties.

         17.   Defendants had a duty to provide an accurate payoff statement by the eighth

business day after the date the request is received, pursuant to Title 7, Section 155.3 of the Texas

Administrative Code.

         18.   Plaintiff performed or tendered performance under the contract.

         19.   Defendant breached the contract.

         20.   Plaintiff was damaged because of the breach.

                                             FRAUD

         19.   Plaintiff incorporates by reference paragraphs 11-14 herein,

         20.   Defendant made a representation to the Plaintiff.



                                                  4
        21.      The representation was material.

        22.      The representation was false.

        23.      Defendant made the representation knowingly or recklessly

        24.      Defendant made the representation with the intent that the Plaintiff act on it.

        25.      Plaintiff relied on the representation.

        26.      The representation caused the Plaintiff injury.

                  DAMAGES FOR PLAINTIFF, GRCDALLASHOMES, LLC

        27.      As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, GRCDallasHomes, LLC, was caused to suffer economic losses of $8,336.51 and

attorney fees.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, GRCDallasHomes, LLC,

respectfully prays that the Defendants be cited to appear and answer herein, and that upon a final

hearing of the cause, judgment be entered for the Plaintiff against Defendants, jointly and

severally, for damages in an amount within the jurisdictional limits of the Court; together with

pre-judgment interest at the maximum rate allowed by law; post-judgment interest at the legal

rate, costs of court; and such other and further relief to which the Plaintiff may be entitled at law

or in equity.

                                                 Respectfully submitted,

                                                 By: /s/ Ryan Rouz
                                                      Ryan Rouz
                                                      Texas Bar No. 24093079
                                                      Email: ryan@rouzlaw.com
                                                      1111 S. Akard St. #405
                                                      Dallas, TX 75215
                                                      Tel. (469) 777-1451
                                                      Fax. (469) 666-9291

                                                    5
                      Attorney for Plaintiff


PLAINTIFF HEREBY DEMANDS TRIAL BY JURY




                  6
     ¸ÿ¹ºÿª»ÿ££¢¹º»¡¼£¡¤
     ½¾ÿ¿»ª¼¡»ÿ·¡ªÿ£¡ªÀª£¡¤ÁÿÂ¡ÿ»Ãÿ¡¹Ä¡¢£¡¤ÁÿÅª»«ÿÆÿÅª»«Æ¡¢£¡¤
     ¥ÇÈÉ¦¾¨ÿÂÊ³ÿË¢®Ì£¼³ÿÂÊ³ÿÍÂ¿ÿ­ªÿµ°ÎÏµµÐÑÿÒÿÑ±µ¯ÿ·«ªÿ¶£ÿÓÿµ±±²ÿË»«ÿÿ¡¼»ÿ¹
     ÿ
     ÕÿÿÃªÿ¼»ÿ¡Äÿ«¡¢ÿªªÿ®¡ÿÿÕÄÿ«¡¢ÿ¡ÿ¡¼ÿ¼ÿ¼¡ÿ¹ÿ«ÿÖ¡ÿÿ«¼ª¬ÿªÿ¼ÿÿ¹¡¬ÿª¡ÿ¼»¼ÿÿ«ÿ¡£
     ££¡«ÿÿ©»¹ª
     ÿ

     ÿ
     ØÙÿÚÛ¦ÛÿÜÙ§Ý¦§
     ²²±µÿÞßÿà«¬ÿË¢¼ÿ°¯²
     ­ª¬ÿ©áªÿ́²¯Ï±
     âÐ²±ãÿÏ¯¯Î¯²¯±ÿäå£
     âÐ²±ãÿÏ¯¯Î¯²Ñ´ÿàá
     ¶¡¢£¡
     ¡¢£¡
     æçèéêëìêíÿèëÿïêðñìÿòÿçóôèìèñëñ
     ÿ
     Êª£Ö¡ÿ¿¡¼£¼³ÿÿõ¹¬ÿ·ÿÅ¡«ÿÞ¹¢¼£«¬ÿõ¹¶¡¢£¡
     ÿ
     ÿ
     ÿ¹ºÿª»ÿ££¢¹º»¡¼£¡¤ÿ
     ¥¦§¨ÿ©¢ª«¬ÿ­£®ÿ̄°¬ÿ̄±¯±ÿÏ³²´ÿ¶·
     ¸ÿÿÿ¡¢£¡¤
     ½¾ÿ¿»ª¼¡»ÿ·¡ªÿ£¡ªÀª£¡¤ÁÿÅª»«ÿÆÿÅª»«Æ¡¢£¡¤ÁÿÂ¡ÿ»Ãÿ¡¹Ä¡¢£¡¤
     ¥ÇÈÉ¦¾¨ÿÂ³ÿË¢®Ì£¼³ÿÂÊ³ÿÍÂ¿ÿ­ªÿµ°ÎÏµµÐÑÿÒÿÑ±µ¯ÿ·«ªÿ¶£ÿÓÿµ±±²ÿË»«ÿÿ¡¼»ÿ¹
     ÿ
     ©»¹ªÿ¬ÿ®¢¼ÿÃÿ®ÿÖÿ¡Ãÿöÿ¡¼»ªÿÄ¡ÿ¼»ªÿÄ¡ÿ«¡¢ÿ¡å£ÿÿ¡Ãÿ̄Òöÿ¹ªÿÄ¡ÿÀ¢ªÖÿ¼»ÿÄ¡ÿª¼¼®¬ÿª¼¼®
     Ä¡£¡ª¢ÿÿª¼¼®ÿ®£¢¼£«ÿ
     ÕÃÿ«ÿ£¢ ÿªÿÿáªªÿÿÕÿ»ÃÿÃ¡¢ª«ÿ¢¼»¡ºÿ«ÿª¼¼ÿÖÖ¡ÿ¡«ÿ¼¡ÿªÿ¡¢¼ÿÿ¡Ö£ÿÄ¡ÿ­©¶Åÿ»£»
     ª¼¼®ÿÿª»¡¢ÿ®ÿ£Ãÿª»¡¼«ÿÿ¼¡ÿ÷ÿª¢¼
     ÿ

           äÿ­£ÿ̄°¬ÿ̄±¯±¬ÿ¼ÿÏ³²±ÿ¶·¬ÿÿÿ¡¢£¡¤ÿ ¡¼³
             · ÿ­ª»¬ÿªÿ÷ÿ£»ÿ¼»ÿÀ¢ª¼ÿ«¡øªÿÿ¶ªÿª¡ÿ¡¼ÿ¼»¼ÿ¼»ÿ¡ªÿÿ¢ÿÄ¡ÿµµÒ±µÒ¯±¯±¬ÿ»£»ÿªÿ«¡¢ÿÿÑ±
             «ªÿ®»ÿ¡ÿÿ«¼ª¬ÿÿß¢«ÿ«¼ªÿÿ®ÿ¢ÿá¼ÿ¹ÿÿ¶ªÿÃªÿ»ÿ¼»ªÿ«¼ªÿÿ®ÿÿ
             ©»¹ª
             ÿ
             ùÙúû¦üüýþÿ§û0
             ÿ
             ØÙÿÚÛ¦ÛÿÜÙ§Ý¦§
             ²²±µÿÞßÿà«¬ÿË¢¼ÿ°¯²
             ­ª¬ÿ©áªÿ́²¯Ï±
             âÐ²±ãÿÏ¯¯Î¯²¯±ÿäå£
             âÐ²±ãÿÏ¯¯Î¯²Ñ´ÿàá
             ¶¡¢£¡
             ¡¢£¡
             æçèéêëìêíÿèëÿïêðñìÿòÿçóôèìèñëñ
             ÿ
             Êª£Ö¡ÿ¿¡¼£¼³ÿÿõ¹¬ÿ·ÿÅ¡«ÿÞ¹¢¼£«¬ÿõ¹¶¡¢£¡
             ÿ
             ÿ¹ºÿª»ÿ££¢¹º»¡¼£¡¤ÿ
             ¥¦§¨ÿ·¡«¬ÿ­£®ÿ̄µ¬ÿ̄±¯±ÿÑ³±¯ÿ¶·
811 1 1!"1#1$$%$& '()*+(,-2.,9 ,/0&* 192(,32., 0)4(&56-,$0 3$%$7) *%-81290:71; 217
01231445ÿ7849ÿ                                                                       ÿÿÿÿÿ
             <=>ÿ@ABÿCADEFDÿG@ABHCADEFDIJKELFMNKOLPQRJHSQBT
             UVWXYZ[>ÿ\F]ÿ^R_F̀Sa]ÿ\b]ÿc\dÿeKNNKfÿghijggklÿmÿlngoÿpKqFfÿrNKSFÿsÿgnntÿ^uKEqÿNKDFÿDQPauÿvFNNFP
             ÿ
             @ABw
             duFSvADLÿADÿaQÿfFFÿAxÿqQRÿuKyFÿPFSFAyFEÿJKqQzÿxPQBÿfaKaF_PAELFÿ

                   {DÿeFSÿgjwÿononwÿKaÿh]jkÿ|pwÿvK}ÿEKDFfuÿGSKDSRDvK}IuQaBKANHSQBTÿOPQaF]
                   @ABÿ̀RfaÿEQADLÿKÿOFFvNqÿSuFSvADHÿ~ÿEAEDaÿuFKPÿxPQBÿqQRÿ_FNQOHÿ~BÿuQJADLÿqQRÿuKyFÿauFÿJKqQzHÿÿ
                   Aÿ@ABÿ̀RfaÿSuFSvADLÿADÿOAauÿqQRÿKLKADÿQDÿauAfwÿSQBADLÿRJÿQDÿlÿOFFvfÿauQRLuÿDQÿxKRNaÿQxÿqQRPÿQODÿ~ÿRDEFPfaKDEÿ_Raÿ~EÿPFKNNq
                   NAvFÿaQÿfFFÿAxÿOFÿSKDÿLFaÿauFfFÿJKqQzfÿKDEÿaPqÿaQÿfaKPaÿBQyADLÿADaQÿfQBFÿfFMNFBFDaÿaKNvf
                   ÿ
                   |fÿqQRÿSKDÿfFFÿ_qÿauFÿBQQDÿauKaÿOKfÿNFEÿ_qÿQDFÿQxÿauFÿRDfFSRPFEÿSPFEAaQPfÿauFqPFÿaPqADLÿaQÿLFaÿKÿEAf_RPfFBFDaÿ_Raÿ~B
                   aPqADLÿaQÿLFaÿqQRPÿSNAFDaÿfFMNFEÿ_FxQPFÿEFKNADLÿOAauÿRDfFSRPFEÿSPFEAaQPfÿ̀RfaÿADÿSKfFÿBqÿSQBJKDqÿLQFfÿADaQÿSuKJaFPÿÿ_FxQPF
                   auFÿtÿqFKPfÿOFÿKPFÿKaÿqFKPÿQDF
                   ÿ
                   ~ÿ̀RfaÿfQNEÿKÿuQRfFÿKDEÿKEÿgwnnnÿKfÿJFPÿauFÿBQQDÿADÿauFÿrNKDÿ|LFDafÿKSSQRDa
                   ÿ~BÿEQODÿaQÿKPQRDEÿotnvÿDQOÿKFPÿJKqADLÿFJFDfFfÿxQPÿc\dÿOuASuÿFÿSKDÿSQDPBÿauKaÿauPRÿauFÿr|ÿOuFDÿfFMNFBFDaÿaKNvf
                   faKPaÿfQÿqQRPÿSNAFDaÿvDQOfÿFKSaNqÿ
                   ÿ
                   rNFKfFÿfFFÿAxÿqQRÿSKDÿLFaÿauFÿJKqQzfÿKfKJwÿBKvFÿfRPFÿauFqÿKPFÿKaÿauFÿtHtÿKDEÿfFFÿAxÿOFÿSKDÿBQyFÿQDÿaQÿaPqADLÿaQÿLFaÿauFfF
                   fFMNFEÿfQÿqQRPÿSNAFDaÿSKDÿ_FÿEQDFÿOAauÿauAfÿ@ÿKDEÿauFÿOKAaÿKaÿfRSuÿKÿNQOÿADaFPFfaÿPKaFÿOuFDÿauFqÿKPFÿRfFEÿaQÿLFDLÿEQR_NF
                   auKaÿyAKÿauFAPÿuKPEÿBQDFqHÿ
                   ÿ
                   rNFKfFÿNFaÿBFÿvDQO

                         {DÿQyÿnwÿononwÿKaÿgg]jnÿ|pwÿ@ABÿCADEFDÿG@ABHCADEFDIJKELFMNKOLPQRJHSQBTÿOPQaF]
                         uKDvfwÿ~ÿuKyFDaÿLQMFDÿauFÿPFKJJNASKQDÿqFawÿ_RaÿOANNÿSQDDRFÿaQÿOQPvÿaQÿQ_aKADÿauQfFÿSRPPFDaÿJKqQz
                         DRB_FPfH
                         ÿ
                         ÿ
                         =>ÿvK}ÿEKDFfuÿGSKDSRDvK}IuQaBKANHSQBTÿ
                         UY[>ÿpQDEKqwÿQyFB_FPÿnwÿononÿk]noÿ|p
                         <=>ÿ@ABÿCADEFDÿG@ABHCADEFDIJKELFMNKOLPQRJHSQBT
                         Z>ÿduPAfaQJuFPÿpQfFPÿGSBQfFPIfNOBHSQBTÿ|fuNFqÿANNÿG|fuNFqHANNIJKELFMNKOLPQRJHSQBT
                          Q̀qSFIQ̀qSFNADEKRFPHSQB
                         UVWXYZ[>ÿ\F]ÿ^R_F̀Sa]ÿ\b]ÿc\dÿeKNNKfÿghijggklÿmÿlngoÿpKqFfÿrNKSFÿsÿgnntÿ^uKEqÿNKDFÿDQPauÿvFNNFP
                         ÿ
                         Aÿ@ABw
                         QJFÿqQRÿuKEÿKÿLQQEÿuQNAEKqÿOFFvÿRfaÿSuFSvADLÿADÿQDÿauFÿK_QyFÿJKqQzfÿKDEÿKSSQRDDLÿaQÿBKvFÿfRPFÿKSSRPKaF
                         ADÿuQJFfÿQxÿSQBADLÿaQÿKÿBRaRKNÿKLPFFBFDa
                         rNFKfFÿNFaÿBFÿvDQOÿ


                               {DÿQyÿglwÿononwÿKaÿg]tjÿrpwÿ@ABÿCADEFDÿG@ABHCADEFDIJKELFMNKOLPQRJHSQBTÿOPQaF]
                           ÿpPHÿeKDFfuBKDEAw
                           ÿ
                           uKDvÿqQRÿxQPÿqQRPÿADRAPqHÿÿ~ÿKBÿOQPvADLÿQDÿauFÿJKqQzfÿiÿFyFPqÿBFÿauFqÿKPFÿJPFJKPFEÿKDQauFP
                           JKqBFDaÿAfÿBKEFHÿÿ~ÿKBÿuQJADLÿaQÿLFaÿauQfFÿRJEKaFEÿDRB_FPfÿaQÿqQRÿauAfÿOFFvHÿ
                           ÿ
                           AauÿPFfJFSaÿaQÿfFMNFBFDawÿAxÿqQRÿOQRNEÿNAvFÿaQÿJPQJQfFÿKDÿQzFPÿ~ÿOANNÿSFPaKADNqÿxQPOKPEÿAaÿaQ
                           ^aKaF_PAELFwÿQauFPOAfFwÿSQDDRFEÿJKqBFDaÿRDEFPÿauFÿJNKDÿAfÿJPFxFPPFEH
                           ÿ
                           |NfQwÿ_FNQOÿqQRÿfaKaFEÿauKaÿJFPÿBqÿJNKDÿ~ÿKBÿJKqADLÿtÿADaFPFfaÿQDÿauFfFÿDQaFfHÿÿrNFKfFÿDQaF
                           auKaÿauFÿJNKDÿJPQyAEFfÿxQPÿADaFPFfaÿQDÿ_QauÿJPQJFPFfÿaQÿ_FÿJKAEÿKaÿtHtHÿÿ^FFÿeQSvFaÿQHÿgjnw
                           ^FSQDfÿHnk_ÿKDEÿHnh_H
                           ÿ
                           rNFKfFÿNFaÿBFÿvDQOÿAxÿqQRÿuKyFÿKDqÿKEEAQDKNÿRFfQDfÿQPÿSQDSFPDfH
                           ÿ
811 1 1!"1#1$$%$& '()*+(,-2.,9 ,/0&* 192(,32., 0)4(&56-,$0 3$%$7) *%-81290:71; 417
01231445ÿ7849ÿ                                                             ÿÿÿÿÿ
                       <=>?@ABBCDEF@G
                       ÿ
                       I=>ÿJKLALÿM=FNAF
                       OOPQÿSTUÿVWXXYZ[\ÿ]^_`XÿabO
                       cZddZe\ÿfXgZeÿhObiP
                       jkOPlÿibbmbObPÿnopX
                       jkOPlÿibbmbOqhÿVZg
                       r_stS_uvXuwxZvyXzdZYyW{^|tp{s
                       YYYt|ZvyXzdZYyW{^|tp{s
                       }~ÿÿÿÿ~
                       ÿ
                       epZdZ{uÿ{u`Zp`ÿrXXuZÿXYsZW\ÿZuZy_uyÿz{WuX[ÿTZuW^|`p[\
                       rXXuZtXYsZWwxZvyXzdZYyW{^|tp{s
                       ÿ
                       ÿ
                       ÿ
                       ÿ
                       K>ÿZÿvZuXeÿpZup^uZw{`sZ_dtp{sÿ
                       AFÿ{uvZ[\ÿ{XsXWÿQq\ÿbPbPÿQPÿx
                         Kÿr_sÿS_uvXuÿr_stS_uvXuw|ZvyXzdZYyW{^|tp{s
                       ¡¢ÿW_e`{|XWÿ{eXWÿps{eXWw£edYstp{s¤ÿedX[ÿ¥_ddÿedX[t¥_ddw|ZvyXzdZYyW{^|tp{s
                       ¦§Ä¢ÿ©Xÿ]^ªXp`ÿ©ÿ«©ÿcZddZeÿQamiQQkqÿ¬ÿqPQbÿZ[XeÿxdZpXÿ­ÿQPPOÿ]Zv[ÿdZuXÿu{W`ÿXddXW
                       ÿ
                       ¥_ÿr_s\
                       ®ÿYZeÿYW_uyÿ̀{ÿeXXÿ_¯ÿ[{^Wÿpd_Xu`ÿZeÿZu[ÿ_u`XWXe`ÿ_uÿeXzd_uyÿ̀_eÿsZzXWÿZeÿs[ÿ|WX_{^eÿXsZ_d
                       ZeXvtÿ
                       eÿYXddÿ®ÿY{^dvÿd_Xÿ̀{ÿyX`ÿZÿ|Z[{°ÿ̄{Wÿ̀Xÿbÿ{^`e`Zuv_uyÿd{Zueÿy{{vÿ̄{WÿPÿvZ[eÿe{ÿ̀Z`ÿ®ÿpZuÿsZX
                       e^WXÿ̀Xÿ̀XWseÿ{¯ÿ̀Xÿ|dZuÿZWXÿ{^`d_uXvÿ_uÿ̀Xÿ_u`XWXe`ÿWZ`Xtÿ
                       Zuÿ[{^ÿdX`ÿsXÿu{Yÿ{uÿ̀XÿZ{X
                       ÿ
                       fZue


                             nuÿ]X|ÿP\ÿbPbP\ÿZ`ÿiOÿx\ÿr_sÿS_uvXuÿr_stS_uvXuw|ZvyXzdZYyW{^|tp{sÿYW{`X
                                 WtÿcZuXesZuv_\
                                 ÿ
                                 ®ÿZsÿ_uÿWXpX_|`ÿ{¯ÿ[{^Wÿp{ss^u_pZ{uÿXd{YÿZuvÿZXÿ̄{WYZWvXvÿ[{^WÿWX£^Xe`ÿ̀{
                                 ]`Z`XW_vyXtÿ
                                 ÿ
                                 ®ÿ^uvXWe`Zuvÿ̀Xÿ̀XWseÿ{¯ÿ̀Xÿp{u±WsXvÿ|dZuÿZuvÿ«©²eÿ{d_yZ{ueÿY_`ÿWXe|Xp`ÿ̀{
                                 eZsXtÿÿfXÿWX¯XWXupXÿ̀{ÿZÿe_gÿs{u`ÿ|XW_{vÿ̀{ÿeXddÿ̀Xÿ|W{|XWXe\ÿ®ÿXd_XX\ÿZW{eXÿ_u
                                 X`YXXuÿ|W_{Wÿp{^ueXd²eÿp{ss^u_pZ{uÿ{uÿp^W_uyÿ̀Xÿ±We`ÿ|{e`mp{u±WsZ{uÿ|dZu
                                 |Z[sXu`ÿvXd_u£^Xup_Xe\ÿ^`ÿ®ÿYZeÿ^uZdXÿ̀{ÿp{u±Wsÿ̀Xÿ{°XWÿYZeÿXXWÿZppX|`Xvÿ[
                                 {`ÿe_vXetÿ
                                 ÿ
                                 ®ÿY_ddÿdX`ÿ[{^ÿu{YÿZeÿe{{uÿZeÿ®ÿXZWÿZu[`_uy\ÿ_¯ÿ]`Z`XW_vyXÿ_eÿ_u`XWXe`Xvÿ_u
                                 v_ep^ee_uyÿ[{^WÿXd{Yÿ|W{|{eZdÿZu[ÿ̄^W`XWtÿÿfZuÿ[{^t
                                 ÿ
                                 <=>?@ABBCDEF@G
                                 ÿ
                                 I=>ÿJKLALÿM=FNAF
                                 OOPQÿSTUÿVWXXYZ[\ÿ]^_`XÿabO
                                 cZddZe\ÿfXgZeÿhObiP
                                 jkOPlÿibbmbObPÿnopX
                                 jkOPlÿibbmbOqhÿVZg
                                 r_stS_uvXuwxZvyXzdZYyW{^|tp{s
                                 YYYt|ZvyXzdZYyW{^|tp{s
                                 }~ÿÿÿÿ~
                                 ÿ
                                 epZdZ{uÿ{u`Zp`ÿrXXuZÿXYsZW\ÿZuZy_uyÿz{WuX[ÿTZuW^|`p[\
                                 rXXuZtXYsZWwxZvyXzdZYyW{^|tp{s
                                 ÿ
                                 ÿ
                                 K>ÿZÿvZuXeÿpZup^uZw{`sZ_dtp{sÿ
                                 AFÿ³XvuXevZ[\ÿ]X|`XsXWÿP\ÿbPbPÿQQQOÿ
                                   Kÿr_sÿS_uvXuÿr_stS_uvXuw|ZvyXzdZYyW{^|tp{s
811 1 1!"1#1$$%$& '()*+(,-2.,9 ,/0&* 192(,32., 0)4(&56-,$0 3$%$7) *%-81290:71; '17
01231445ÿ7849ÿ                                              ÿÿÿÿÿ
                                 <=>ÿ@ABCDÿEFDGBÿHIJFDGBKLDMNJOIFJP
                                 QRSTU=V>ÿWXYZGI[\ÿ]^\ÿ_]@ÿ̀aMMaDÿbcdebbfgÿhÿgibjÿEakGDÿlMaIGÿmÿbiinÿWAaokÿMapGÿpFB[A
                                 qGMMGB
                                 ÿ
                                        ÿ
                                        rCÿsCJt
                                        EkÿpaJGÿCDÿsauGJÿ̀apGDAJapoCÿapoÿaJÿFNpGBÿFvÿ_]@ÿNACIAÿCDÿCpÿws
                                        xBF[GIyFpÿXpoGBÿJkÿxMap
                                        ÿ
                                        zDÿxGBÿkFXBÿGJaCMÿYGMFNÿkFXÿD[a[Gÿ[Aa[ÿ[AGBGÿCDÿaÿgÿJFp[AÿxMapÿFB
                                        aB{BGGJGp[ÿ[Aa[ÿ[AGÿxBFxGByGDÿNFXMoÿYGÿJaBqG[GoÿFBÿDFMoOÿ|AGBGÿCDÿpF
                                        DXIAÿMap{Xa{GÿCpÿJkÿxMapÿapoÿNaDÿpF[ÿxaB[ÿFvÿJkÿxMapOÿlMGaDG
                                        IFFBoCpa[GÿNC[AÿD[a[GYBCo{Gÿ[Aa[ÿ}ÿaJÿxMappCp{ÿFpÿ[aqCp{ÿ[AGÿGpyBGÿn
                                        kGaBDÿFvÿBGD[BXI[XBCp{ÿ[Fÿ{G[ÿ[AGDGÿxBFxGByGDÿBGAaYYGoÿapoÿDFMoOÿlGBÿJk
                                        xMapÿ}ÿaJÿxakCp{ÿn~ÿCp[GBGD[ÿFpÿ[AGDGÿpF[GDOÿ}ÿqpFNÿD[a[GYBCo{GÿDGBCIGD
                                        FBÿDGMMDÿ[AGDGÿpF[GDÿFÿvFBÿDC{pCIaypaMkÿAC{AGBÿBa[GÿDFÿ[AGDGÿAaGÿapo
                                        NCMMÿYGIFJGÿapoÿD[akÿMFDDGDÿvFBÿ[AGCBÿCpGD[FBDÿapoÿD[a[GYBCo{G
                                        ÿ
                                        }JÿBGaIACp{ÿFX[ÿ[Foakÿ[FÿDGGÿCvÿkFXBÿIMCGp[ÿNFXMoÿMCqGÿ[FÿDGMGÿ[AG
                                        IMaCJDÿvFBÿaÿBGoXIGoÿDGMGJGp[ÿvGGÿFvÿ[AGÿxakFDÿDFÿ[Aa[ÿ[AGCBÿJFpGk
                                        oFGDp[ÿAaGÿ[FÿYGÿxaCoÿCpÿnÿkGaBDÿapoÿIapÿYGÿJaoGÿaDÿIMFDGÿ[FÿNAFMGÿaD
                                        xFDDCYMGOÿ}ÿNCMMÿpGGoÿaÿDC{pCIap[ÿDGMGJGp[ÿxBFxFDaMÿvFBÿJGÿ[FÿNFBq
                                        NC[AÿJkÿlzÿ[FÿDGMGÿ[AGDGÿxBFxGByGDÿNC[Aÿ_]@ÿvXpoDÿCpÿJkÿ̀}lÿaII[
                                        ÿ
                                        W[a[GYBCo{GÿvFBÿkGaBDÿFGBIAaB{GoÿJGÿFpÿCp[GBGD[ÿapoÿxFCp[DÿaDÿNGMMÿaD
                                        ZXpqÿvGGDÿapoÿAaDÿNC[AAGMoÿIFpDCoGBaYMGÿaJFXp[Dÿ[Aa[ÿaBGÿoXGÿYaIqÿ[F
                                        JGÿ[Aa[ÿ[AGkÿJaqGÿIMCGp[DÿZXJxÿ[ABXÿAFFxDÿ[FÿBG{aCpÿÿÿ}ÿNFXMoÿMCqGÿ[FÿxX[
                                        [AGÿD[a[GYBCo{GÿIAax[GBÿYGACpoÿJGÿYX[ÿCpÿpFÿJGapDÿaJÿ}ÿNCMMCp{ÿ[FÿZXD[
                                        DGMGÿvFBÿapkNAGBGÿpGaBÿNAa[ÿaÿIXBBGp[ÿxakFÿNFXMoÿYGÿa[ÿn~
                                        lMGaDGÿ{GpGBa[GÿaÿxakFÿ{FFoÿvFBÿgiÿoakDÿFX[ÿNACIAÿDAFXMoÿ{CGÿYF[AÿFv
                                        XDÿyJGÿ[FÿDGMGÿ[ACDÿoGY[ÿCvÿkFXBÿIMCGp[ÿIAFFDGDOÿlMGaDGÿvFBNaBoÿ[AG
                                        xakFÿDFÿ[Aa[ÿNGÿIapÿJaqGÿDXBGÿ[AGÿaIIFXpyp{ÿCDÿIFBBGI[ÿFpÿC[ÿxGBÿ[AG
                                        xMapÿapoÿZXo{GDÿFBoGBDOÿlMGaDGÿGpDXBGÿ[Aa[ÿ[AGÿ~ÿYGCp{ÿIAaB{GoÿCDÿ[AG
                                        MFNGBÿaJFXp[ÿapoÿAaDÿYGGpÿvFBÿ[AGÿMaD[ÿkGaBÿapoÿ[Aa[ÿ[AGÿaooCyFpaM
                                        JFpGkÿCpÿ[AGÿxakJGp[ÿCDÿYGCp{ÿIBGoC[Goÿ[FÿxBCpICxaMÿÿÿlMGaDGÿDGpoÿa
                                        oG[aCMGoÿaIIFXpyp{ÿBGxFB[ÿ|AGpÿxMGaDGÿIFFBoCpa[GÿNC[AÿkFXBÿIMCGp[ÿFp
                                        apÿFGBÿ[AGkÿNFXMoÿMCqGÿ[FÿxBGDGp[ÿ[Fÿ_]@ÿa[ÿ[Aa[ÿxFCp[ÿ}ÿNCMMÿ[aMqÿ[Fÿ[AG
                                        lzÿ@ABCDÿEFDGBÿapoÿDGGÿNAa[ÿvXpoDÿaBGÿaaCMÿ[FÿDGMGÿFpGÿFBÿYF[AÿCvÿ[AG
                                        [GBJDÿaBGÿaIIGx[aYqGOÿlMGaDGÿYGÿaoCDGoÿ[Aa[ÿJkÿ̀}lÿaII[ÿAaDÿaxxBF
                                        jiiqÿCpÿC[ÿapoÿaJÿAFxCp{ÿvFBÿaÿpFpÿD[a[GÿYBCo{GÿAFXDGÿ[FÿDGMMÿCpÿ[AGÿpG[
                                        giÿoakDÿNACIAÿNCMMÿ{CGÿJGÿJFBGÿJFpGkÿ[FÿDGMGOÿzDÿpF[GoÿaYFGÿ}ÿaJ
                                        pF[ÿxMappCp{ÿFpÿDGMMCp{ÿ[AGÿD[a[GYBCo{GÿAFXDGDÿvFBÿXxÿ[FÿnÿkGaBD
                                        ÿ
                                        |AapqDOÿzpkÿLXGDyFpDÿxMGaDGÿGJaCM
                                        ÿ
                                               >ÿsCJÿCpoGpÿHsCJOCpoGpKxao{GMaN{BFXxOIFJPÿ
                                               QUV>ÿEFpoaktÿXMkÿbtÿjijiÿb\nnÿlE
                                               >ÿIJFDGBKLDMNJOIFJÿFkIGÿCpoaXGB
                                               HZFkIGKZFkIGMCpoaXGBOIFJP
                                               QRSTU=V>ÿ]^\ÿ_]@ÿ̀aMMaDÿbcdebbfgÿhÿgibjÿEakGDÿlMaIGÿmÿbiin
                                               WAaokÿapGÿFB[A
                                               ÿ
                                               _FFoÿaGBpFFptÿ}JÿZXD[ÿvFMMFNCp{ÿXxÿFpÿ[AGÿYGMFNOÿ
                                               W[a[GYBCo{GÿAaDÿCpvFBJGoÿJGÿ[Aa[ÿ@ABCDÿAaDÿDXYJCGo
                                               xakJGp[ÿvFBÿXMktÿYX[ÿDAFXMoÿNGÿYGÿGxGIyp{ÿxakJGp[
                                               vBFJÿ[AGÿ̀GY[FBÿvFBÿ[AGÿF[AGBÿxMapÿxakJGp[DÿÿzMDFÿCDÿ[AG
                                               `GY[FBÿ{FCp{ÿ[FÿxBFCoGÿxBFFvÿFvÿCpDXBapIGOÿ
                                               ÿ
                                               |AapqDtÿapoÿAFxGÿaMMÿCDÿNGMMO
                                               ÿ
                                               U
                                               ÿ
                                               ÿUÿ U
                                               nnibÿwÿ¡BGGNaktÿWXC[Gÿcjn
                                               `aMMaDtÿ|GaDÿ¢njei
                                               £fni¤ÿejjdjnjiÿ¥¦IG
                                               £fni¤ÿejjdjng¢ÿ¡a
                                               sCJOCpoGpKlao{GMaN{BFXxOIFJ
                                               NNNOxao{GMaN{BFXxOIFJ
                                               §¨©ª«¬­«®ÿ©¬ÿ°«±²­ÿ³ÿ̈´µ©­©²¬²
                                               ÿ
811 1 1!"1#1$$%$& '()*+(,-2.,9 ,/0&* 192(,32., 0)4(&56-,$0 3$%$7) *%-81290:71; 217
01231445ÿ7849ÿ                                                        ÿÿÿÿÿ
                                    <=>?@?ABCÿEBCF?>FGÿHIIC?ÿJIKL?MNOÿP?C?QRCQÿSTBMCIU
                                    V?CNMWXF>UOÿHIIC?YJIKL?MNZ[?\QIT@?KQMBWXY>BL
                                    ÿ
                                    ÿ
                                    ÿ
                                    ÿ
                                    ]^_`aÿHRLÿbRC\ICÿ
                                    cdefaÿgI\CI=\?UOÿhWCIÿijOÿikikÿjGlmÿ[P
                                    n_aÿ>LB=IMZo=@KLY>BLpÿqBU>IZqBU>I@RC\?WIMY>BL
                                    crstdufaÿvwEÿx?@@?=ÿyz{jyy|}ÿ~ÿ}kyiÿP?UI=ÿ[@?>Iÿÿykkm
                                    ?\Uÿb?CIÿJBMF
                                    ÿ
                                    EMR=ÿ~ÿhBU>IO
                                    ÿ
                                    BXIÿ?@@ÿR=ÿKI@@Yÿÿÿ?LÿB@@BKRCQÿWXÿBCÿFIÿXMRBM
                                    >BLLWCR>?ABC=ÿKRFÿVMW>IÿSNIM@UÿMIQ?M\RCQÿFIÿ\I FBM=
                                    X@?CÿX?ULICF=ÿRCÿFR=ÿXB=F{>BCML?ABCÿ>?=IYÿ
                                    ÿ
                                    Iÿ[@?Cÿ=F?FI=ÿF?FÿxI FBMÿKR@@ÿIÿL?NRCQÿFI=I
                                    X?ULICF=OÿWFÿRFÿ=IIL=ÿ@RNIÿEMR=ÿLRQFÿ?@=BÿIÿ\R=WM=RCQO
                                    =Bÿÿ?LÿRC>@W\RCQÿBFÿBÿUBWYÿÿIÿxI FBMÿ?=ÿCBFÿL?\I
                                    ?CUÿ?\\RABC?@ÿX?ULICF=ÿWC\IMÿFIÿX@?COÿ?C\ÿ?=ÿUIFÿFB
                                    XMBR\IÿF?FI MR\QIÿKRFÿXMBBÿBÿRC=WM?C>IÿBCÿFI=I
                                    XMBXIMAI=YÿÿCÿ?\\RABCOÿF?FI MR\QIÿR=ÿMIoWI=ACQÿ?C
                                    WX\?FIÿBCÿFIÿxI FBM=ÿL?MNIACQÿIBMF=ÿBMÿ@R=ACQÿBÿFI
                                    XMBXIMAI=ÿXWM=W?CFÿFBÿFIÿ?QMIILICFÿF?FÿFR=ÿKBW@\ÿI
                                    \BCIÿKRFRCÿ=RÿLBCF=Yÿ
                                    ÿ
                                    IIÿ?T?>I\ÿJBA>I=ÿBÿxI?W@FYÿÿBWÿKR@@ÿ?@=BÿMI>IRIÿFI
                                    ?XXMBXMR?FIÿ>BXUÿUÿL?R@Yÿÿ[@I?=Iÿ@IFÿLIÿNCBKÿRÿUBWÿFRCN
                                    FR=ÿL?TIMÿ>?CÿIÿMI=B@I\Yÿ
                                    ÿ
                                    ?CN=ÿ=BÿLW>Y
                                    ÿ
                                    `de
                                    ÿ
                                    `ÿ_dÿede
                                    mmkyÿbVhÿMIIK?UOÿWRFIÿzim
                                    x?@@?=OÿI?=ÿmijk
                                    |mkÿjii{imikÿ¡>I
                                    |mkÿjii{im}ÿ?
                                    ziÿz|z{zimÿEI@@
                                    HRLYbRC\ICZ[?\QIT@?KQMBWXY>BL
                                    KKKYX?\QIT@?KQMBWXY>BL
                                    ¢£¤¥¦§¨¦©ÿ¤§ÿ«¦¬­¨ÿ®ÿ£¯°¤̈¤­§­
                                    ÿ
                                    <=>?@?ABCÿEBCF?>FGÿHIIC?ÿJIKL?MNOÿP?C?QRCQÿSTBMCIU
                                    V?CNMWXF>UOÿHIIC?YJIKL?MNZ[?\QIT@?KQMBWXY>BL
                                    ÿ
                                    ÿ
                                    ]^_`aÿEMR=FBXIMÿPB=IMÿ±>LB=IMZo=@KLY>BL²ÿ
                                    cdefaÿWI=\?UOÿI MW?MUÿyyOÿikikÿykGjÿSP
                                    n_aÿVMW>IÿSNIM@Uÿ±?NIM@UZ?NIM@U@?KY>BL²
                                    ³uaÿqBU>IZqBU>I@RC\?WIMY>BLpÿHRL IM@UÿR@@
                                    ±NRLR@@Zo=@KLY>BL²
                                    crstdufaÿvwEx?@@?=
                                    ÿ
                                    ´µ¶·¸¹
                                    ÿ
                                    »¼ÿ½¾¶µ¿ÀÁÂÿÃÄÿÅÁ¿ÆÿÇ¸¸ÈÿÉÿµ¸·¸ÊË¸ÀÿÆ¾¸ÿÄ¶¼À¿ÿÄµÃÌ
                                    Æ¾¸ÿÍÉÎÿÁ··Ã¶¼ÆÿÁ¼ÀÿÀ¸ÏÃ¿ÊÆ̧ÀÿÆ¾¸ÿÄ¶¼À¿ÿÊ¼ÆÃÿÌÂ
                                    Á··Ã¶¼ÆÐÿÉÿ·Á¼ÿ¼ÃÇÿ¿ÆÁµÆÿÌÁÈÊ¼ÑÿÏÅÁ¼ÿÏÁÂÌ¸¼Æ¿Ð
                                    ÎÅ̧Á¿¸ÿË¸µÊÄÂÿÆ¾ÁÆÿÂÃ¶µÿ·ÅȨ̂¼ÆÿÊ¿ÿÃÇ¸ÀÿÒÿÌÃ¼Æ¾¿ÿÃÄ
                                    ÏÁÂÌ¸¼Æ¿ÐÿÍÃÿÂÃ¶ÿÇÁ¼ÆÿÆ¾¸ÿÏÁÂÌ¸¼Æ¿ÿÌÁÀ¸ÿÆÃÿÂÃ¶µ
                                    ·ÅȨ̂¼ÆÿÃµÿÆÃÿÂÃ¶Ð
                                    ÿ
                                    ÓÔÕÖ×
                                    ÿ
                                    ÙÚÛÜÝÞßàÚáÛÿâãÿäßÝáÛÿå³æfd^ÿçÿn^rfddÿåèé_^edê
                                    ë_^ÿ³d^ìídÿëredÿëeî^rfuêÿïÿeÿ³_er`d^
                                    ëeî^rfuêÿï
811 1 1!"1#1$$%$& '()*+(,-2.,9 ,/0&* 192(,32., 0)4(&56-,$0 3$%$7) *%-81290:71; 017
01231445ÿ7849ÿ                                                                      ÿÿÿÿÿ
                                              =>?@AÿCD@EFÿDGÿH>I@JÿKL>MN@JNO@PDQ
                                              RSNJJNQITÿK>J@QF>ETÿHDUQFATÿVNQAJ>WÿXÿYDA>ETÿZ[\[ÿ]ÿ^__`ÿCEa@Q
                                              KbE>>bTÿKSNb>ÿ̀c__Tÿd@JJ@Aÿ=eÿfg^_`
                                              dNE>Mbhÿi^`jkÿcc_l`c_gÿ]ÿm@?hÿi^`jkÿcf`l^```ÿ]ÿop@NJh
                                              MpDA>EqrAJUp[MDp
                                                      ÿ
                                                      ÿ
                                                      ÿ
                                                      sttuvtwxvyÿz{|}|~ÿ{ÿ~ÿ|{ 
                                                      |~|ÿ {~|ÿ| ÿ{ÿ {
                                                       {ÿ{ÿÿÿ|ÿ|ÿ|ÿÿÿ|
                                                      ~~~ÿ{|}|~ÿ{ÿÿÿ{~ÿu~{|
                                                       | ÿz{|}ÿsÿÿÿÿ¡ÿt|
                                                      |~ÿÿ|ÿ|ÿ~ÿ{ÿÿ||}|~ÿ{
                                                      ||}|~ÿÿ ÿ|ÿ|ÿ|{ÿwÿÿ{ÿ ÿ
                                                      |ÿ{||ÿÿ|ÿ|~ÿÿ{ÿ{ |~
                                                      {ÿ~|}{ÿÿ|ÿÿÿÿ{ÿ
                                                      || ÿ|{| ÿ{ÿ|ÿÿ|
                                                      | ÿ|ÿ{|~ÿ{||ÿÿÿÿÿ{|ÿw
                                                      ÿ{|}ÿ|ÿÿ|ÿ{{{ÿ~ÿ||~
                                                       ÿÿ{ÿÿ{ |ÿÿ|ÿ|~ÿ
                                                      ÿ||~ÿ~ÿ|ÿ|~ÿÿÿ~~ÿ|
                                                        ÿ|ÿ{ÿ{ÿÿÿ{ÿÿ{ÿ|ÿÿ|
                                                      t¢wÿ£s¤ÿw¥¦ÿ¦s§ÿ̈uÿ©uu¦u©ÿsÿª©u¨tÿx££utx¥«
                                                      v©u¥ÿt¢uÿsw¥ÿ©u¨tÿx££utwxvÿz¥stwuÿstÿsv§
                                                      sv©ÿs££ÿwvx¥¦stwxvÿx¨tswvu©ÿ¤w££ÿ̈uÿu©ÿx¥ÿt¢u
                                                      z¥zxuÿxÿx££utwv¬ÿsÿ©u¨tÿtÿÿ{ÿ{ÿ
                                                      ÿ ÿÿ|ÿ{
                                       sttuvtwxvyÿz{|}|~ÿ{ÿ~ÿ|{ ÿ|~|ÿ {~|
                                       | ÿ{ÿ {ÿ {ÿ{ÿÿÿ|ÿ|ÿ|ÿÿ
                                       |ÿ~~~ÿ{|}|~ÿ{ÿÿÿ{~ÿu~{|ÿ | ÿz{|}ÿsÿ
                                       ÿÿ¡ÿt|ÿ|~ÿÿ|ÿ|ÿ~ÿ{ÿÿ||}|~ÿ{
                                       ||}|~ÿÿ ÿ|ÿ|ÿ|{ÿwÿÿ{ÿ ÿÿ|ÿ{||ÿÿ|ÿ|~
                                       ÿ{ÿ{ |~ÿ{ÿ~|}{ÿÿ|ÿÿÿÿ{ÿ
                                       || ÿ|{| ÿ{ÿ|ÿÿ|ÿ| ÿ|ÿ{|~ÿ{||
                                       ÿÿÿÿ{|ÿwÿÿ{|}ÿ|ÿÿ|ÿ{{{ÿ~ÿ||~ÿ 
                                       ÿ{ÿÿ{ |ÿÿ|ÿ|~ÿÿÿ||~ÿ~ÿ|ÿ|~
                                       ÿÿ~~ÿ|ÿÿ|ÿ{ÿ{ÿÿÿ{ÿÿ{ÿ|ÿÿ|ÿt¢w
                                       £s¤ÿw¥¦ÿ¦s§ÿ̈uÿ©uu¦u©ÿsÿª©u¨tÿx££utx¥«ÿv©u¥ÿt¢uÿsw¥ÿ©u¨tÿx££utwxv
                                       z¥stwuÿstÿsv§ÿsv©ÿs££ÿwvx¥¦stwxvÿx¨tswvu©ÿ¤w££ÿ̈uÿu©ÿx¥ÿt¢u
                                       z¥zxuÿxÿx££utwv¬ÿsÿ©u¨tÿt|ÿ|ÿ|ÿ ÿÿÿÿÿ~~ÿÿÿ{
                                       ÿ|ÿ{ÿ{~ÿ~||~|ÿ{ÿ|ÿÿÿÿ |ÿ{ÿ­|ÿÿ
                                       |{ÿ|ÿ{ÿtÿÿ{ÿ{ÿÿÿ ÿÿ|ÿ{
                                sttuvtwxvyÿz{|}|~ÿ{ÿ~ÿ|{ ÿ|~|ÿ {~|ÿ| 
                                {ÿ {ÿ {ÿ{ÿÿÿ|ÿ|ÿ|ÿÿÿ|ÿ~~~ÿ{|}|~ÿ{
                                ÿÿ{~ÿu~{|ÿ | ÿz{|}ÿsÿÿÿÿ¡ÿt|ÿ|~ÿÿ|
                                |ÿ~ÿ{ÿÿ||}|~ÿ{ÿ||}|~ÿÿ ÿ|ÿ|ÿ|{ÿwÿÿ{ÿ ÿÿ|
                                {||ÿÿ|ÿ|~ÿÿ{ÿ{ |~ÿ{ÿ~|}{ÿÿ|ÿÿÿÿ{ÿ
                                || ÿ|{| ÿ{ÿ|ÿÿ|ÿ| ÿ|ÿ{|~ÿ{||ÿÿÿÿ
                                {|ÿwÿÿ{|}ÿ|ÿÿ|ÿ{{{ÿ~ÿ||~ÿ ÿÿ{ÿÿ{ |
                                ÿ|ÿ|~ÿÿÿ||~ÿ~ÿ|ÿ|~ÿÿÿ~~ÿ|ÿÿ|ÿ{ÿ{
                                ÿÿ{ÿÿ{ÿ|ÿÿ|ÿt¢wÿ£s¤ÿw¥¦ÿ¦s§ÿ̈uÿ©uu¦u©ÿsÿª©u¨tÿx££utx¥«
                                v©u¥ÿt¢uÿsw¥ÿ©u¨tÿx££utwxvÿz¥stwuÿstÿsv§ÿsv©ÿs££ÿwvx¥¦stwxvÿx¨tswvu©ÿ¤w££ÿ̈u
                                u©ÿx¥ÿt¢uÿz¥zxuÿxÿx££utwv¬ÿsÿ©u¨tÿt|ÿ|ÿ|ÿ ÿÿÿÿÿ~~ÿÿÿ{
                                ÿ|ÿ{ÿ{~ÿ~||~|ÿ{ÿ|ÿÿÿÿ |ÿ{ÿ­|ÿÿÿ|{ÿ|
                                {ÿtÿÿ{ÿ{ÿÿÿ ÿÿ|ÿ{
                         sttuvtwxvyÿz{|}|~ÿ{ÿ~ÿ|{ ÿ|~|ÿ {~|ÿ| ÿ{
                          {ÿ {ÿ{ÿÿÿ|ÿ|ÿ|ÿÿÿ|ÿ~~~ÿ{|}|~ÿ{ÿÿÿ{~
                         u~{|ÿ | ÿz{|}ÿsÿÿÿÿ¡ÿt|ÿ|~ÿÿ|ÿ|ÿ~ÿ{ÿ
                         ||}|~ÿ{ÿ||}|~ÿÿ ÿ|ÿ|ÿ|{ÿwÿÿ{ÿ ÿÿ|ÿ{||ÿÿ|ÿ|~ÿÿ{
                         { |~ÿ{ÿ~|}{ÿÿ|ÿÿÿÿ{ÿÿ|| ÿ|{| ÿ{ÿ|ÿÿ|
                         | ÿ|ÿ{|~ÿ{||ÿÿÿÿÿ{|ÿwÿÿ{|}ÿ|ÿÿ|ÿ{{{ÿ~
                         ||~ÿ ÿÿ{ÿÿ{ |ÿÿ|ÿ|~ÿÿÿ||~ÿ~ÿ|ÿ|~
                         ÿÿ~~ÿ|ÿÿ|ÿ{ÿ{ÿÿÿ{ÿÿ{ÿ|ÿÿ|ÿt¢wÿ£s¤ÿw¥¦ÿ¦s§ÿ̈uÿ©uu¦u©
                         sÿª©u¨tÿx££utx¥«ÿv©u¥ÿt¢uÿsw¥ÿ©u¨tÿx££utwxvÿz¥stwuÿstÿsv§ÿsv©ÿs££ÿwvx¥¦stwxv
                         x¨tswvu©ÿ¤w££ÿ̈uÿu©ÿx¥ÿt¢uÿz¥zxuÿxÿx££utwv¬ÿsÿ©u¨tÿt|ÿ|ÿ|ÿ ÿÿÿÿÿ~~ÿ
                         ÿ{ÿÿ|ÿ{ÿ{~ÿ~||~|ÿ{ÿ|ÿÿÿÿ |ÿ{ÿ­|ÿÿÿ|{ÿ|
                         {ÿtÿÿ{ÿ{ÿÿÿ ÿÿ|ÿ{
             sttuvtwxvyÿz{|}|~ÿ{ÿ~ÿ|{ ÿ|~|ÿ {~|ÿ| ÿ{ÿ {ÿ {ÿ{ÿÿ
             |ÿ|ÿ|ÿÿÿ|ÿ~~~ÿ{|}|~ÿ{ÿÿÿ{~ÿu~{|ÿ | ÿz{|}ÿsÿÿÿÿ¡
             t|ÿ|~ÿÿ|ÿ|ÿ~ÿ{ÿÿ||}|~ÿ{ÿ||}|~ÿÿ ÿ|ÿ|ÿ|{ÿwÿÿ{ÿ ÿÿ|ÿ{||ÿÿ|
811 1 1!"1#1$$%$& '()*+(,-2.,9 ,/0&* 192(,32., 0)4(&56-,$0 3$%$7) *%-81290:71; <17
01231445ÿ7849ÿ                                                                      ÿÿÿÿÿ
             <=>?@ÿ=<BB>C<DÿEFÿF<BGEHB?I@<ÿJEFÿK<@?L<FMÿEJÿNO?Bÿ=<BB>C<ÿNEÿBPQOÿG<FBEHDÿ>HMÿK?BB<=?H>REHDÿK?BNF?IPREHÿEFÿQEGM?HCÿEJÿNO?B
             QE==PH?Q>REHÿ?BÿBNF?QN@MÿGFEO?I?N<Kÿ>HKÿ=>MÿI<ÿ>ÿQF?=<SÿTJÿMEPÿF<Q<?L<KÿNO?Bÿ=<BB>C<ÿ?Hÿ<FFEFDÿG@<>B<ÿ?==<K?>N<@MÿHERJMÿNO<ÿB<HK<FÿIM
             F<BGEHK?HCÿNEÿNO?Bÿ<U=>?@ÿ=<BB>C<ÿ>HKÿ?==<K?>N<@MÿK<@<N<ÿNO?Bÿ<U=>?@ÿ=<BB>C<ÿ>HKÿ>@@ÿQEG?<BÿEJÿ?NÿJFE=ÿMEPFÿBMBN<=ÿ>HKÿK<BNFEMÿ>HM
             O>FKÿQEG?<BÿEJÿ?NSÿVWTXÿYZ[ÿ\T]^ÿ^Z_ÿ̀aÿbaa^abÿZÿcba`VÿdeYYadVe]fÿghba]ÿVWaÿ\ZT]ÿba`VÿdeYYadVTehÿi]ZdVTdaXÿZdVSÿZh_ÿZhbÿZYY
             Th\e]^ZVTehÿe`VZThabÿ[TYYÿ̀aÿgXabÿ\e]ÿVWaÿig]ieXaÿe\ÿdeYYadVThjÿZÿba`VSÿVO?Bÿ?Bÿ?HÿHEÿk>Mÿ>Hÿ>l<=GNÿNEÿQE@@<QNÿ>ÿK<INÿJFE=ÿMEP
             ?JÿMEPFÿG<FBEH>@ÿ@?>I?@?NMÿJEFÿB>?KÿK<INÿO>BÿI<<Hÿ=EK?m<KÿEFÿ<nRHCP?BO<KÿIMÿ>ÿK?BQO>FC<ÿ?HÿI>HoFPGNQMSÿVO>HoÿMEPÿJEFÿMEPFÿR=<ÿ>HK
             >l<HREHÿNEÿNO?Bÿ=>l<FS
             pqrstuvj]dÿb>@@>BÿWE=<BÿYYdvwxxyÿXO>KMÿY>H<ÿhEFNOvG>MEzÿCNKÿw{SqwS{x{xSGKJ|
             pqrs{uvj]dÿb>@@>BÿWE=<BÿYYdvuxw{ÿ^>M<Bÿi@>Q<vG>MEzÿCNKÿw{SqwS{x{xSGKJ|
      }~~~ÿÿÿÿÿÿÿÿÿÿÿÿÿ
      ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ}ÿ¡¢ÿ£¤¥¤¤ÿ¦¦ÿ§¨¡©§¨§¡¤
      ~ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ¤ÿÿÿÿÿÿÿÿÿÿ
      ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
      ÿÿÿÿÿÿ¤ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
      ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ¤ÿ~ª¥
      «}¬ÿ­®ÿ®}¯ÿ°ÿ±®±ÿ}ÿ²±°~ÿ«« ~­³ÿ£±­ÿ~ªÿ}­ÿ±°~ÿ«« ~ÿ­} ~¥ÿ} ~¤ÿ}¯ÿ}±ÿ}««ÿ­®}~
      °~}±ÿ¬««ÿ°ÿ£¥±ÿ­ÿ~ªÿ£­ ¥ÿÿ«« ~´ÿ}ÿ±°~¤ÿ~ÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
      ÿÿÿÿÿÿÿÿÿµÿÿÿÿÿ¤ÿ~ÿÿÿÿÿÿÿ
      ÿ¤




811 1 1!"1#1$$%$& '()*+(,-2.,9 ,/0&* 192(,32., 0)4(&56-,$0 3$%$7) *%-81290:71; 717
 December 29, 2020

 GRC DALLAS HOMES LLC
 13220 BEACH CLUB ROAD
 THE COLONY TX 75056

 Payoff figures have been requested on the loan for the borrower and property described below.

 Loan ID: 0000039726
 Loan Type: Commercial
 GRC HOMES LLC
 KAZEM DANESHMANDI
 6012 MAYES PLACE
 THE COLONY, TX 75056

 When remitting funds, please use our loan number to ensure proper posting and provide us with the
 borrower's forwarding address. Funds received in this office after 12:00 noon will be processed on
 the next business day, with interest charged to that date. All funds must be certified: money order,
 wire, Western Union, or cashier's check.
 All payoff figures are subject to clearance of funds in transit. The payoff is subject to final audit when
 presented. Any overpayment or refunds will be mailed directly to the borrower. We will prepare the
 release of our interest in the property after all funds have cleared.
           Projected Payoff Date                                                       12/31/2020
           Principal Balance                                                          $156,036.31
           Interest Thru 12/31/2020 (92 days $23.51/day)                                $2,159.22
           Default Interest thru 12/31/2020 (31 days @ $13.00/day)                        $403.00
           Fees                                                                            $69.50
           Prepayment Penalty                                                               $0.00
           Release Fees                                                                    $69.00
           Funds owed by borrower (escrow advance)                                        $133.10
           Funds owed to borrower                                                       ($775.00)
           Total Payoff                                                               $158,095.13
           Per diem                                                                         $36.51
 The next payment due is 11/1/2020. Payments are made by ACH on a Monthly basis. The current
 interest rate is 5.50000%. The default rate is 3%.
 PLEASE CONTACT US TO UPDATE FIGURES PRIOR TO REMITTING FUNDS AS THEY ARE
 SUBJECT TO CHANGE WITHOUT NOTICE.
 Statebridge Company, LLC
 6061 S. Willow Drive
 Suite 300
 Greenwood Village, CO 80111
 (866) 466-3360
 (720) 600-7894 Fax
 payoff@statebridgecompany.com



Statebridge Company, LLC is a debt collector and is attempting to collect a debt. Any information obtained may be used for that
purpose. If you are in active bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and
should not be construed to be an attempt to collect a debt, but a possible enforcement of a lien against property.

Statebridge Company, LLC   6061 S. Willow Drive, Suite 300 Greenwood Village, CO 80111 www.statebridgecompany.com (866) 466-3360
                                     GRC HOMES LLC - Loan ID #0000039726



                                                     FEE DETAILS


                    Description                                                      Amount
                  BPO                                                                   $70.00

                  Inspections                                                          ($0.50)

                                                                                        $69.50




Statebridge Company, LLC is a debt collector and is attempting to collect a debt. Any information obtained may be used for that
purpose. If you are in active bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and
should not be construed to be an attempt to collect a debt, but a possible enforcement of a lien against property.

Statebridge Company, LLC   6061 S. Willow Drive, Suite 300 Greenwood Village, CO 80111 www.statebridgecompany.com (866) 466-3360
                      BANK WIRE/ACH INSTRUCTIONS
                            Statebridge Company C Collections

                                Community Banks of Colorado,
                                      a division of NBH
                                 1111 Main Street, Suite 2800
                                   Kansas City, MO 64105

                                          ROUTING 102102013
                                          ACCOUNT 2080151
                       BENEFICIARY: Statebridge Company
 Please reference the loan # or account number in all
 ACH/Wires. Please be sure to include beneficiary name
 to ensure your wire is credited to your account.




Statebridge Company, LLC is a debt collector and is attempting to collect a debt. Any information obtained may be used for that
purpose. If you are in active bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and
should not be construed to be an attempt to collect a debt, but a possible enforcement of a lien against property.

Statebridge Company, LLC   6061 S. Willow Drive, Suite 300 Greenwood Village, CO 80111 www.statebridgecompany.com (866) 466-3360
01231445ÿ7822ÿ9                                                                                                         ÿÿÿÿÿ
    9:;ÿ=>>?ÿ@ABCDÿEBF:ÿGBDHIIÿJ:KL:MN
    OPQRÿOTUVÿWOPQRXOTUVYQZ[\T]^
    _U`ÿabcbdeddÿfgehÿij
    _Tgjk\lQ`YÿmUORnÿWjk\lQ`Y[mUORnXoQpq`rrYQZqOTUo[\T]^
    _lQRsÿPTU[ÿ
    u`rÿvUrYTTsÿwTOÿkvx
    yz{|}ÿÿÿ
    }ÿÿÿÿÿ¡¢¢£ÿ
    ¤{}ÿÿ¥ÿ¥
    ¦§¨©}ÿª«¢ÿ£ ÿ¬ÿ­ÿ®ÿ¯°
    ÿ
    ±ÿªÿ²ÿ³ÿ°°ÿ°ÿÿÿ́ÿµÿÿ°ÿÿ°ÿ¶ÿÿÿ́ÿ 
    ÿ

    ÿ
    ¸¹©º»¼ÿ½{ºÿ¾¦z¿ÀÿÁ¿ÂÃÄ
    ÅÆÇÆÈÉÇÈÿËÌÍÎÇÏÐÿÑÿÒÉÓÈÆÓÍÇ
    £ÿ­ÔÿÕ
    ¬°ÿÖ
    ×ÿØÿÙÚ
    Û¡ÜÿÚÝÿÞßÿ«à°ÿáÙ£Úâ
    ÛÙ£ãÜÿÚÚäÝ£ÙÙÿå
    Û¡ÜÿÚÝäÙÿÕà
    
    ÿ
    æ­ÿÿà
    ÿ
    «çÿå°°¢ÿ«µÿ¬ÿÿÿ²ÿ×¶°ÿ°ÿ«µ¬è
    ÿ
    yz{|}ÿÿÿ
    }ÿÿÿÚÿÿÚ¢£¡ÿè
    ¤{}ÿÿ¥ÿ¥
    ¦§¨©}ÿª«¢ÿ£ ÿ¬ÿ­ÿ®ÿ¯°
    ÿ
    ªµÿ³
    ÿ

    ÿ
    ¸¹©º»¼ÿ½{ºÿ¾¦z¿ÀÿÁ¿ÂÃÄ
    ÅÆÇÆÈÉÇÈÿËÌÍÎÇÏÐÿÑÿÒÉÓÈÆÓÍÇ
    £ÿ­ÔÿÕ
    ¬°ÿÖ
    ×ÿØÿÙÚ
    Û¡ÜÿÚÝÿÞßÿ«à°ÿáÙ£Úâ
    ÛÙ£ãÜÿÚÚäÝ£ÙÙÿå
    Û¡ÜÿÚÝäÙÿÕà
    
    ÿ
    æ­ÿÿà
    ÿ
    «çÿå°°¢ÿ«µÿ¬ÿÿÿ²ÿ×¶°ÿ°ÿ«µ¬è
    ÿ
    yz{|}ÿÿ¥ÿ¥ÿ
    }ÿÿÿÚÿÿÚ¢£Úÿè
    ¤{}ÿÿÿ
    ¦§¨©}ÿª¢ÿ£ ÿ¬ÿ­ÿ®ÿ¯°
    ÿ
    
    ÿ
    éÿ°ÿ°ÿÿê£Ö£ ÿÝ®ÿÿ°ÿàÿ¶ÿÿ°ÿ°çÿÿÿ°ÿéÿë°ÿ³ÿ°ÿåÿ°ÿÿÿ°ÿ¬ÿ¶ÿ¶ÿÿ́
    ÿ
    èÿ³ÿ°ÿ¶ÿ¶ÿÿ³ÿ°ÿ°°ÿÿ ÿ°ÿ°ÿ¶ÿ°ÿçÿÿ°ÿÿìÿÿéÿÿà°ÿ°ÿÿ¶ÿÿÿ
    ÿ
    ìÿ
    ÿ




8111 1 1!!"!# $%&'(%)*2+), )-.#' /,0%)12+) .&2%#34*)!0 1!"! &546"43 #27(4!78 213
01231445ÿ7822ÿ9                                            ÿÿÿÿÿ




8111 1 1!!"!# $%&'(%)*2+), )-.#' /,0%)12+) .&2%#34*)!0 1!"! &546"43 #27(4!78 413
01231445ÿ7822ÿ9                                                                                                            ÿÿÿÿÿ




    ÿ
    :;<ÿ=><?@@AÿB@CÿD=E
    FGHIJÿKDLMN;?ÿO>CPQÿRKDLMN;?SO>CPQTUNVW;X?NYWC@>USL@Z[
    \]^_Jÿ̀CDVNabÿcUCD?ÿdbÿefeeÿghijhiiÿkK
    lHJÿCaNPÿC@>mÿRCaNPTC@>m?NYSL@Z[
    \nop]q_JÿrshÿdfftÿEMNVaÿuNP;ÿUNa@vÿC;w>;Q<
    ÿ
    xMNPAÿa@>ÿB@Cÿ<M;ÿP@yL;ÿraNPSÿzDQU><;ÿ<MN<ÿa@>CÿL?D;P<ÿDQÿNÿL@PQ>Z;Cÿ>PV;Cÿ<M;ÿzxkcSÿxM;ÿZ@C<WNW;;ÿYD??ÿQ;;Aÿ<@ÿC;L@{;CÿN??ÿL@Q<QÿNPVÿB;;QÿDPL>CC;Vÿ<@ÿV;B;PVÿNWNDPQ<ÿNPaÿ|NQ;?;QQÿL?NDZQS
8111 1 1!!"!# $%&'(%)*2+), )-.#' /,0%)12+) .&2%#34*)!0 1!"! &546"43 #27(4!78 $13
01231445ÿ7822ÿ9                                                                                                                       ÿÿÿÿÿ
    ÿ

    ÿ
    ;<=>?@AÿBC>DÿEFGDHIÿJHKLM
    NOPOQRPQÿTUVWPXYÿZÿ[R\QO\VP
    ]]^_ÿ̀abÿcdeefgh
    ijkleÿmn]
    ogppgqrÿstÿu]nv^
    wx]^yÿvnnzn]n^ÿ{|}erÿ~lÿu_v^
    wu_yÿvvz_u^uÿepp
    wx]^yÿvnnzn]uÿcg
    k}gepajdqgepgfdj}
    fffgepgfdj}ÿ
    `k}eqeÿkÿsegq
    ÿ
    ~q}gpgÿlg}lÿ~gÿikedrÿggkÿdehÿÿoegjplÿglÿ~gikedgepgfdj}
    ÿ
    GCÿdhgÿdjÿdhgdjpgf}ÿ
    @Dÿcdkghrÿdkpÿ_rÿn^nnÿv_^ÿ
     Cÿk}gepÿajdqÿk}gepajdqgepgfdj}
    F¡¢@=ÿ£eÿ_^^]ÿighÿ̀geÿgh¤ÿde¥jeql
    ÿ
    ¦kÿk}gepr
    ÿ
    hÿ}pkelÿkqjleqÿleÿgjlÿ}pgkeÿ§hÿoa££ÿkÿleÿgh¤ÿqlgleelÿ̈jdÿ}pkelÿkqÿede§hÿjlÿÿ}eÿÿ©£ ªqÿkkelÿosÿ}pgkÿÿdgpÿosÿ}eÿkqÿdl}kÿ
    ÿ
    sg«ÿhj
    ÿ
    ÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                          ­®¯°ÿ±²³ÿ´µ¶µ
                                                       ·¸¸®¹º»¼ÿ­¼²ºÿ­®¯°ÿ
                                                    ½½½½ÿ¾µÿ·¿²¹Àÿ¾µ̧ÿ¾¸»µÿÁÂÃ
                                                         Ä²ÅÅ²ÆÇÿÈÉÿÊÃË½Ã
                                                       ´Ì®º»ÍÿÁÎÏÐÊÊÊÐ½ÁÃ½
                                                        Ñ²ÒÍÿÁÎÏÐÎÎÎÐÏËÏ½
                                                      ³³³µÆ²ºÀ»¹Æ¹®¯°µÓ®Ô
                                                                                                                                  ÿ
    ÈÌ»ÿÓ®º¸»º¸Æÿ®Õÿ¸ÌÖÆÿÔ»ÆÆ²×»Çÿ¸®×»¸Ì»¹ÿ³Ö̧Ìÿ²º¼ÿ²¸¸²ÓÌÔ»º¸ÆÇÿ²¹»ÿÖº¸»ºÀ»Àÿ®ºÅ¼ÿÕ®¹ÿ¸Ì»ÿ¯Æ»ÿ®Õÿ¸Ì»ÿÖºÀÖØÖÀ¯²Åÿ®¹ÿ»º¸Ö̧¼ÿ¸®ÿ³ÌÖÓÌÿ¸Ì»¼ÿ²¹»ÿ²ÀÀ¹»ÆÆ»Àÿ²ºÀÿÔ²¼ÿÓ®º¸²ÖºÿÖºÕ®¹Ô²¸Ö®ºÿ¸Ì²¸ÿÖÆÿÅ»×²ÅÅ¼ÿÙ¹ÖØÖÅ»×»ÀÇÿÓ®ºÕÖÀ»º¸Ö²Åÿ²ºÀÿ»Ò»ÔÙ¸ÿÕ¹®ÔÿÀÖÆÓÅ®Æ¯¹»µÿÚÕÿ¼®¯
    ²¹»ÿº®¸ÿ¸Ì»ÿÖº¸»ºÀ»Àÿ¹»ÓÖÙÖ»º¸Çÿ¼®¯ÿ²¹»ÿÌ»¹»Û¼ÿº®¸ÖÕÖ»Àÿ¸Ì²¸ÿ²º¼ÿÀÖÆÆ»ÔÖº²¸Ö®ºÇÿÀÖÆ¸¹ÖÛ¯¸Ö®ºÇÿ®¹ÿÓ®Ù¼Öº×ÿ®Õÿ¸ÌÖÆÿÔ»ÆÆ²×»Çÿ®¹ÿ²º¼ÿ²¸¸²ÓÌÔ»º¸ÇÿÖÆÿÆ¸¹ÖÓ¸Å¼ÿÙ¹®ÌÖÛÖ̧»ÀµÿÚÕÿ¼®¯ÿÌ²Ø»ÿ¹»Ó»ÖØ»Àÿ¸ÌÖÆÿÔ»ÆÆ²×»ÿÖºÿ»¹¹®¹ÇÿÙÅ»²Æ»ÿº®¸ÖÕ¼ÿ¸Ì»ÿ®¹Ö×Öº²Å
    Æ»ºÀ»¹ÿÖÔÔ»ÀÖ²¸»Å¼ÿÛ¼ÿ¸»Å»ÙÌ®º»ÿ®¹ÿÛ¼ÿ¹»¸¯¹ºÿÜÐÔ²ÖÅÿ²ºÀÿÀ»Å»¸»ÿ¸ÌÖÆÿÔ»ÆÆ²×»Çÿ²Å®º×ÿ³Ö̧Ìÿ²º¼ÿ²¸¸²ÓÌÔ»º¸ÆÇÿÕ¹®Ôÿ¼®¯¹ÿÓ®ÔÙ¯¸»¹µÿÈÌ²º¿ÿ¼®¯µ
    GCÿk}gepÿajdqÿk}gepajdqgepgfdj}
    @Dÿsjdqghrÿgd}ÿ_rÿn^nnÿuv_ÿ
     Cÿdhgÿdjÿdhgdjpgf}
    F¡¢@=ÿ£~ÿ_^^]ÿighÿ̀geÿgh¤ÿde¥jeql
    ÿ
    ¦kÿ£hgÿÿleÿ§eeÝ}kgdhÿekeqÿleÿde¥jeqlÿlÿ}g}epÿleÿde}pqjdeÿqgpeÿÞlÿkleqÿlÿd}eeÿfklÿleÿ^vß^]ßn^nnÿde}pqjdeÿqgpeÿgqÿq}ejpe
    ÿ
    seÿde¥jeqleÿgh¤ÿ¥jleÿkqÿgg}eÿsg«q
    ÿ

    ÿ
    ;<=>?@AÿBC>DÿEFGDHIÿJHKLM
    NOPOQRPQÿTUVWPXYÿZÿ[R\QO\VP
    ]]^_ÿ̀abÿcdeefgh
    ijkleÿmn]
    ogppgqrÿstÿu]nv^
    wx]^yÿvnnzn]n^ÿ{|}erÿ~lÿu_v^
    wu_yÿvvz_u^uÿepp
    wx]^yÿvnnzn]uÿcg
    k}gepajdqgepgfdj}
    fffgepgfdj}ÿ
    `k}eqeÿkÿsegq
    ÿ
    ~q}gpgÿlg}lÿ~gÿikedrÿggkÿdehÿÿoegjplÿglÿ~gikedgepgfdj}
    ÿ
    GCÿk}gepÿajdqÿ
    @Dÿghrÿgd}ÿnxrÿn^nnÿ]vuÿ
     Cÿdhgÿdjÿdhgdjpgf}
    F¡¢@=ÿ£~ÿ_^^]ÿighÿ̀geÿgh¤ÿde¥jeql
    ÿ
    àlÿhelÿ£hgÿcppfkÿjÿf
    ÿ

    ÿ
    ;<=>?@AÿBC>DÿEFGDHIÿJHKLM
    NOPOQRPQÿTUVWPXYÿZÿ[R\QO\VP
    ]]^_ÿ̀abÿcdeefgh
    ijkleÿmn]
    ogppgqrÿstÿu]nv^
    wx]^yÿvnnzn]n^ÿ{|}erÿ~lÿu_v^
    wu_yÿvvz_u^uÿepp
    wx]^yÿvnnzn]uÿcg
    k}gepajdqgepgfdj}
    fffgepgfdj}ÿ
    `k}eqeÿkÿsegq
    ÿ
    ~q}gpgÿlg}lÿ~gÿikedrÿggkÿdehÿÿoegjplÿglÿ~gikedgepgfdj}
    ÿ
    GCÿdhgÿdjÿdhgdjpgf}ÿ
    @Dÿghrÿgd}ÿnxrÿn^nnÿ_n]ÿ
     Cÿk}gepÿajdqÿk}gepajdqgepgfdj}
    F¡¢@=ÿ£eÿ_^^]ÿighÿ̀geÿgh¤ÿde¥jeql
    ÿ
    ¦kÿk}gepr
    ÿ
    hÿfdÿdÿhjdÿ}pkelÿÿlkqá
    ÿ
    sg«ÿhj
8111 1 1!!"!# $%&'(%)*2+), )-.#' /,0%)12+) .&2%#34*)!0 1!"! &546"43 #27(4!78 013
01231445ÿ7822ÿ9                                                                                                                  ÿÿÿÿÿ
    ÿ
    :;<ÿ=><?@@AÿB@CÿD=E
    FGHIJÿKDLMN;?ÿO>CPQÿRKDLMN;?SO>CPQTUNVW;X?NYWC@>USL@Z[
    \]^_Jÿ̀CDVNabÿKNCLMÿcdbÿceccÿcfdgfhgÿiK
    jHJÿCaNPÿC@>kÿRCaNPTC@>k?NYSL@Z[
    \lmn]o_JÿpqfÿheedÿEMNVaÿrNP;ÿUNa@sÿC;t>;Q<
    ÿ
    u>Q<ÿ<CD;VSÿr;<ÿZ;ÿAP@YÿYM;Pÿa@>vC;ÿwNLASÿxvZÿN<ÿghySzz{ShgegS
    ÿ

    ÿ
    }~o]ÿH^ÿlG^ÿ
    ÿÿÿ
    ddehÿrOuÿ̀C;;YNa
    E>D<;ÿcd
    N??NQbÿÿgdcze
    deÿzcccdceÿ=¡L;bÿq¢<Sÿ£ghze¤
    ghyÿzz{hgegÿ¥;??
    deÿzcccd{gÿ̀N¢
    KDLMN;?SO>CPQTUNVW;X?NYWC@>USL@Z
    YYYSUNVW;X?NYWC@>USL@Zÿ
    ¦rDL;PQ;VÿDPÿ;¢NQ
    ÿ
    qQLN?N§@Pÿ¥@P<NL<fÿq¨NPÿEDPW;CbÿKNPNWDPWÿ©X@CP;aÿªÿ;BN>?<ÿN<ÿq¨NPSEDPW;CTiNVW;X?NYWC@>USL@Z
    ÿ
    FGHIJÿCaNPÿC@>kÿRCaNPTC@>k?NYSL@Z[ÿ
    \]^_Jÿ̀CDVNabÿKNCLMÿcdbÿceccÿcfdeÿiK
    jHJÿKDLMN;?ÿO>CPQÿRKDLMN;?SO>CPQTUNVW;X?NYWC@>USL@Z[
    \lmn]o_Jÿp;fÿheedÿEMNVaÿrNP;ÿUNa@sÿC;t>;Q<
    ÿ
    «DÿKDLMN;?b
    ÿ
    r;<ÿZ;ÿAP@YÿDBÿa@>vC;ÿBC;;ÿB@CÿNÿLN??ÿ<@VNaÿQ@ÿY;ÿLNPÿ<Caÿ<@ÿW;<ÿ<MDQÿZNX;CÿQ;X?;VSÿ
    ÿ
    MNPAÿa@>
    ÿ
    :;<ÿ=><?@@AÿB@CÿD=E
    FGHIJÿKDLMN;?ÿO>CPQÿRKDLMN;?SO>CPQTUNVW;X?NYWC@>USL@Z[
    \]^_Jÿ¬;VP;QVNabÿKNCLMÿcybÿceccÿ{fccÿiK
    jHJÿCaNPÿC@>kÿRCaNPTC@>k?NYSL@Z[
    \lmn]o_JÿpqfÿheedÿEMNVaÿrNP;ÿUNa@sÿC;t>;Q<
    ÿ
    u>Q<ÿ<CD;Vÿ<@ÿCDPWSÿr;<ÿZ;ÿAP@YÿYM;Pÿa@>vC;ÿNC@>PVS
    ÿ

    ÿ
    }~o]ÿH^ÿlG^ÿ
    ÿÿÿ
    ddehÿrOuÿ̀C;;YNa
    E>D<;ÿcd
    N??NQbÿÿgdcze
    deÿzcccdceÿ=¡L;bÿq¢<Sÿ£ghze¤
    ghyÿzz{hgegÿ¥;??
    deÿzcccd{gÿ̀N¢
    KDLMN;?SO>CPQTUNVW;X?NYWC@>USL@Z
    YYYSUNVW;X?NYWC@>USL@Zÿ
    ¦rDL;PQ;VÿDPÿ;¢NQ
    ÿ
    qQLN?N§@Pÿ¥@P<NL<fÿq¨NPÿEDPW;CbÿKNPNWDPWÿ©X@CP;aÿªÿ;BN>?<ÿN<ÿq¨NPSEDPW;CTiNVW;X?NYWC@>USL@Z
    ÿ
    FGHIJÿKDLMN;?ÿO>CPQÿ
    \]^_Jÿ¬;VP;QVNabÿKNCLMÿcybÿceccÿyfyhÿiK
    jHJÿCaNPÿC@>kÿRCaNPTC@>k?NYSL@Z[
    \lmn]o_JÿpqfÿheedÿEMNVaÿrNP;ÿUNa@sÿC;t>;Q<
    ÿ
    ©ÿLN??ÿZNA;QÿQ;PQ;ÿ<@ÿZNA;ÿQ>C;ÿY;vC;ÿU;­PWÿ<M;ÿQNZ;ÿV@WÿM;C;SÿKaÿC;NVÿ@Bÿ<M;ÿZ;QQNW;ÿw;?@YÿDQÿ<MN<ÿa@>CÿL?D;P<ÿYD??ÿZ@¨;ÿ<@ÿL@P¨;C<ÿ<@ÿ¥MNU<;CÿgÿB@Cÿ<M;ÿQ@?;ÿU>CU@Q;ÿ@BÿNX;ZU§PWÿ<@ÿDP¨@A;ÿ<M;ÿN><@ZN§LÿQ<Na®;P¯@DPÿ<M;ÿQN?;bÿx
    C;NVÿ<MN<ÿ<@ÿZ;NPÿ<M;C;ÿDQÿP@ÿDP<;P<ÿ<@ÿUNaÿ<M;ÿ?D;PS
    ÿ
    xv̈;ÿW@<ÿ§Z;ÿN°;Cÿdÿ<@VNabÿNPVÿLNPÿL?;NCÿ§Z;ÿ<@Z@CC@YÿDBÿP;;V;VS
    ÿ

    ÿ
    }~o]ÿH^ÿlG^ÿ
    ÿÿÿ
    ddehÿrOuÿ̀C;;YNa
    E>D<;ÿcd
    N??NQbÿÿgdcze
    deÿzcccdceÿ=¡L;bÿq¢<Sÿ£ghze¤
    ghyÿzz{hgegÿ¥;??
    deÿzcccd{gÿ̀N¢
    KDLMN;?SO>CPQTUNVW;X?NYWC@>USL@Z
    YYYSUNVW;X?NYWC@>USL@Zÿ
    ¦rDL;PQ;VÿDPÿ;¢NQ
    ÿ
    qQLN?N§@Pÿ¥@P<NL<fÿq¨NPÿEDPW;CbÿKNPNWDPWÿ©X@CP;aÿªÿ;BN>?<ÿN<ÿq¨NPSEDPW;CTiNVW;X?NYWC@>USL@Z
    ÿ
    FGHIJÿCaNPÿC@>kÿRCaNPTC@>k?NYSL@Z[ÿ
    \]^_Jÿ¬;VP;QVNabÿKNCLMÿcybÿceccÿyfcÿiK
    jHJÿKDLMN;?ÿO>CPQÿRKDLMN;?SO>CPQTUNVW;X?NYWC@>USL@Z[
    \lmn]o_Jÿp;fÿheedÿEMNVaÿrNP;ÿUNa@sÿC;t>;Q<
    ÿ
    ±²³´ÿ¶·¶ÿ̧¹ÿº»·³´¼ÿ̧½¾³ÿ·¼ÿº»³½¿ÿ¼²½¼ÿ·¼ÿ·´¼³´¶Àÿ¼Áÿ¶³»½¹ÿ¼²³ÿÂÁ¿³º»ÁÀÃ¿³ÄÿÅÿÀ³´¼ÿ¼²·Àÿ¼Áÿ¹ÁÃÿ¹³À¼³¿¶½¹ÆÿÇÈ»³½À³ÿ»³¼ÿ̧³ÿ¾´ÁÉÿ·Âÿ¹ÁÃÊ¶ÿ»·¾³ÿ¼ÁÿÀº²³¶Ã»³ÿ½ÿºÁ´Â³¿³´º³ÿº½»ÿÀÁ¸³¼·¸³ÿ¼²·ÀÿÉ³³¾ÿ¼Áÿ¶·ÀºÃÀÀÿ½ÿËÁ¼³´¼·½»ÿ¿³ÀÁ»Ã¼·Á´ÿ¼Áÿ¼²·Àÿ̧½¼¼³¿ÌÇÿÍ¹
    º»·³´¼ÿ·ÀÿÉÁ¿¾·´ÎÿÁ´ÿ̧Ã»¼·Ë»³ÿÉ½¹Àÿ¼Áÿ¿³ÀÁ»Ï³ÿ¼²·Àÿ̧½¼¼³¿ÿÐÿ·´º»Ã¶·´Îÿ½ÿË½¹ÁÂÂÆÿÉ²·º²ÿ·ÀÿÉ²¹ÿÅÿÀÃÑ¸·¼¼³¶ÿ½ÿË½¹ÁÂÂÿ¿³ÒÃ³À¼Ì
    Åÿ½¸ÿ³ÓË³º¼·´Îÿ¼²³ÿË½¹ÁÂÂÿ½¸ÁÃ´¼ÿÑ¹ÿÔË¿·»ÿÕÆÿÖ×ÖÖÌ
    ÿ
    ÿ
    ÿ
    ÿÿÿÿÿÿÿÿÿÿÿÿÿ
8111 1 1!!"!# $%&'(%)*2+), )-.#' /,0%)12+) .&2%#34*)!0 1!"! &546"43 #27(4!78 013
01231445ÿ7822ÿ9                                                                                                                       ÿÿÿÿÿ
                                                          9:;<ÿ>?@ÿABCB
                                                       DEE:FGHIÿ9I?Gÿ9:;<ÿ
                                                    JJJJÿKBÿDL?FMÿKEBÿKEHBÿNOP
                                                         Q?RR?STÿUVÿWPXJP
                                                       AY:GHZÿN[\]WWW]JNPJ
                                                        ^?_ZÿN[\][[[]\X\J
                                                      @@@BS?GMHFSF:;<B̀:a

                                                                                                                                  ÿ
    UYHÿ`:GEHGESÿ:bÿEYcSÿaHSS?dHTÿE:dHEYHFÿ@cEYÿ?GIÿ?EE?`YaHGESTÿ?FHÿcGEHGMHMÿ:GRIÿb:FÿEYHÿ;SHÿ:bÿEYHÿcGMcecM;?Rÿ:FÿHGEcEIÿE:ÿ@Yc̀YÿEYHIÿ?FHÿ?MMFHSSHMÿ?GMÿa?Iÿ`:GE?cGÿcGb:Fa?Ec:GÿEY?EÿcSÿRHd?RRIÿfFcecRHdHMTÿ`:GbcMHGEc?Rÿ?GMÿH_HafEÿbF:aÿMcS`R:S;FHBÿgbÿI:;
    ?FHÿG:EÿEYHÿcGEHGMHMÿFH`cfcHGETÿI:;ÿ?FHÿYHFHhIÿG:EcbcHMÿEY?Eÿ?GIÿMcSSHacG?Ec:GTÿMcSEFch;Ec:GTÿ:Fÿ`:fIcGdÿ:bÿEYcSÿaHSS?dHTÿ:Fÿ?GIÿ?EE?`YaHGETÿcSÿSEFc̀ERIÿfF:YchcEHMBÿgbÿI:;ÿY?eHÿFH`HceHMÿEYcSÿaHSS?dHÿcGÿHFF:FTÿfRH?SHÿG:EcbIÿEYHÿ:FcdcG?R
    SHGMHFÿcaaHMc?EHRIÿhIÿEHRHfY:GHÿ:FÿhIÿFHE;FGÿi]a?cRÿ?GMÿMHRHEHÿEYcSÿaHSS?dHTÿ?R:Gdÿ@cEYÿ?GIÿ?EE?`YaHGESTÿbF:aÿI:;Fÿ`:af;EHFBÿUY?GLÿI:;B
    jklmnÿpqrstuvÿwxyz{ÿ|pqrstuv}wxyz{~tuvtyx}r 
    nÿuzu{tÿptyrsÿÿÿÿp
    lnÿytzÿyxÿ|ytz~yxvt}r ÿyuyÿpqrsuvvÿ| qrsuvv~yuu tzvt}r 
    nÿÿ¡ÿ¢stÿ£tzuÿt¤ÿyu¥xu{
    ÿ
    ¦stz§{ÿyÿsuÿutqv}ÿ̈ÿq{tyuu}ÿ©xyÿrvquzÿst{ÿtuÿrvutyÿstÿqÿqzuz{ÿÿuvtÿyurv{xyuÿzÿt§uÿt uz}
    ÿ

    ÿ
    «¬­®ÿ̄°l­ÿ±k²³ÿ́²µ¶·
    ¸¹º¹»¼º»ÿ¾¿ÀÁºÂÃÿÄÿÅ¼Æ»¹ÆÀº
    ¡¡ÿ£wÇÿÈyuut
    ¢xquÿÉ¡
    Êtvvt{ÿ¦ËÿÌ¡Í
    Î¡ÏÿÍÐ¡ÿÑÒruÿÓ}ÿÔÌÍÕ
    ÎÌÏÿÍÍÖÐÌÌÿ×uvv
    Î¡ÏÿÍÐ¡ÖÌÿÈtÓ
    pqrstuv}wxyz{~tuvtyx}r
    }tuvtyx}r ÿ
    Ø£qruz{uÿqzÿ¦uÓt{
    ÿ
     {rtvtÙzÿ×ztrÿÚtzÿ¢qzuyÿptztqzÿÛyzuÿÜÿÊutxvÿtÿÚtz}¢qzuy~tuvtyx}r
    ÿ
    jklmnÿytzÿyxÿ|ytz~yxvt}r ÿ
    nÿuzu{tÿptyrsÿÿÿÖÿp
    lnÿpqrstuvÿwxyz{ÿ|pqrstuv}wxyz{~tuvtyx}r ÿyuyÿpqrsuvvÿ| qrsuvv~yuu tzvt}r 
    nÿuÿ¡ÿ¢stÿ£tzuÿt¤ÿyu¥xu{
    ÿ
    Ûÿsq{ÿqzÿÿrvquzÿq{ÿuqsqzÿq{ÿÙz{}ÿ×ÿzuu{ÿsuÿt¤ÿt xzÿ{ÿqÝ{ÿrxz{uvÿrtzÿyuyvÿtÚq{uÿq}ÿutyvu{{ÿxÿÿzÿstÚuÿq{ryuÙzÿÿqzyuÿtÿt¤ÿyu¥xu{}ÿ¦yÿqÿÐÿxyÿrvquzÿqvvÿÞuÿ{xuÿqÿuÿÿzÿuÿt
    t¤ÿ{tu uz}ÿ
    ÿ
    uÿÑxv§ÿyÿqÑ¢
    jklmnÿpqrstuvÿwxyz{ÿ|pqrstuv}wxyz{~tuvtyx}r 
    nÿuzu{tÿptyrsÿÿÿÉÿp
    lnÿytzÿyxÿ|ytz~yxvt}r ÿyuyÿpqrsuvvÿ| qrsuvv~yuu tzvt}r 
    nÿÿ¡ÿ¢stÿ£tzuÿt¤ÿyu¥xu{
    ÿ
    Èyÿstÿxy{uÿu{ÿqÿzuuÿtÿt¤ßÿÊu{ÿqÿqzuzÿÿt¤ÿyÿtu ÿÿrzÚuyÿÿ×stuyÿÌß
    ÿ

    ÿ
    «¬­®ÿ̄°l­ÿ±k²³ÿ́²µ¶·
    ¸¹º¹»¼º»ÿ¾¿ÀÁºÂÃÿÄÿÅ¼Æ»¹ÆÀº
    ¡¡ÿ£wÇÿÈyuut
    ¢xquÿÉ¡
    Êtvvt{ÿ¦ËÿÌ¡Í
    Î¡ÏÿÍÐ¡ÿÑÒruÿÓ}ÿÔÌÍÕ
    ÎÌÏÿÍÍÖÐÌÌÿ×uvv
    Î¡ÏÿÍÐ¡ÖÌÿÈtÓ
    pqrstuv}wxyz{~tuvtyx}r
    }tuvtyx}r ÿ
    Ø£qruz{uÿqzÿ¦uÓt{
    ÿ
     {rtvtÙzÿ×ztrÿÚtzÿ¢qzuyÿptztqzÿÛyzuÿÜÿÊutxvÿtÿÚtz}¢qzuy~tuvtyx}r
    ÿ
    jklmnÿytzÿyxÿ|ytz~yxvt}r ÿ
    nÿuzu{tÿptyrsÿÿÿÿp
    lnÿpqrstuvÿwxyz{ÿ|pqrstuv}wxyz{~tuvtyx}r ÿyuyÿpqrsuvvÿ| qrsuvv~yuu tzvt}r 
    nÿuÿ¡ÿ¢stÿ£tzuÿt¤ÿyu¥xu{
    ÿ
    stÿtyuÿxÿtv§qzÿtÞxßÿàÿtyuÿxÿzÿqzÿÿqÚuÿx{ÿtÿt¤ÿt xzßÿpÿrvquzÿzuu{ÿsuÿt¤ÿt xz}ÿ¦suÿutvqzuÿyu tqz{}ÿÿ
    ÿ
    uÿÑxv§ÿyÿqÑ¢
    jklmnÿpqrstuvÿwxyz{ÿ|pqrstuv}wxyz{~tuvtyx}r 
    nÿuzu{tÿptyrsÿÿÿ¡ÿp
    lnÿytzÿyxÿ|ytz~yxvt}r ÿyuyÿpqrsuvvÿ| qrsuvv~yuu tzvt}r 
    nÿÿ¡ÿ¢stÿ£tzuÿt¤ÿyu¥xu{
    ÿ
    àqÿtzÿyuruqÚu}ÿ×ÿst{ÿzÿtÞqvqÿyÿÞt{q{ÿÿrzÚuyÿÿ×stuyÿÌ}ÿÛzÿtu ÿÿÿ{ÿq{ÿyuuÓxtv}ÿutyvu{{ÿtzÿqsÿsuÿtr{ÿÞuyuÿx{ÿtÿrzÚuy{qzÿÿ×stuyÿÌÿÎuÚuzÿqÿtvvuÏÿxvÿzÿyuq{uÿsuÿÖ
    {t}ÿÊwÿÿ££×ÿqzuz{ÿÿyruuÿqsÿyurv{xyuÿt{ÿ{rsuxvu}ÿ¢qzruÿ×ÿst{ÿzÿÿtqsÿqzuzÿÿtÿ¤ÿsuÿvquzÿÎt{ÿq{ÿtuÿttyuzÿqzÿsq{ÿu{{tuÏÿÊwÿÿ££×ÿqvvÿzÿÞuÿyÚqqzÿt¤ÿqzy tÙz}ÿÈy
    rzuyuzruÿxy{u{ÿÊwÿÿ££×ÿ{u{ÿtzÿÙzÿÿrzÚuyÿzÿsuÿyxz{ÿstÿ{xrsÿtrÙzÿq{ÿqvtyÿtzÿsuyuÿq{ÿzÿtrÿyÿvtÿÿ{xyÿq}
    ÿ
    ¦stz§{}
    ÿ

    ÿ
    «¬­®ÿ̄°l­ÿ±k²³ÿ́²µ¶·
    ¸¹º¹»¼º»ÿ¾¿ÀÁºÂÃÿÄÿÅ¼Æ»¹ÆÀº
    ¡¡ÿ£wÇÿÈyuut
    ¢xquÿÉ¡
    Êtvvt{ÿ¦ËÿÌ¡Í
    Î¡ÏÿÍÐ¡ÿÑÒruÿÓ}ÿÔÌÍÕ
    ÎÌÏÿÍÍÖÐÌÌÿ×uvv
    Î¡ÏÿÍÐ¡ÖÌÿÈtÓ
    pqrstuv}wxyz{~tuvtyx}r
8111 1 1!!"!# $%&'(%)*2+), )-.#' /,0%)12+) .&2%#34*)!0 1!"! &546"43 #27(4!78 713
01231445ÿ7822ÿ9                                                                                                                       ÿÿÿÿÿ
    :::;<=>?@AB=:?CDE<;FDGÿ
    IJKF@LM@>ÿKLÿN@O=M
    ÿ
    PMF=B=QDLÿRDLS=FSTÿPU=LÿVKL?@CWÿX=L=?KL?ÿYADCL@Zÿ[ÿ\@]=EBSÿ=SÿPU=L;VKL?@C^_=>?@AB=:?CDE<;FDG
    ÿ
    `abcdÿCZ=LÿCDEeÿfCZ=L^CDEeB=:;FDGgÿ
    hijkdÿNE@M>=ZWÿX=CFlÿmmWÿmnmmÿoTmpÿ_X
    qbdÿXKFl=@BÿrECLMÿfXKFl=@B;rECLM^<=>?@AB=:?CDE<;FDGgsÿtC@?DCZÿXKSFl@BBÿf?GKSFl@BB^]C@@G=LB=:;FDGg
    huvwixkdÿy@Tÿznn{ÿVl=>ZÿJ=L@ÿ<=ZD|ÿC@}E@MS
    ÿ
    ~KÿXKFl=@BW
    ÿ
    U@ÿEMSÿl=>ÿ=ÿG@@QL?ÿ:KSlÿtyRMÿC@<ÿ=L>ÿXC;ÿXKSFl@BBWÿtyRMÿrÿ=ADCL@Z;
    ÿ
    tyRÿ:=Mÿ=DESÿSDÿB@ÿ=ÿGDQDLÿSDÿM@BBÿÿESÿSlKMÿGDU@ÿZÿZDECÿFBK@LSÿSDÿ]DC@FBDM@ÿDLÿSl@ÿ<CD<@CSZÿG=>@ÿtyRÿFl=L?@ÿKSMÿ<B=LÿD]ÿ=FQDL;ÿDCÿSlKMÿC@=MDLWÿGZÿFBK@LSÿl=MÿSDÿFDLU@CSÿSDÿRl=<S@CÿÿSDÿ@@<ÿSlKMÿ<CD<@CSZÿDESÿD]
    ]DC@FBDMEC@ÿ]DCÿSl@ÿ@MSÿKLS@C@MSÿD]ÿtyRMÿRC@>KSDCM;
    ÿ
    NlKMÿGDU@ÿ:KBBÿ<ESÿSl@ÿ=ESDG=QFÿMS=Zÿ=FÿKLSDÿ@|@FSÿÿSl@C@Zÿ@@<KL?ÿSl@ÿ<CD<@CSZÿDESÿD]ÿ]DC@FBDMEC@ÿ]DCÿFBDM@ÿSDÿoÿGDLSlM;ÿNl@LÿSl@ÿSCEMS@@ÿ:KBBÿS=@ÿFDLSCDBÿDU@CÿtyRMÿ@MS=S@;ÿ
    ÿ
    XZÿFBK@LSÿF=LÿSl@LÿGDQDLÿSl@ÿRDECSÿSDÿFDLU@CSÿ=FÿSDÿRl=<S@Cÿzzÿ=L>ÿB@ÿSl@ÿGDQDLÿSDÿM@BB;ÿNlKMÿ:KBBÿ<ESÿZDECÿFBK@LSÿCK?lSÿ=FÿKLSDÿSl@ÿ<DMKQDLÿKSÿ:=Mÿ=ÿGDLSlÿ=?D;
    ÿ
    LB@MMÿ:@ÿ=C@ÿ=B@ÿSDÿ@LS@CÿKLSDÿMDG@ÿKL>ÿD]ÿ=?C@@G@LSÿ@]DC@ÿX=CFlÿm{WÿmnmmWÿtyRÿKMÿ?DKL?ÿSDÿFDLU@CSÿSDÿRl;ÿ;ÿ_B@=M@ÿB@SÿG@ÿLD:ÿK]ÿZDE>ÿBK@ÿSDÿMFl@>EB@ÿ=ÿFDL]@C@LF@ÿF=BBÿMDG@QG@ÿSlKMÿ:@@ÿSDÿ>KMFEMMÿ=ÿ<DS@LQ=B
    C@MDBEQDLÿSDÿSlKMÿG=A@C;
    ÿ
    Nl=LÿZDE;
    ÿ
    ÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                          ÿÿ
                                                       ÿÿÿ
                                                    ÿÿÿÿÿ¡
                                                         ¢££¤¥ÿ¦§ÿ¨¡©¡
                                                       ª«ÿ¬­®¨¨¨®¡
                                                        ¯°«ÿ¬­®¬¬¬®­©­
                                                      ¤¤±²
                                                                                                                                  ÿ
    ¦ªÿ±¤ÿ³ÿª¤́ÿ²¤¤µ¥ÿµªÿ´ªÿÿ±ª²¤¥ÿÿ´ÿ£ÿ³ÿªÿ¤ÿ³ÿªÿ´´¶´£ÿÿ´ÿÿª±́ªÿªÿÿ¤¤ÿÿ²ÿ±´ÿ´³²´ÿªÿ¤́ÿ£µ££ÿ·´¶£́µ¥ÿ±³́´£ÿÿ°²·ÿ³²ÿ¤́±£¤ÿ³̧ÿ
    ÿÿªÿ´ÿ±´·´¥ÿÿÿª¹ÿ³́´ÿªÿÿ¤́¤²´´¥ÿ¤́¹́´¥ÿÿ±·´µÿ³ÿª¤́ÿ²¤¤µ¥ÿÿÿ±ª²¥ÿ¤́ÿ¤±́£ÿ·ª¹́´ÿ³̧ÿÿª¶ÿ±´¶ÿª¤́ÿ²¤¤µÿ´ÿ¥ÿ·£¤ÿ³́ÿªÿµ́´£
    ¤ÿ²́²´£ÿ¹ÿ£·ªÿÿ¹ÿÿº®²£́ÿÿ£ÿª¤́ÿ²¤¤µ¥ÿ£µÿ´ªÿÿ±ª²¤¥ÿ³²ÿÿ±²·ÿ¦ªÿ
    `abcdÿXKFl=@BÿrECLMÿfXKFl=@B;rECLM^<=>?@AB=:?CDE<;FDGg
    hijkdÿNE@M>=ZWÿX=CFlÿmmWÿmnmmÿ»Tmÿ_X
    qbdÿCZ=LÿCDEeÿfCZ=L^CDEeB=:;FDGg
    huvwixkdÿyPTÿznn{ÿVl=>ZÿJ=L@ÿ<=ZD|ÿC@}E@MS
    ÿ
    Y>>KQDL=BÿG=S@CK=Bÿ=A=Fl@>ÿyZ=L;
    ÿ

    ÿ
    ½¾x¿ÀiÁÿÂb¿jÿÃuajÄÅÿÆÄÇÈÉ
    ÊËÌËÍÎÌÍÿÐÑÒÓÌÔÕÿÖÿ×ÎØÍËØÒÌ
    {{nzÿJrÙÿC@@:=Z
    VEKS@ÿÚm{
    \=BB=MWÿNÛÿ{mÜn
    Ýp{nÞÿÜmmm{mnÿßàF@WÿPOS;ÿázÜnâ
    Ýz»ÞÿÜÜoznÿR@BB
    Ýp{nÞÿÜmmm{oÿ=O
    XKFl=@B;rECLM^<=>?@AB=:?CDE<;FDG
    :::;<=>?@AB=:?CDE<;FDGÿ
    IJKF@LM@>ÿKLÿN@O=M
    ÿ
    PMF=B=QDLÿRDLS=FSTÿPU=LÿVKL?@CWÿX=L=?KL?ÿYADCL@Zÿ[ÿ\@]=EBSÿ=SÿPU=L;VKL?@C^_=>?@AB=:?CDE<;FDG
    ÿ
    `abcdÿXKFl=@BÿrECLMÿ
    hijkdÿNE@M>=ZWÿX=CFlÿmmWÿmnmmÿmT{nÿ_X
    qbdÿCZ=LÿCDEeÿfCZ=L^CDEeB=:;FDGg
    huvwixkdÿyPTÿznn{ÿVl=>ZÿJ=L@ÿ<=ZD|ÿC@}E@MS
    ÿ
    ~KÿyZ=Lÿ[ÿC@F@KU@>ÿ=L>ÿ]DC:=C>@>ÿ<=ZD|ÿC@}E@MSÿ]DCÿ<CDF@MMKL?;ÿ\ßNÿ=A=Fl@>;ÿNl=LM;
    ÿ

    ÿ
    ½¾x¿ÀiÁÿÂb¿jÿÃuajÄÅÿÆÄÇÈÉ
    ÊËÌËÍÎÌÍÿÐÑÒÓÌÔÕÿÖÿ×ÎØÍËØÒÌ
    {{nzÿJrÙÿC@@:=Z
    VEKS@ÿÚm{
    \=BB=MWÿNÛÿ{mÜn
    Ýp{nÞÿÜmmm{mnÿßàF@WÿPOS;ÿázÜnâ
    Ýz»ÞÿÜÜoznÿR@BB
    Ýp{nÞÿÜmmm{oÿ=O
    XKFl=@B;rECLM^<=>?@AB=:?CDE<;FDG
    :::;<=>?@AB=:?CDE<;FDGÿ
    IJKF@LM@>ÿKLÿN@O=M
    ÿ
    PMF=B=QDLÿRDLS=FSTÿPU=LÿVKL?@CWÿX=L=?KL?ÿYADCL@Zÿ[ÿ\@]=EBSÿ=SÿPU=L;VKL?@C^_=>?@AB=:?CDE<;FDG
    ÿ
    `abcdÿCZ=LÿCDEeÿfCZ=L^CDEeB=:;FDGgÿ
    hijkdÿNE@M>=ZWÿX=CFlÿmmWÿmnmmÿmTnpÿ_X
    qbdÿXKFl=@BÿrECLMÿfXKFl=@B;rECLM^<=>?@AB=:?CDE<;FDGg
    huvwixkdÿznn{ÿVl=>ZÿJ=L@ÿ<=ZD|ÿC@}E@MS
    ãcäbakÀjxidÿ~K?l
    ÿ
    ~KÿXKFl=@BW
    ÿ
    _B@=M@ÿM@@ÿSl@ÿ=A=Fl@>ÿ<=ZD|ÿC@}E@MS;ÿU@ÿ=BMDÿM@LSÿ=ÿFD<ZÿD]ÿSl@ÿ<=ZD|ÿC@}E@MSÿSlCDE?lÿUK=ÿCMSÿFB=MMÿG=KB;ÿ
    ÿ
    YC@ÿZDEÿ=BMDÿ=B@ÿSDÿ<CDUK>@ÿG@ÿ:KSlÿ=ÿFD<ZÿD]ÿSl@ÿJD=LÿY?C@@G@LSÿ]DCÿSlKMÿ<CD<@CSZå
    ÿ
    Nl=LÿZDE;
    ÿÿÿÿÿÿÿÿÿÿÿÿÿ

8111 1 1!!"!# $%&'(%)*2+), )-.#' /,0%)12+) .&2%#34*)!0 1!"! &546"43 #27(4!78 913
01231445ÿ7822ÿ9                                                                                                                       ÿÿÿÿÿ
                                                          9:;<ÿ>?@ÿABCB
                                                       DEE:FGHIÿ9I?Gÿ9:;<ÿ
                                                    JJJJÿKBÿDL?FMÿKEBÿKEHBÿNOP
                                                         Q?RR?STÿUVÿWPXJP
                                                       AY:GHZÿN[\]WWW]JNPJ
                                                        ^?_ZÿN[\][[[]\X\J
                                                      @@@BS?GMHFSF:;<B̀:a

                                                                                                                                ÿ
    UYHÿ`:GEHGESÿ:bÿEYcSÿaHSS?dHTÿE:dHEYHFÿ@cEYÿ?GIÿ?EE?`YaHGESTÿ?FHÿcGEHGMHMÿ:GRIÿb:FÿEYHÿ;SHÿ:bÿEYHÿcGMcecM;?Rÿ:FÿHGEcEIÿE:ÿ@Yc̀YÿEYHIÿ?FHÿ?MMFHSSHMÿ?GMÿa?Iÿ`:GE?cGÿcGb:Fa?Ec:GÿEY?EÿcSÿRHd?RRIÿfFcecRHdHMTÿ`:GbcMHGEc?Rÿ?GMÿH_HafEÿbF:aÿMcS`R:S;FHBÿgbÿI:;




8111 1 1!!"!# $%&'(%)*2+), )-.#' /,0%)12+) .&2%#34*)!0 1!"! &546"43 #27(4!78 313
                                                 March 31, 2022
Kazem Daneshmandi
GRC D Home LLC
c/o Rouz Law, P.C.
Attn: Ryan Rouz
1111 S. Akard St. #405
Dallas, TX 75215
via email ryan@rouzlaw.com

RE: Our File No.: 19-005174
Property Address: 1005 Shady Lane North, Keller, TX 76248

Dear Mr. Daneshmandi:

        This is being provided to you at your request and is for informational purposes only and has been based
on information provided by your servicer. The amount to pay off the above referenced mortgage loan, which
includes, but may not be limited to, payments, late fees, principal and interest and any other applicable advances,
good through April 5th, 2022, is $190,720.52. Funds received after that date or funds that cannot be posted due
to missing or incorrect information and funds that cannot be clearly identified will be returned, and additional
fees, costs, and disbursements will continue to accrue. This amount consists of the following:

Principal Balance                                         $175,607.27
Interest calculated from August 1, 2021                   $6,626.74
Escrow                                                    $1,925.36
Attorneys Fees                                            $2,902.50
Attorneys Cost                                            $427.46
Default Interest calculated from October 1, 2021          $2,721.91
Fees                                                      $658.50
Release Fees                                              $58.00
Suspense Funds                                        $-207.22
                                Total Payoff Amount: $190,720.52
        Please be advised that the amount listed above does not include additional fees and/or costs that may be
incurred between the date of this letter and April 5th, 2022.

       This information is provided at the request of the borrower for borrower’s benefit and for informational
purposes only, and there are no intended third-party beneficiaries

         If your personal liability for this debt has been modified or extinguished by a discharge in bankruptcy,
this is NOT a demand for payment and is being provided by our office for informational purposes only. We do
not suspend the account or foreclosure action pending funds and any funds received must be certified funds,
sufficient to cover all items quoted above. ALL FUNDS AND PAYOFF ARE SUBJECT TO FINAL
APPROVAL BY THE LENDER.

        Please submit your payoff via wire transfer or via certified funds made payable to STATEBRIDGE
COMPANY, LLC AS ATTORNEY IN FACT FOR DB RR, LLC. Personal checks will not be accepted.
CERTIFIED FUNDS OR WIRE TRANSFERS MUST BE RECEIVED BY 12:00 P.M. (EST) ON A
NORMAL BUSINESS DAY (MONDAY THROUGH FRIDAY) TO BE PROCESSED THAT DAY.

         Funds must be remitted via wire transfer or cashier's check only. Any proceeds received that are not in
the form of a cashier's check or wire will be returned to the sender, and additional fees, costs, disbursements, and
interest may continue to accrue on the loan until adequate funds are received, verified, and accepted by
Statebridge Company, LLC.

Mail Certified Funds to:
Statebridge Company, LLC
ATTN: Cashiering Department
6061S. Willow Drive, Suite 300
Greenwood Village, CO 80111

Wire instructions are as follows:
Bank: Community Banks of Colorado,a division of NBH, 1111Main Street, Suite 2800, Kansas City, MO 64105
Beneficiary: Statebridge Company, LLC - Payoffs
ABA: 102102013
Account Number: 2578665290

Reference Information: 0000039786, Kazem Daneshmandi and GRC D Home LLC, 1005 Shady Lane North,
Keller, TX 76248

Note: an additional $26 fee is required to handle each wire transfer and must be added to the amount
submitted.

Failure to include the above information on the wire advice may cause a delay in posting the funds. Padgett Law
Group will not be responsible for any additional interest or fees that may be assessed as a result of incomplete or
incorrect wire information. Wire transactions that are received and cannot be identified will be returned to the
ABA and account number from which they were received.

If you have any questions or require additional information regarding the loan, please contact Statebridge
Company, LLC at 866-466-3360. Thank you for your courtesies in this regard.

      WE RESERVE THE RIGHT TO CORRECT ANY PORTION OF THIS STATEMENT AT ANY
TIME. THE FIGURES PROVIDED HEREIN ARE BASED UPON INFORMATION AVAILABLE AT
THE TIME OF ISSUANCE. ALL BALANCES ARE SUBJECT TO CHANGE AS A RESULT OF ANY
TRANSACTIONS THAT OCCUR AFTER THE ABOVE-WRITTEN STATEMENT DATE AND PRIOR
TO THE APPLICATION OF PAYOFF FUNDS.

     PURSUANT TO THE FAIR DEBT COLLECTION PRACTICES ACT, YOU ARE HEREBY
ADVISED THAT THIS OFFICE MAY BE DEEMED TO BE A DEBT COLLECTOR. ANY
INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

      IF YOUR PERSONAL LIABILITY FOR THIS DEBT HAS BEEN MODIFIED OR
EXTINGUISHED BY A DISCHARGE IN BANKRUPTCY, THIS IS NOT A DEMAND FOR PAYMENT
AND IS BEING PROVIDED BY OUR OFFICE FOR INFORMATIONAL PURPOSES ONLY.

                                                          Sincerely,

                                                          Padgett Law Group
                                                          6267 Old Water Oak Road, Suite 203
                                                          Tallahassee, FL 32312
                                                          attorney@padgettlawgroup.com
Case 19-41186     Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main1
                             Document      Page 1 of 105


 1                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
 2                        SHERMAN DIVISION

 3

 4   IN RE:                          )    BK. NO:     19-41186-BTR

 5                                   )

 6   GRCDALLASHOMES, LLC             )

 7        D E B T O R.               )

 8

 9

10                  *    *   *   *    *   *   *   *   *   *

11                   TRANSCRIPT OF PROCEEDINGS

12                  *    *   *   *    *   *   *   *   *   *

13

14

15

16

17

18

19

20        BE IT REMEMBERED, that on the 3rd day of June, 2021,

21   before the HONORABLE BRENDA T. RHOADES, United States

22   Bankruptcy Judge at Plano, Texas, the above styled and

23   numbered cause came on for hearing, and the following

24   constitutes the transcript of such proceedings as hereinafter

25   set forth:




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main2
                          Document      Page 2 of 105


 1                           I N D E X

 2                                                              PAGE

 3   CHRIS MOSER

 4       DIRECT EXAMINATION
              BY: Mr. Moser in Narrative                         17
 5       CROSS-EXAMINATION
              BY: Mr. Mitchell                                   19
 6            BY: Mr. Nicoud                                     20
         RECROSS-EXAMINATION
 7            BY: Mr. Mitchell                                   30
              BY: Mr. Nicoud                                     35
 8
     KAZEM DANESHMANDI
 9
         DIRECT EXAMINATION
10            BY: Mr. Mitchell                                   37
         VOIR DIRE EXAMINATION
11            BY: Mr. Nicoud                                     64
         DIRECT EXAMINATION CONTINUED
12            BY: Mr. Mitchell                                   65
         CROSS-EXAMINATION
13            BY: Mr. Nicoud                                     73

14   ROBERT NICOUD

15       DIRECT EXAMINATION
              BY: Mr. Nicoud in Narrative                        82
16
     JOHN CALDWELL
17
         DIRECT EXAMINATION
18            BY: Mr. Nicoud                                     86
         CROSS-EXAMINATION
19            BY: Mr. Mitchell                                   87

20

21

22

23

24

25




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main3
                          Document      Page 3 of 105


 1              E X H I B I T      I N D E X

 2                                            PAGE FIRST REFERENCED

 3   Plan Agent Exhibit 4                                      20

 4   Debtor Exhibit 1                                          31

 5   Debtor Exhibit 2                                          50

 6   Debtor Exhibit 3                                          60

 7   Debtor Exhibit 4                                          60

 8   Debtor Exhibit 5                                          61

 9   Debtor Exhibit 6                                          65

10   Debtor Exhibit 8                                          67

11   Debtor Exhibit 9                                          68

12   Debtor Exhibit 10                                         69

13   Caldwell Exhibit A                                        32

14   Caldwell Exhibit H                                        21

15   Caldwell Exhibit I                                        22

16   Caldwell Exhibit J                                        24

17   Caldwell Exhibit K                                        25

18   Caldwell Exhibit L                                        26

19   Caldwell Exhibit M                                        26

20   Caldwell Exhibit N                                        27

21   Caldwell Exhibit O                                        28

22

23

24

25




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main4
                           Document      Page 4 of 105


 1                   P R O C E E D I N G S

 2                   COURTROOM DEPUTY:        GRCDallasHomes, LLC.        Case

 3   number 19-41186.     Plan Agent motion for authority, motion for

 4   sanctions, and motion to compel debtor and creditor.

 5                   THE COURT:      Appearances.

 6                   MR. MITCHELL:       Good morning, Your Honor.         This

 7   is Greg Mitchell on behalf of the debtor.

 8                   MR. NICOUD:       Robert Nicoud on behalf of

 9   creditor, John Caldwell.

10                   MR. MOSER:      Chris Moser, Plan Agent.

11                   MR. CAVARI:       Rod Cavari, I'm observing for

12   GRC.

13                   THE COURT:      Okay.    All right.     Where are we?

14                   MR. MOSER:      This is Chris Moser.        This is my

15   motion for interim distribution.         But perhaps we probably

16   need to deal with the sanction motion beforehand, would be my

17   suggestion.

18                   MR. NICOUD:       This is Robert Nicoud, and I

19   would concur.

20                   THE COURT:      Okay.    All right.     You may

21   proceed.

22                   MR. NICOUD:       Your Honor, Robert Nicoud on

23   behalf of John Caldwell.

24          We have filed a motion for sanctions seeking a unique

25   form of relief.      We had submitted as part of this hearing a




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main5
                            Document      Page 5 of 105


 1   request for production to the debtor requesting documents

 2   relevant to the monies that had been spent by the estate

 3   since confirmation.       We received -- at the time the motion

 4   was filed, we had received absolutely no response, although

 5   counsel for the debtor had asked for an extension of time

 6   earlier.     Last night at 7:35 p.m. I did receive a form of

 7   response.    We think the Court should disregard the response

 8   and just treat this matter as if it had not been responded

 9   to.

10         Now, we don't want the hearing rescheduled because of

11   lack of discovery.       That just rewards the debtor for not

12   complying.     So what I'm asking the Court to do is to

13   basically have a conclusion that the debtor has failed to

14   maintain appropriate records to account for the funds and the

15   property that the debtor was holding for the benefit of

16   creditors.     And that the Court should consider that failure

17   to maintain records as an additional ground for possible

18   conversion of this case to Chapter 7.

19         And we cite the Court's inherent authority to fashion a

20   unique response to failure to comply with discovery citing

21   the U.S. Supreme Court case of Goodyear Tire & Rubber versus

22   Hager where a Court had to deal with a discovery breach that

23   was not found out or not discovered until long after the case

24   had settled.     And in that case, the U.S. Supreme Court

25   recognized that the Trial Court still had the inherent




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main6
                           Document      Page 6 of 105


 1   authority to in that case issue a sanctions order and force

 2   Goodyear to pay attorney's fees to the other party.              In the

 3   same vein, our position is that the Court now has authority

 4   here to make this determination as a law of the case that the

 5   debtor has failed to maintain proper records for the property

 6   that has been in the debtor's position.           And so we would ask

 7   the Court to issue such a ruling as a sanction prior to the

 8   start of the hearing on the merits.

 9         And that concludes my argument.

10                    THE COURT:     Okay.    Prior to the start of the

11   hearing on the merits of what?

12                    MR. NICOUD:      Of the -- what brought us here,

13   which is the Plan Agent's motion for authority.

14                    THE COURT:     Okay.    Just so we're clear.

15   You're asking for -- is that the Court convert the case; is

16   that correct?

17                    MR. NICOUD:      Ultimately, yes.      That issue is

18   before the Court today.

19                    THE COURT:     Okay.    All right.     Did you wish --

20   did anyone else wish to make an opening statement?

21                    MR. MITCHELL:      Your Honor, this is Greg

22   Mitchell.   I do have a couple of comments regarding the

23   sanctions motion, if I may.

24                    THE COURT:     You may.

25                    MR. MITCHELL:      First of all, the parties have




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main7
                            Document      Page 7 of 105


 1   been and were doing so up until the last minute engaged in

 2   active efforts to resolve this issue.           The -- the -- I want

 3   to point out that, as the Court is probably aware, in the --

 4   in the last several months, the debtor has not really had

 5   anybody that is being paid to do any work for it.

 6   Mr. Daneshmandi, the debtor's representative, is doing his

 7   best to keep the debtor on track.          And, you know, as we'll

 8   discuss in more detail, he hasn't been paid for this entire

 9   year.   And so to expect the debtor to spend hours and hours

10   responding to discovery requests is a little unrealistic.

11           But with that being said, the reality, as we focused on

12   the productions that we did respond to, albeit late, the

13   questions that were being asked was not asking for

14   information that is -- it is not all completely within the

15   realm of this creditor's ability to obtain.             And, in fact, we

16   believe they already have all of the information that they're

17   asking for.     There's only three requests there.           The first

18   one asks for information related to payment requests

19   submitted to the Plan Agent.         Mr. Nicoud has been in repeated

20   communications with Mr. Moser, the Plan Agent, requesting

21   documents.     And we believe he has everything that he's asking

22   for.    And he certainly has the -- all of the Plan Agent's

23   reports.     And so that's not -- that's not going to provide

24   any new information that he doesn't already have.

25           The second request asks for information related to any




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main8
                            Document      Page 8 of 105


 1   revenue of the debtor, which is all represented in the Plan

 2   Agent's report.       And then finally, the third one asks for

 3   1099s issued by GRCDallasHomes.          The debtor's representative

 4   has looked and has not been able to locate -- there was an

 5   issue with a server.       But, again, that information is not

 6   something that is not readily accessible via the Plan Agent's

 7   report.    So we would reject the notion that any sanction is

 8   appropriate.    We certainly don't believe that it has any

 9   bearing on the motion that's before the Court today, which is

10   simply to determine whether or not the Plan Agent's motion is

11   appropriate.

12         And we would also submit to the Court that the issue of

13   a conversion to Chapter 7 is not before the Court today.

14   Mr. Cardwell did not file a motion asking for that relief.

15   As the Court may recall, the Court's order that ultimately

16   culminated in the Plan Agent's motion said that based on its

17   findings that the debtor either needed to come into

18   compliance, or file a motion to amend or modify its plan.

19   And only then would the Court consider conversion.                It did

20   not say that it would automatically be converted if a motion

21   was filed and was found not to be appropriate.

22         So I guess just to lay the groundwork for the

23   procedural posture that we believe the case is in, we don't

24   believe that the result of the motion today, even if it's not

25   granted, should automatically lead to a conversion to Chapter




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main9
                            Document      Page 9 of 105


 1   7.   We believe that there are multiple options for that,

 2   including the motion that we filed which -- I don't know

 3   exactly where the Court wants to take that up in the sequence

 4   of events, but as the Court is aware, we filed a motion for

 5   mediation that is included as part of what's to be considered

 6   today.     It was really -- it was really in the alternative to

 7   the Plan Agent's motion.        So I guess our suggestion would be

 8   to take up the Plan Agent's motion.           And if for some reason

 9   the Court does not believe that the Plan Agent's motion is

10   appropriate, then we would urge the Court to consider our

11   mediation motion.       We sincerely believe that it's not in the

12   best interest of all the parties involved, including all of

13   the creditors except for Mr. Caldwell, for this case to be

14   converted to Chapter 7.

15            And that concludes my remarks on the -- on the motion

16   for sanctions.     I do have some additional remarks regarding

17   the Plan Agent's motion, when we get to that point.

18                     THE COURT:     All right.     Mr. Nicoud, this is

19   essentially a discovery sanction motion, correct.

20                     MR. NICOUD:      Correct.

21                     THE COURT:     Okay.    So what has been requested

22   and not produced?

23                     MR. NICOUD:      Well, what was requested was --

24   well, Mr. Mitchell when through that.           We -- this comes

25   before the Court based on the Court's finding that the way




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              10
                           Document     Page 10 of 105


 1   the debtor has been operating was a breach of the plan.               We

 2   wanted to find out, yes, the debtor has made payment requests

 3   to the Plan Agent.      But they are just -- as I think the

 4   evidence will ultimately show, they're just one or two page

 5   requests.   We want $10,000 to do X, Y, Z on these properties.

 6   And what we're wanting to find out is, what was that $10,000,

 7   what was it spent on?       Who got the money?      You must have

 8   hired subcontractors.       Where did the money go?        What did we

 9   get out of it, other than a report that we wanted $10,000 to

10   spend on this property?

11         I don't think it's an extraordinarily difficult matter

12   to comply with.       These are records that should be kept in the

13   normal course of any business.         And that they would be

14   relatively easy to produce.        With regard to the issue on

15   revenue, again, this may come up, but this came before the

16   Court because we discovered that the debtor had entered into

17   a lease of one of the properties post-confirmation with no

18   accounting for that lease income.          Nothing was turned over to

19   the Plan Agent.       It's not in the Plan Agent's reports.          We

20   want to know, are there any other leases?           Are there any

21   other sources of income, other than from sales of property

22   that we as creditors don't know about?           So those are the

23   matters that we are -- we were trying to explore with our

24   requests for production.        And, again, all of the grounds

25   raised by the debtor could have been included in a formal




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             11
                          Document     Page 11 of 105


 1   response or even an informal response.          But we received

 2   nothing other than a request for a 7 day delay in responding,

 3   which we granted.      And only with that time period expired,

 4   did we file the motion.

 5                    MR. MITCHELL:      Your Honor, if I may respond

 6   briefly to the last points.

 7                    THE COURT:     Hold on just one moment, please.

 8          Okay.   Where is -- this is a discovery dispute, in the

 9   first instance.      So which requests for production has not

10   been complied with?

11                    MR. NICOUD:     Well, it was attached to the

12   motion served on April 16, 2021.         And it would be document

13   287.

14                    THE COURT:     I see it.    Okay, I see it.       I see

15   three line items, document requests.         All documents

16   reflecting or relating to all documents which reflect or

17   relate to any revenue of GRC.        And then the third is the all

18   IRS Form 1099s issued by the debtor.

19          So my question is, which one of these has not been

20   complied with, in your judgment?

21                    MR. NICOUD:     None.    At the time the motion was

22   filed, we had received no response at all.

23                    THE COURT:     Okay.    And now?

24                    MR. NICOUD:     At 7:35 p.m. last night, I

25   received an email with 25 pages of documents attached, which




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              12
                           Document     Page 12 of 105


 1   I've briefly reviewed.       All of which are -- consist of emails

 2   between Mr. Daneshmandi and Mr. Moser.           There's one invoice

 3   for a third party.      And then there was a formal response that

 4   said that the debtor had had computer problems and,

 5   therefore, couldn't generate the 1099s.           Again, that came at

 6   7:35 p.m. last night.

 7                    THE COURT:      All right.     I'll hear response

 8   from Mr. Mitchell.

 9                    MR. MITCHELL:       Thank you, Your Honor.

10         So as I pointed out initially, as far as the requests,

11   we would submit that every document that we could produce in

12   response to numbers 1 and 2, Mr. Caldwell and Mr. Nicoud

13   already had.    And if they didn't have it, the Plan Agent has

14   it, because the request itself specifically says, related to

15   payment requests submitted to the Plan Agent.            And then the

16   Plan Agent has all of the information related to the revenue.

17   So we believe the request was really just an attempt to

18   harass.    And we tried to respond in good faith.           But as I

19   pointed out, the debtor has nobody being compensated to do

20   anything.    And so while Mr. Daneshmandi is attempting to do

21   as much as he can, he's also left without an income to make a

22   living.    And so he has to figure out how to do that, in

23   addition to all of this other stuff.

24         We admit to the late response.          The only -- I'm not

25   going to try to make excuses for the late response.              We admit




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                              13
                          Document     Page 13 of 105


 1   to the late response.      We were trying to pull anything

 2   together that we thought was -- might be in addition to what

 3   the -- Mr. Caldwell and his attorney should already have.

 4         The other thing that I wanted to point out, Your Honor,

 5   though, is all of the issues raised by Mr. Nicoud and that

 6   are being raised by the requests that are being made we

 7   submit are completely irrelevant to the issue before the

 8   Court today.   It appears as if Mr. Caldwell is simply trying

 9   to mitigate the issue of whether the debtor was in default of

10   its plan. And the Court has already ruled on that.              The Court

11   ruled that the debtor was in default on its plan.               So we're

12   kind of past that.     And the motion before the Court today is

13   whether or not the Plan Agent's motion can do what the Court

14   said that the debtor had to do.        And the Court said in its

15   ruling that the debtor either needs to, one, come into

16   compliance with the confirmed plan.         Or, number, two, modify

17   its plan so that whatever it does or has done can be -- can

18   be ratified going forward.

19         And so when -- our decision was to work with the Plan

20   Agent to file the motion that has now been filed, which we

21   submit brings the debtor into compliance.          And so a lot of

22   these issues that focus on whether or not the debtor, you

23   know, was in default of its plan are kind of irrelevant,

24   since the Court has already made that ruling.           So we would

25   submit that notwithstanding any issues regarding, you know,




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               14
                            Document     Page 14 of 105


 1   the timing of our response, that none of these requests have

 2   anything to do with any issue that's going to be presented to

 3   the Court today.

 4                     THE COURT:      Okay.    Mr. Nicoud, what do the

 5   three requests have to do with the matter before the Court

 6   today?

 7                     MR. NICOUD:      Okay.    All right.    Procedurally

 8   we are before the Court because on March 12th, this Court

 9   issued an order that required that the debtor had to either

10   within 14 days of that order file a proposed plan

11   modification, or come into compliance with the plan as

12   previously confirmed.        So the issue is does their proposal to

13   the -- what we want to show is that they have not -- they

14   have not submitted a modification.           And the debtor has not

15   come into compliance with the defaults under the plan.                They

16   have -- the debtor has mis-spent money that should have gone

17   to the unsecured creditor's pool.           These issues are relevant

18   to see how the debtor has, in fact, spent the money that

19   could have gone into the unsecured creditor's pool.               So that

20   is why it is relevant to the hearing today.

21            Next matter is, if the debtor thinks that it is

22   irrelevant or burdensome, there's a procedure for addressing

23   that, which is that you file a timely formal response stating

24   your grounds.     You don't just don't do anything.

25            That's my response.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               15
                            Document     Page 15 of 105


 1                     THE COURT:      All right.     Does anyone wish to

 2   present any evidence in support of their position?

 3                     MR. NICOUD:      Robert Nicoud.      I would just ask

 4   the Court to -- to the extent necessary, I'm representing

 5   that, in fact, the request for production was forwarded to

 6   counsel for the debtor, as represented in the motion for

 7   sanctions.     And that until 7:35 last night, I had not

 8   received any formal response.

 9                     THE COURT:      All right.     Is there any dispute

10   about that, Mr. Mitchell?

11                     MR. MITCHELL:       Your Honor, no.     The time --

12   the timing of the response is not in dispute.

13                     THE COURT:      All right.     So no evidence from

14   anybody about anything, right?          Is that what I'm

15   understanding?

16                     MR. NICOUD:      Well, my -- I guess I just

17   testified.

18                     THE COURT:      Right.    Other than the failure to

19   respond prior to 7 -- is it 7:25 yesterday evening?

20                     MR NICOUD:      7:35.

21                     THE COURT:      7:35 yesterday evening.

22         Okay.     So -- all right.       Given the debtor's failure to

23   respond timely without any excuse, and I'm talking about

24   legal excuse, the Court finds cause to award sanctions.                The

25   Court will award a sanction, the cost associated with the




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                               16
                           Document     Page 16 of 105


 1   filing of the motion for sanctions, as well as -- as well as

 2   the hearing on the motion.

 3           Mr. Nicoud, you're to file with the Court what your

 4   fees and expenses were associated with the filing of this

 5   motion and prosecuting it.        That needs to be filed within 7

 6   calendar days.     Okay?    And then we'll determine the amount of

 7   attorney's fees and expenses to be awarded upon the filing of

 8   that motion -- I'm sorry, from the filing your expenses and

 9   fees.   Okay?

10                     MR. NICOUD:     I believe I understand.

11   Otherwise, the balance of the request is not granted?

12                     THE COURT:     The balance is denied.          It seems

13   to me that the debtor is -- it's a discovery dispute.                And

14   that's what it's asked for right now.

15           Now let's turn to the balance of the matter on the

16   Court's docket.       Mr. Moser, it's your motion.

17                     MR. MOSER:     Yes, ma'am.     I -- the opening I

18   have is also going to be my direct testimony.            I'd ask the

19   Court's guidance of whether I could be just sworn in to avoid

20   doing duplicatives, saying the same thing twice and then have

21   people cross-examine me.

22                     THE COURT:     Okay.   We can certainly swear you

23   in.

24         Let's swear in Mr. Moser.

25                   (The witness was sworn by the courtroom deputy.)




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               17
                            Document     Page 17 of 105


 1                          CHRIS MOSER

 2    The witness, having been duly sworn to tell the truth,

 3   testified on his oath as follows:

 4                     DIRECT EXAMINATION

 5   BY MR. MOSER (in narrative).

 6                     THE WITNESS:      Your Honor, I'm Chris Moser.

 7   I'm the Plan Agent under the debtor's second amended plan of

 8   reorganization, which was confirmed a little over two years

 9   ago.   My duties as Plan Agent include accounting for the

10   monies that I receive from the sales of the properties, to

11   make plan payments as directed by the debtor, and to consult

12   with the debtor's principals regarding maximizing recovery to

13   unsecured creditors.

14          When I first got this job just as two years ago, there

15   were ten houses that the debtor owned, plus a one-third

16   interest in another house.         Since the time I've been Plan

17   Agent, five of the ten houses have sold.            Those five houses

18   have generated gross sale proceeds that have hit my bank

19   account of approximately $1.55 million.            That's what's been

20   collected.     From the $1.55 million, I've written checks or

21   disbursed in round numbers $800,000 of that amount for

22   improvements to the ongoing houses, to pay salaries, and to

23   pay legal fees.        So today that leaves me with holding the

24   amount of $353,000 from the $1.55 million that I have.

25          The plan was confirmed over two years ago.             I have made




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              18
                           Document     Page 18 of 105


 1   zero, no distributions to unsecured creditors.             And speaking

 2   of unsecured creditors, if you take out the subordinated

 3   creditors, which are Mr. Daneshmandi's mother, there's $1.4

 4   million of general unsecured creditors in the estate.               Of

 5   this amount, Mr. Caldwell is the largest.           He's owed about

 6   $607,000.   So that would put him at 43, 44 percent of the

 7   entire unsecured creditor pool.

 8         Like Mr. Nicoud said, three months ago this Court did

 9   find that the debtor was in default of its plan for failing

10   to make distributions to creditors for the time period that's

11   been post-confirmation.       And gave the debtor 14 days to

12   either cure the default or to modify the plan.             Once this

13   ruling came down, I spoke with the debtor's principal and the

14   decision was made to file this motion for interim

15   distribution.    And the concept of the motion is that of the

16   $353,000 I have, I was asking to distribute right at $275,000

17   to general unsecured creditors and to also pay some

18   administrative costs, like for legal fees and salaries.

19         Mr. Caldwell has opposed the motion for the reasons

20   Mr. Nicoud stated.      He doesn't think that the past defaults

21   are cured by money, that money cures it.           He would like the

22   case converted to Chapter 7 and have a fiduciary in charge to

23   sell the houses and to pay creditors.           But as Plan Agent, my

24   thought was it was better to get money out to creditors as

25   soon as possible, to make a distribution.           It's been quite




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               19
                            Document     Page 19 of 105


 1   some time.     And then we'll see where we go from there.

 2           There are five houses that are still left.            And as was

 3   alluded to, Mr. Daneshmandi has been fixing up the houses and

 4   improving them.        But during the course of the case, he had

 5   gotten garnished by Mr. Caldwell and as a result, was not

 6   getting a paycheck.        And with all of the other issues about

 7   the default, there have been no payments to Mr. Daneshmandi

 8   since December of last year.

 9           And that would conclude my testimony.

10                     THE COURT:      Thank you.

11           Does anyone wish to cross?

12                     MR. MITCHELL:       Your Honor, this is Greg

13   Mitchell for the debtor.         I do have a few questions.         I also

14   wanted to make an opening statement.           But I can -- I can do

15   either of those in any order.          If the Court would rather me

16   ask Mr. Moser my questions first, I can -- I would like to do

17   that.

18                     THE COURT:      All right.     I'll let you cross

19   right now and I'll take any statements from you in closing.

20   Okay?

21                     MR. MITCHELL:       That will be fine.

22                     THE COURT:      Thank you.

23                      CROSS-EXAMINATION

24   BY MR. MITCHELL:

25        Q.      Mr. Moser, regarding the amounts that were paid out




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             20
                          Document     Page 20 of 105


 1   you referenced throughout the course of the plan, was it your

 2   belief when you made distributions that those distributions

 3   were either approved or authorized under the confirmed plan?

 4        A.    Yes.    That was my belief.

 5        Q.    Okay.

 6                     MR. MITCHELL:     I think that's the only

 7   question I wanted to ask at this time.

 8                     THE COURT:    Thank you.

 9         Does anyone else wish to cross-examine this witness?

10                     MR. NICOUD:    Yes.   This is Robert Nicoud.

11                     CROSS-EXAMINATION

12   BY MR. NICOUD:

13        Q.    Mr. Moser, your exhibit -- or Plan Agent Exhibit

14   Number 4, found at document number 282-4, would you explain

15   what that document is?

16        A.    That is my cash -- Exhibit Number 4 is my cash

17   receipts and disbursement record through, I believe, for the

18   one that I had filed was through May 5th.          It shows all the

19   money in and all the money out.

20        Q.    Okay.     So it's a true and accurate representation

21   of all of the money in and all of the money out?

22        A.    Yes, it is.

23        Q.    Okay.

24                     MR. NICOUD:    Unusual, but we move for

25   admission of Plan Agent Exhibit 4.




                       CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             21
                          Document     Page 21 of 105


 1                    THE COURT:     Okay.   Where is that at?

 2                    THE WITNESS:     It is at docket number 282,

 3   Exhibit Number 5.

 4                    MR. NICOUD:     4.

 5                    THE WITNESS:     Number 4, excuse me.

 6                    THE COURT:     All right.     Any objection?

 7                    MR. MITCHELL: No objection.

 8                    THE COURT:     Exhibit 5 is an attachment to the

 9   exhibit and witness list which has been docketed as docket

10   number 282, Exhibit 4 is admitted.

11       Q.     All right.     Next I'm going to go through a series

12   of exhibits on the Caldwell exhibit list.          And that is found

13   at document 291.

14       So tell me when you're --

15       A.     I found it.     I have it.

16       Q.     Okay.     If you'll look at Caldwell Exhibit H found

17   at document number 291-8

18       A.     I see it.

19       Q.     Okay.     Just what is this document?

20       A.     It was an invoice I received from Construction

21   Consultants regarding $150,000 draw that they wanted.              And

22   that was paid.

23       Q.     Well, was it -- was every bit of it paid?

24       A.     Part -- part of it was paid.         Part of it was not.

25       Q.     Okay.     And how did you receive this?




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             22
                          Document     Page 22 of 105


 1        A.    It was an email from Mr. Daneshmandi.

 2        Q.    Okay.     Other than this page, did you receive any

 3   other information concerning this payment request?

 4        A.    No.   This is the extent of the payment request.

 5        Q.    Okay.     But you maintained this in your normal

 6   records?

 7        A.    I did.

 8                    MR. NICOUD:     Okay.    Move for admission of

 9   Caldwell Exhibit H.

10                    THE COURT:     Where is that for the record?

11                    MR. NICOUD:     I'm sorry?

12                    THE COURT:     Where is that for the record?

13                    MR. NICOUD:     Oh, document number 291-8.

14                    THE COURT:     Okay.    H, as in --

15                    MR. NICOUD:     Harold.

16                    THE COURT:     Okay.    All right.    I just wanted

17   to make sure.

18         All right.     Any objection?

19                    MR. MITCHELL:      None, Your Honor.

20                    THE COURT:     Thank you.

21         Exhibit H, which was attached to the exhibit and

22   witness list docketed as docket number 291 is admitted.

23        Q.    Okay.     Turning to Caldwell Exhibit I, found at

24   document 291-9.

25        A.    I see it.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              23
                           Document     Page 23 of 105


 1          Q.   And what is this?

 2          A.   It's an email exchange between myself and

 3   Mr. Daneshmandi and my paralegal.

 4          Q.   Okay.     And -- and is Mr. Daneshmandi requesting

 5   payments?

 6          A.   Yes.

 7          Q.   Okay.     Is this a typical exchange when

 8   Mr. Daneshmandi is requesting a payment?

 9          A.   It would usually sometimes start with a phone call.

10   But it would always follow up with an email of some sort,

11   yes.    So it's typical.

12          Q.   Okay.     And was this maintained in the normal course

13   of your business?

14          A.   Yes, it was.

15          Q.   Okay.     Was any additional documentation regarding

16   the payment request submitted with this request?

17          A.   Not with this request, no.        And I don't recall

18   receiving any.

19          Q.   Okay.

20                      MR. NICOUD:    Move for admission of Caldwell

21   Exhibit I, found at docket number 291-9.

22                      THE COURT:    Any objection?

23                      MR. MITCHELL:     No objection.

24                      THE COURT:    Okay.   Exhibit I attached to the

25   witness and exhibit list which has been docketed at docket




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             24
                          Document     Page 24 of 105


 1   number 291 is admitted.

 2        Q.    Next turning to Caldwell Exhibit J, found at

 3   document number 291-10.

 4        A.    Yes, I have it.

 5        Q.    Okay.     And what is this?

 6        A.    That's an invoice from Mr. Daneshmandi for a

 7   $24,000 payment.

 8        Q.    And on the last page it refers to requesting three

 9   separate checks of $8,000?

10        A.    Yes.

11        Q.    And was this received from Mr. Daneshmandi?

12        A.    Yes, it was.

13        Q.    Okay.

14                     THE COURT:    I don't see where it says that

15   he's requesting three checks of $8,000.          Is that --

16                     MR. NICOUD:    That would be -- that's on page 2

17   of document number 291-10 at the very top.

18                     THE COURT:    We're talking about Exhibit J,

19   right?

20                     MR. NICOUD:    Yes.

21                     THE COURT:    Okay.    I'm looking at Exhibit J

22   and I don't see -- oh,      I see, please remit three checks --

23   second page.      Thank you.

24                     MR. NICOUD:    Okay.    And we move for admission

25   of Caldwell Exhibit J.




                       CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             25
                          Document     Page 25 of 105


 1                     THE COURT:    Any objection?

 2                     MR. MITCHELL:     No objection.

 3                     THE COURT:    Exhibit J is admitted.

 4        Q.    Next moving on to Caldwell Exhibit K, found at

 5   docket number 291-11.

 6        A.    I have it.

 7        Q.    What is this?

 8        A.    It's another invoice for $50,000 from

 9   Mr. Daneshmandi for another property.

10        Q.    Okay.     And was this amount paid by you?

11        A.    It was, yes.

12        Q.    Are -- okay.      Are you sure about that?

13        A.    I'm not.    I'd have to look at my dates on it.

14        Q.    Okay.

15        A.    It doesn't look like it was.         It was -- no.

16        Q.    Okay.     Okay.   And, again, was there any backup

17   submitted for this amount?

18        A.    That is the total itemization of what the request

19   was for.

20        Q.    And was this maintained by you in the normal course

21   of business?

22        A.    Yes.

23                     MR. NICOUD:    Move for admission of Caldwell

24   Exhibit K, like Karen, found at docket number 291-11.

25                     THE COURT:    Any objection?




                       CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               26
                            Document     Page 26 of 105


 1                       MR. MITCHELL:     None.

 2                       THE COURT:    Exhibit K is admitted.

 3        Q.      Next to Exhibit L, found at docket number 291-12.

 4         What is this?

 5        A.      It's an email exchange between me and

 6   Mr. Daneshmandi and my paralegal regarding payments.

 7        Q.      Okay.     Maintained by you in the normal course of

 8   business?

 9        A.      Yes.

10                       MR. NICOUD:    Move for admission of Caldwell

11   Exhibit L.

12                       THE COURT:    Any objection?

13                       MR. MITCHELL:     No.

14                       THE COURT:    All right.     Exhibit L is admitted.

15        Q.      Next to Caldwell Exhibit M, found at docket number

16   291-13.

17        A.      I have it.

18        Q.      What is this?

19        A.      Another email exchange.        But this is between --

20   starts out on the top between you and me and then the other

21   email exchange is between me and my paralegal about payments

22   to Mr. Daneshmandi.

23        Q.      Okay.     Can we scroll down?     So the email exchange,

24   when does it start with between you and your paralegal?

25        A.      We started emailing each other, it looks like




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              27
                           Document     Page 27 of 105


 1   September of 2020.

 2        Q.     Okay.     All right.   And was this the original email

 3   from Mr. Daneshmandi on September 28th, 2020, was this

 4   document maintained by you in the normal course of business?

 5        A.     Yes, it was.

 6        Q.     Okay.     Do you know if all of the amounts were paid?

 7        A.     Well, there's a check attached to it.           One of the

 8   checks was voided, I know that.         I'd have to go back and

 9   verify.    But most likely.      Most likely.

10        Q.     Okay.     This is maintained by you in the normal

11   course of business?

12        A.     Yes.

13                      MR. NICOUD:     Okay.   Move for admission of

14   Caldwell Exhibit M, like Michael.

15                      THE COURT:    Any objection?

16                      MR. MITCHELL:     No objection.

17                      THE COURT:    Exhibit M is admitted.

18        Q.     Moving on to Caldwell Exhibit N, like Nancy, found

19   at docket number 291-14.

20        A.     I see it.

21        Q.     What is that?

22        A.     It's an invoice from Mr. Daneshmandi for work at

23   a -- at Shady Lane.

24        Q.     Okay.     Maintained by you in the normal course of

25   business?




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               28
                            Document     Page 28 of 105


 1          A.    Yes.

 2                       MR. NICOUD:   Move for admission of Caldwell

 3   Exhibit N found at docket number 291-14.

 4                       THE COURT:    Any objection?

 5                       MR. MITCHELL:     No objection.

 6                       THE COURT:    Exhibit N is admitted.

 7          Q.    And moving to Caldwell Exhibit O, found at docket

 8   number 291-15.

 9          A.    That's another invoice from Mr. Daneshmandi for

10   Lakeview.

11          Q.    Okay.     And maintained by you in the normal course

12   of business?

13          A.    Yes.

14                       MR. NICOUD:    Move for admission of Caldwell

15   Exhibit O.     This is found at docket number 291-15.

16                       COURTROOM DEPUTY:     Stop talking at this time,

17   please.     Our judge just got disconnected.          She'll be back on.

18   Thank you.

19                       THE COURT:    All right.     I'm sorry, folks.

20   Apparently I got disconnected somehow.            And so I'm back on

21   now.

22           I think I got disconnected right after the Exhibit N

23   was to be admitted; is that right?

24                       MR. NICOUD:    I had moved for Exhibit N.         I had

25   moved on to Exhibit O.        But if it wasn't on the record, I




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               29
                            Document     Page 29 of 105


 1   move for the admission of Exhibit N found at docket number

 2   291-14.

 3                       THE COURT:    Okay.   I think Exhibit N has been

 4   admitted.    And that's where we -- right after that is when I

 5   got disconnected.

 6                       MR. NICOUD:    All right.

 7        Q.      Turning to Caldwell Exhibit O, found at docket

 8   number 291-15.

 9         Mr. Moser, what is that?

10        A.      It's an invoice from Mr. Daneshmandi for the

11   Lakeview project for $25,000.

12        Q.      Okay.     Maintained by you in the normal course of

13   business?

14        A.      Yes.

15                       MR. NICOUD:    Move for admission of Caldwell

16   Exhibit O.

17                       THE COURT:    Any objections?

18                       MR. MITCHELL:     No objection.

19                       THE COURT:    All right.     Exhibit O is admitted.

20        Q.      Mr. Moser, have you become aware that the debtor is

21   pursuing several state court lawsuits?

22        A.      That's correct.       There's two of them for specific

23   performance where the debtor wants the contract, wants to

24   perform under the contract and purchase two houses.

25        Q.      And have you received any -- when were you informed




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               30
                            Document     Page 30 of 105


 1   of those, that those had been filed?

 2        A.      I've kind of known about them for a while.             About

 3   the time they were filed, I'd talked to Mr. Daneshmandi quite

 4   often.     So I'm sure we've talked about it.          But I wasn't

 5   involved in the loop as far as whether to file them.

 6        Q.      Okay.     And have you been getting any progress

 7   reports on them?

 8        A.      Just recently.      Yesterday I got some reports.

 9        Q.      Okay.

10                     MR. NICOUD:      I'll pass the witness.

11                     THE COURT:      Does anyone else wish to examine

12   this witness?

13                     MR. MITCHELL:       Your Honor, I would like to

14   recross, based on some of the questions that Mr. Nicoud had

15   asked.

16                     THE COURT:      You may proceed.

17                     MR. MITCHELL:       Thank you.

18                        RECROSS-EXAMINATION

19   BY MR. MITCHELL:

20        Q.      Mr. Moser, I'm going to start back at the

21   beginning.     I'll jump around a little bit.

22            Did -- first of all, regarding the motion that's before

23   the Court today, did you receive the debtor's request to make

24   the distribution that's now the subject of the motion?                Did

25   you receive that within the 14 days from the Court's order?




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             31
                          Document     Page 31 of 105


 1        A.    Yes.    It was a cooperative effort.        We worked

 2   together for it.     But I did receive it, yes.

 3        Q.    Okay.     And do you have the debtor's exhibits in

 4   front of you?

 5        A.    Yes.

 6                     MR. MITCHELL:     And I will reference for the

 7   Court that the debtor's exhibits, our witness and exhibit

 8   list is at docket number 294.

 9        Q.    And so the Debtor's Exhibit 1?

10        A.    Yeah.     That's a letter that I received from

11   Mr. Cavari regarding the interim distribution.

12        Q.    Okay.     And that was within 14 days of the Court's

13   order; is that your testimony?

14        A.    That is correct.

15        Q.    Okay.

16                     MR. MITCHELL:     Your Honor, I would ask that

17   the Court admit Debtor's Exhibit Number 1 into evidence.

18                     THE COURT:    Any objection?

19                     MR. NICOUD:    No objection.     This is Robert

20   Nicoud.

21                     THE COURT:    All right.     Exhibit 1 which was

22   filed as an attachment to the exhibit and witness list, which

23   has been docketed as docket number 294 is admitted.

24                     MR. MITCHELL:     Thank you, Your Honor.

25        Q.    Mr. Moser, as part of the expenses that were paid




                       CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               32
                            Document     Page 32 of 105


 1   out, did they include, for example, payments to secured

 2   creditors that had liens on the property?

 3        A.      Yes, they did.

 4        Q.      Okay.     And did those payments include property

 5   taxes on the properties of the debtor?

 6        A.      Yes.    I believe.    There were a couple of

 7   properties.     Yes, they did.      But there were also some claims

 8   that they had in the bankruptcy case that got paid.               So I'm

 9   not -- I don't know the answer to that for certain.               I'd have

10   to look.

11        Q.      Okay.     That's fine.

12         And the payments you made also included some attorney's

13   fees, as well?

14        A.      Definitely included attorney's fees, yes.

15        Q.      Okay.     I want to refer back to Mr. Caldwell's

16   Exhibit H.     Let me get to it.

17         And this was an Construction Consultant invoice that

18   you testified about earlier.          And I believe you said that

19   this amount was paid; is that right?

20        A.      Parts of it were paid.       I believe 100 was paid and

21   50 wasn't, is my recollection.

22        Q.      Okay.     I'm going to refer back to Mr. Caldwell's

23   Exhibit A -- excuse me -- yeah, that's right, Exhibit A,

24   which is your report, the Plan Agent report.

25         And if you look down at the bottom of page 4 leading to




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                                33
                            Document     Page 33 of 105


 1   the top of page 5 --

 2        A.      Right.

 3        Q.      -- do you see there there are four, I guess,

 4   negative disbursements, if you will, of $25,000 each?

 5        A.      Yes.

 6        Q.      Does that help refresh your recollection as to what

 7   amounts were put back from that amount that was paid in

 8   Exhibit A?

 9        A.      Yes.     I had it backwards.     50 was paid.        100 I

10   stopped payments on.

11        Q.      Okay.     So 100 out of the 150 as part of Exhibit A

12   ended up back in the Plan Agent account?

13        A.      Yes.

14        Q.      Okay.     Turning back to Mr. Caldwell's Exhibit I.

15        A.      Okay.

16        Q.      This is a communication between you and

17   Mr. Daneshmandi.       It looks like you requested that some

18   support be provided before you make a payment?

19        A.      Correct.

20        Q.      First a general question.        Was that -- was that a

21   common procedure?       I mean, you didn't just make payments just

22   because you received an invoice, right?            I mean, you would

23   verify that a requested payment was appropriate, at least at

24   some level?

25        A.      That's correct.      There was always some -- more than




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              34
                           Document     Page 34 of 105


 1   discussion.    There was either an email or something in

 2   writing.

 3        Q.     Okay.     And pursuant to this Exhibit I, you

 4   requested information.       Do you recall if you subsequently

 5   received the support in order to make those payments?

 6        A.    I'm sure I did, or I wouldn't make the payments.             I

 7   have a paralegal who's very strict on that.

 8        Q.     Understood.

 9         All right.      Give me a second.

10                    MR. MITCHELL:       So, Your Honor, I don't recall

11   if it was admitted, but I just want to make sure that it is

12   admitted.    If Mr. Caldwell did not request that his Exhibit A

13   be admitted, we want to ask that Mr. Caldwell's Exhibit A be

14   admitted into evidence.

15                    MR. NICOUD:      Caldwell has no objection.

16                    THE COURT:      All right.     Exhibit A is admitted.

17                    MR. MITCHELL:       Okay.   Thank you.

18        Q.     Mr. Moser, I'll ask a question that I asked earlier

19   and I think I recall the answer.         But just to clarify, all of

20   the payments that you made that were requested by

21   Mr. Daneshmandi, you only paid them if you believed they were

22   either approved by the Court or consistent with the confirmed

23   plan; is that right?

24        A.     That's correct.

25        Q.     Would you even on occasion visit some of these




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              35
                           Document     Page 35 of 105


 1   properties to verify that, you know, activity was going on,

 2   that things you were paying for were being done?

 3        A.     Yes, I did, with Mr. Daneshmandi.

 4        Q.     Okay.     Did you -- did you have any opinion about

 5   the conditions of the property when you went to see them?

 6   Again, based on -- just given your level of expertise and

 7   understanding, did it look like the properties were making

 8   progress, were proceeding as you might expect?

 9        A.     Yeah.     They were all construction sites at various

10   stages.    But I will say the finished products, the ones I saw

11   were pretty impressive.

12        Q.     Okay.

13                    MR. MITCHELL:       I will pass the witness.

14                    THE COURT:      Okay.   Any other questions for

15   this witness?

16                    MR. NICOUD:       This is Robert Nicoud.

17                       RECROSS-EXAMINATION

18   BY MR. NICOUD:

19        Q.     Let's turn to Caldwell Exhibit J.

20        A.     All right.     Okay.

21        Q.     Now, with regard to the description of the items to

22   be paid, did you independently verify that each of those

23   things had been done?

24        A.     I did not.     But I will say Shady Lane is one of the

25   properties I went to and that was being done.            But I did not




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                                36
                            Document     Page 36 of 105


 1   independently verify the other ones.

 2        Q.      Okay.     And when you did visit properties, were you

 3   taking along the payment requests and checking off items to

 4   see if they'd been done, or were you just verifying that they

 5   were -- that work was being done?

 6        A.      The bigger picture.       Just verifying work was being

 7   done, who was working there, what was left to be done, how

 8   close we are to selling it.

 9        Q.      Okay.

10                     MR. NICOUD:      Pass the witness.

11                     THE COURT:      All right.     Mr. Moser, did you

12   wish to testify any further, in light of all of the

13   examination?

14                     MR. MOSER:      No, ma'am, I rest.

15                     THE COURT:      Thank you.     All right.       I'll

16   excuse you as a witness.

17         Is there any other evidence you wish to submit,

18   Mr. Moser?

19                     MR. MOSER:      No, ma'am.

20                     THE COURT:      Thank you.

21         All right.       Any other evidence any other party wishes

22   to submit?

23                     MR. MITCHELL:       Your Honor, this is Greg

24   Mitchell.

25         I think both I and Mr. Caldwell probably have some




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               37
                            Document     Page 37 of 105


 1   evidence.    We can go in any order you like.

 2                       THE COURT:    All right.     Well, since you're

 3   speaking, let's hear from the debtor first and then senior

 4   creditors.

 5                       MR. MITCHELL:     Okay.   I would like to call

 6   Mr. Daneshmandi.

 7                       THE COURT:    All right.     Mr. Daneshmandi, are

 8   you present?

 9                       MR. DANESHMANDI:     Yes, I am.

10                       THE COURT:    All right.     Let's swear you in.

11                   (The witness was sworn by the courtroom deputy.)

12                          KAZEM DANESHMANDI

13    The witness, having been duly sworn to tell the truth,

14   testified on his oath as follows:

15                        DIRECT EXAMINATION

16   BY MR. MITCHELL:

17        Q.      Mr. Daneshmandi, can you state your name for the

18   record, please.

19        A.      Kazem Daneshmandi.

20        Q.      I'll jump right in and I'll start with kind of

21   picking up with some of the questions that I asked Mr. Moser.

22   Were you -- were you in regular communication with Mr. Moser

23   regarding the houses, the properties of the debtor?

24        A.      Yes.

25        Q.      And did you provide information regarding the




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              38
                           Document     Page 38 of 105


 1   requests that you were making for disbursements for the

 2   property?

 3        A.     Yes.

 4        Q.     And kind of like Mr. Moser said in response to my

 5   question, you apparently provided him enough information

 6   to -- that he paid those requests, correct?

 7        A.     Yes.    I provided the information and he also met me

 8   at numerous properties.

 9        Q.     Okay.     Let's talk in general about the expenses

10   that were incurred.

11         Let's talk generally first.          There were -- there were

12   large payments made to secured creditors of the properties;

13   is that true?

14        A.     That's correct.

15        Q.     And was there a general strategy going into the

16   confirmed plan as far as, you know, secured creditors and

17   then potentially eliminating the secured creditors as you go?

18        A.     Yeah.     But the plan was to work on the houses.           To

19   get the ones that were as close to finished finished,

20   especially if they had secured creditors, since my plan was

21   that secured creditors get paid off first.            So I would go

22   into -- the plan got confirmed October 31st of 2019.               So

23   that's -- that was about a year and a half ago.             And when it

24   was confirmed, the game plan when me and Joyce Lindauer, who

25   drew up the plan and Chris and Kim, his assistant, sat down




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               39
                            Document     Page 39 of 105


 1   was to go ahead and -- I believe there was $77,000 left in my

 2   debtor-in-possession account.          To take that money.        Make the

 3   payments as Chris saw fit for lawyers, taxes, mortgage

 4   payments, insurance, things like that.            And then to use money

 5   to finish the next property to get sold and that was closest

 6   to being ready, which would have been 2046 Greenstone in

 7   Carrollton, which the secured creditor was Wells Fargo.                So

 8   we went ahead and did -- did that.           Got it all fixed, fixed

 9   up.   And sold it.

10           At that point, money would come back into the account.

11   And Chris, myself, Joyce would come up with the plan, like

12   the plan of attacked based on the plan that was drawn up.

13   And they would, again, distribute money to the ad valorem

14   taxes, which I think are like -- I don't have it on me, the

15   exhibit.     I think it was like almost 67,000.          The lawyers

16   that were dealing with the cases that were accrued by the

17   plan.   And then the money that was left over, which at that

18   point only came down to -- I'll have to look at the Plan

19   Agent report.     But I believe that it came down to, I want to

20   say maybe $2,000.       And that money was then supposed to go

21   towards fixing up that property, the next property that was

22   getting ready to be sold, which was 2029 Chatsworth in

23   Carrollton.     And at that point --

24         Q.     Let me jump in and try and steer a couple of

25   questions.     And I'm not trying to cut you off.           But I think




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                                40
                            Document     Page 40 of 105


 1   what it sounds like and what I think you're trying to get at

 2   is, is it fair to say that the strategy that you took as far

 3   as fixing up property, selling property, fixing up property,

 4   selling property, did you believe that was consistent with

 5   the plan that was confirmed, as far as the expenses that were

 6   incurred and the timing of expenses, and that sort of thing?

 7   Did you believe, as you were going, that everything was

 8   consistent with the plan that was in place, that was

 9   confirmed?

10          A.    Yes, 100 percent.      I -- I believed it was

11   consistent.     So did Joyce.      So did Chris.     So did Rod.       So

12   did Robert Nicoud.       Everyone was thinking it was consistent.

13   Even based on the email communications, everybody was on the

14   same plan.     Get the money.      Fix up the houses.       Pay off

15   secured creditors.       Pay off all these bills.        Onto the next

16   one.    Until finally -- like right now, we're down to the last

17   secured creditor house.        As soon as that one's done, then

18   from there on out, it was just all cash to be able to pay

19   everybody.     That was the plan that was drawn up from the get

20   go.    And that's the plan we went with.          If it was

21   inconsistent at any means, then we wouldn't even be able to

22   finish the first property, because there was no money from

23   the money that was transferred to even finish it.                 So it

24   wouldn't make sense just to -- I guess, before the plan even

25   got confirmed, for it not to get confirmed or to go to




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                               41
                           Document     Page 41 of 105


 1   Chapter 7 at that point.         Because the plan was to fix up the

 2   houses.    Sell them.     Pay off secured creditors, taxes,

 3   lawyers, again, et cetera, et cetera, salaries, wages.                And

 4   continue that train, keep going forward so that train keeps

 5   moving.

 6        Q.     Right.    And even -- and even though this was

 7   contemplated to be a liquidating plan, you believed that

 8   this, this process, this train you're talking            about, was

 9   consistent with that, even though it was --

10                      MR. NICOUD:    Objection, Your Honor, leading.

11   This is Robert Nicoud.

12                      MR. MITCHELL:     I can rephrase the question,

13   Your Honor.

14                      THE COURT:    The objection is sustained.          You

15   can rephrase the question.        Thank you.

16                      MR. MITCHELL:     I apologize.

17        Q.     Mr. Daneshmandi, did you believe that the -- that

18   the efforts that you were making was the -- the best way to

19   implement the plan and maximize the estate assets?

20        A.     Yes.     Yes, per my plan.     It said to maximize the

21   profits of each house, which means to maximize would have

22   been to fix up the houses and keep going into it.                Fix up the

23   houses and sell them.       I completely thought it was

24   consistent.    Chris completely thought it was consistent.

25   Joyce -- everyone thought it was consistent to continue




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                              42
                          Document     Page 42 of 105


 1   having this train run.      So, yes, I do believe we were

 2   operating under the plan correctly.         Otherwise -- I mean, I'm

 3   sure Chris would have notified me or told me from the get go,

 4   hey, he said no -- he said no to payment plenty of times to

 5   me.   From the get go he would have said, no.          Just me

 6   reviewing email things, I can see it in the language.               Chris

 7   was completely thinking the same thing that I was thinking,

 8   thinking exactly what the plan was thinking.           Fix the

 9   properties up.     Pay the secured creditors.

10          Go ahead.

11         Q.   Sir, no.    If you hadn't incurred the expenses that

12   you incurred and engaged in the -- in the actions that you

13   engaged in, do you believe --

14                    MR. NICOUD:     Objection; leading, Your Honor.

15                    THE COURT:     Objection sustained.

16         Q.   Would we be sitting here today, Mr. Daneshmandi,

17   with $360,000 in the Plan Agent's bank account had it not

18   been for your efforts?

19         A.   No.   100 percent no.      We would be sitting here

20   right now -- we actually wouldn't be sitting here.              The plan

21   would have got -- not got confirmed.         And we would have gone

22   into Chapter 7 a year and a half ago on October 31st.               No one

23   has ever objected to the consistency of the plan.               Not even

24   Mr. Nicoud and Mr. Caldwell objected to the consistency of

25   the plan, because everybody was on board that the plan was




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             43
                          Document     Page 43 of 105


 1   operating correctly, especially with the people that were

 2   running the plan which at that time would be me with the

 3   guidance of Chris.     If Chris thought it wasn't supposed to be

 4   correct, he would have told me.        He wouldn't have paid me.

 5   Nothing would have happened.        We'd be having this

 6   discussion -- to answer your question, we would not be here

 7   with any money.      That's the truth.

 8        Q.    So real quick, just to kind of summarize the

 9   numbers.   You prepared a demonstrative exhibit.           Do you

10   recall that?

11        A.    Yes.

12        Q.    And you provided that to me.

13                     MR. MITCHELL:     Your Honor, I filed that as

14   a -- this morning.     I've labeled it, I think, on the exhibit

15   and witness list.      But it's the only document that's attached

16   to docket number 298.      And I also sent a copy to Mr. Nicoud

17   and Mr. Moser.     If you want to pull that up.        I was just

18   going to -- if there's no objection to the use of the

19   demonstrative, I was going to ask Mr. Daneshmandi to kind of

20   summarize the numbers that we believe reflect the money that

21   exists and the money that's been paid out.

22         And before I proceed, Your Honor, I just want to make

23   sure that you got there.

24                     THE COURT:    I'm pulling it up right now.         It

25   will just take a minute.




                       CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                              44
                          Document     Page 44 of 105


 1                   MR. MITCHELL:       Okay.    That's fine.       I just

 2   didn't want to start, if you weren't --

 3                   THE COURT:      Okay.      I've pulled it up.      It's

 4   docket 298 you said, right?

 5                   MR. MITCHELL:       Yes.

 6                   THE COURT:      All right.     You may proceed.

 7                   MR. MITCHELL:       Okay.    Thank you.

 8         Q.   Mr. Daneshmandi, you have this in front of you.

 9   Can you kind of walk us through, again, kind of the summary

10   of what you believe to be the numbers as we sit here today as

11   far as what we have left, what number -- what amounts were

12   spent, and what they were spent on?

13         A.   Sure.     So my lawyer bills that were confirmed with

14   the plan and/or Judge Rhoades, her individual orders to get

15   them approved total $141,472.45.           And that included Trustee

16   fees, the Plan Agent, all of the lawyers involved.              The Plan

17   Agent hired a consultant and used an independent bank to do

18   the reports.   So that also includes, you know, the $300

19   charge here and there they would get for that.            So the lawyer

20   bills were authorized.

21         Q.   Okay.     And just so we're on the same page, what

22   other -- what other lawyers were paid as part of this?

23         A.   That was Joyce Lindauer, who first drew the plan

24   up.   That includes Rod Cavari.       It includes Chad Rubeck for

25   the appeal on the claim which is still on appeal right now.




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               45
                            Document     Page 45 of 105


 1   Caldwell's claim is still on appeal.           It includes you, Greg

 2   Mitchell.    It includes Ryan Luce, who is dealing with the

 3   Caldwell actions, as well as Rod Cavari.            That includes

 4   (indecipherable few words) who is dealing with one of the

 5   properties that's owned by GRC, a third interest,

 6   (indecipherable two words) bankruptcy.            He's dealing with

 7   that.   I believe that's all the lawyers.           Lawyers, Trustees,

 8   Plan Agent, Chris Moser, obviously.           That's where the

 9   141,472.45 came from.        All confirmed and approved by either

10   the plan or separate orders that Judge Rhoades had signed.

11        Q.      Okay.     Then we have the mortgage payments.          I'm

12   assuming that's self-explanatory.           These were -- were those

13   mortgage payments on properties that are part of the

14   bankruptcy estate?

15        A.      Correct.    There was two secured creditors when the

16   plan got confirmed; Wells Fargo, which became the first

17   property paid off.       So there were some mortgage payments to

18   them.   And then Statebridge, which had, I think at that time,

19   two -- I think they had two -- I think they had two loans at

20   that time.     They might have had three.         I don't necessarily

21   off the top of my head recall.          I know 1005 Shady Lane,

22   Keller was a loan with them.          I know that 6012 Mays was a

23   loan to them.     I believe that's it.        So the mortgage payments

24   per the Plan Agent's report, that was an exhibit, those were

25   authorized mortgage payments from the plan that were paid,




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               46
                            Document     Page 46 of 105


 1   32,166.33.

 2        Q.      Okay.     Tell me about the wages and salaries number.

 3        A.      The wages and salaries, I was getting paid $7,500 a

 4   month to run this estate.         That was up until December of

 5   2020.   So the total of the wages, including having an

 6   assistant for three months, three months maybe four, to help

 7   me try to get everything on track totaled 107,500, which were

 8   all also approved in my plan.          But then I was -- Mr. Caldwell

 9   got three writ of garnishments, so they stopped paying me.

10   The last payment, I think, was December 2020.             He did three

11   separate writ of garnishments and he would just dismiss them

12   the day of the hearing.        And Chris would email me

13   (indecipherable word), dismissed the writ of garnishment.                  So

14   I haven't been paid since, since January.            December was my

15   last payment since January.         Nothing this year.       So that's

16   all the wages in the confirmed plan, which was October 31st,

17   2019, a year and a half ago to now.           That was --

18        Q.      Okay.     So just to be clear, was your efforts in

19   working on behalf of the debtor, was that your only job?

20        A.      Yes.

21        Q.      And you spent all of your productive time trying to

22   re-commence the confirmed plan?

23        A.      All plus some.      Time and a half, double time.         I

24   spent all of my time trying to get everything worked out with

25   this company.




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              47
                           Document     Page 47 of 105


 1        Q.     Okay.     Tell me about the taxes number.        Are those

 2   property taxes related to the property?

 3        A.     Correct.    So those were all of the taxes that had

 4   been paid over the year and a half, which included ad valorem

 5   taxes, the County taxes, Tarrant County, things like that.

 6   So when I tallied all of those up, based on the Plan Agent's

 7   report, I came to $62,320.36.         And those were all authorized

 8   by the plan.

 9        Q.     Okay.     Tell me where the -- moving to the net

10   generated from sales.       Where does that number come from?

11        A.     The net generated from sales, per my plan, all

12   sales proceeds were to be deposited with Mr. Moser.              So the

13   net generated from sales for every -- effectively every wire

14   that came through from the title companies, the total paid to

15   secured creditors, the closing costs, things like that, the

16   number came to 812,000 -- I'm sorry, $802,912.             And then of

17   that, Chris is holding right now $360,000.            So with all of

18   the approved expenses from lawyer bills, mortgages, wages,

19   taxes minus the 802,912, minus the 360, will leave $442,912

20   which was supposed to be for construction expenses.              And per

21   my disclosure statement, I estimated I was going to spend

22   $430,000.   And this is obviously before COVID-19 hit and all

23   of the prices have 10 times grown in (indecipherable word),

24   and lumber, and all of that kind of stuff.            So now I'm only

25   $12,000 under my complete budget.          And I only have --




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               48
                            Document     Page 48 of 105


 1          Q.    Okay.     Okay.   And your last comment kind of

 2   transitioned to the next couple of questions I was going to

 3   ask.

 4           One of the complaints from Mr. Caldwell has been the

 5   timing that there were, you know, estimates earlier on that

 6   were believed to -- that we would be a lot further along than

 7   we are.     Tell me about that and tell me the affect that COVID

 8   had on your business and the building -- working on the

 9   properties.

10          A.    I mean, COVID-19 effectively started end of

11   February and really hit, I think it was March when they

12   started doing the stay-at-home and dealing with that.                So --

13   and it definitely hindered not only me being on the

14   properties actually doing physical labor, doing things like

15   that.    But the people working on the properties, the labor

16   force kind of disappeared.         Cost of labor skyrocketed.         Cost

17   of materials skyrocketed.         Home Depot wasn't open.         And when

18   it did become open, it was only open from like 9 to 4.

19   Things like that.       It just became a -- COVID-19 -- and I did

20   get COVID two times -- was just crazy.            So it effectively

21   slowed everything down big time.          Like I saw in, you know,

22   some of the exhibits that I communicated to Joyce in February

23   that some of these properties were going to get done in a

24   month, or two months, or six weeks, and obviously with

25   COVID-19, that was just impossible to do.            No one could work.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               49
                            Document     Page 49 of 105


 1   The costs were going up.         It was just impossible to complete

 2   those.     And that's why it took a little longer to complete

 3   those.

 4            So I've been in my confirmed plan right now for a year

 5   and a half.     I know Mr. Moser said it's been two years.             It

 6   hasn't been two years.        It's been a year and a half that I've

 7   been in my confirmed plan.         In that year and a half, almost a

 8   year and two months of it have been COVID.             And the last six

 9   months of it, Robert Nicoud and John Caldwell have stopped

10   any payments to be made to anybody.           So it's just been

11   sitting and looking (inaudible word), even though I'm still

12   working and (indecipherable two words), it's just -- it's not

13   feasible.    So out of a year and a half, a year was COVID and

14   a half a year was me, you know, the way I like to put it,

15   being stonewalled.       And at this point I still have sold five

16   of the ten properties, I think -- I think it was ten

17   properties total -- five of the ten properties.              And out of

18   those remaining five, one of the properties has been for sale

19   since confirmation, almost a year and a half now, or longer.

20   It was even when I declared bankruptcy back in May.               So

21   there's only four properties at that point that are left.

22   And two are, you know, partially completed.             And then one is,

23   the mobile home has -- the other one is a mobile home that's

24   in dilapidated condition and one is a rehab.             So I've been

25   doing my best to run the company and with COVID, lack of




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               50
                            Document     Page 50 of 105


 1   employees -- they're not even employees, they're

 2   subcontractors.        Lack of subcontractors, lack of money from

 3   the Plan Agent.        And also, just to point out, if you look at

 4   the Plan Agent report list, there are times like 2029

 5   Chatsworth -- is there any way -- can you pull up the Plan

 6   Agent report listed in the exhibits so I can see it?

 7        Q.      Let me -- I don't -- let me ask some specific

 8   questions.     That kind of got off track a little bit.

 9        A.      All right.

10        Q.      No, you're fine.      We'll come back to some questions

11   that hopefully will touch on that.

12         Let's look at some specific exhibits that we have.

13                     MR. MITCHELL:       Again, Your Honor, I'm

14   referring to exhibits attached to our witness and exhibit

15   list that appears at docket number 294.            And now I'm turning

16   to Exhibit Number 2.

17        Q.      Mr. Daneshmandi, Exhibit Number 2 is a number of

18   pictures that were taken, or that you took showing some of

19   the properties.        And if you would, tell us what we're seeing

20   here and how that affects why we're here today.

21        A.      Give me a second.      I'm trying to --

22        Q.      No problem.

23        A.      Okay.     So the pictures that you're seeing -- I

24   can't see -- I can't see your screen.            So I don't know what

25   you're sharing.        I only know what I provided.       I don't know




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               51
                            Document     Page 51 of 105


 1   if you can email me the exhibit, then I can see it.               I can't

 2   see the screen.        So I can take a picture, but I don't want to

 3   start talking about a picture when you guys are looking at

 4   something else.

 5        Q.      Okay.     So, I guess, tell me in general, while I'm

 6   trying to do that, tell me in general, the pictures that you

 7   provided, they were pictures of the properties.              Were they

 8   designed to be a before and after?           Were they designed to

 9   kind of show us what the state of the property?              What was the

10   point of the pictures?        And then hopefully I can get you to

11   the pictures here.

12        A.      Sure.     If you look at the pictures, there's one

13   picture that says Google on it.          And it's going to have the

14   address 6012 Mays Place.         And that's going to be the before

15   picture.     It's going to have --

16                     MR. NICOUD:      Your Honor, I'm going to object

17   about talking about the pictures.           We don't have it before

18   the Court.

19                     THE COURT:      Well, I thought he was talking

20   about Exhibit 2?       Is he not talking about Exhibit 2?

21                     MR. NICOUD:      Well, we don't know -- he -- the

22   witness has said he doesn't have it in front of him.                So I'm

23   not sure which picture we're talking about.

24                     THE COURT:      Mr. Mitchell?

25                     MR. MITCHELL:       Your Honor, I'm trying to




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               52
                            Document     Page 52 of 105


 1   direct Mr. Daneshmandi.        I've sent over the pictures.          We're

 2   not in the same place, so I apologize.            We're trying to

 3   coordinate this as best we can.

 4                     THE COURT:      Why don't we take a 10 minute

 5   recess right now so you can get off-line and coordinate and

 6   make sure that he has a copy of the full set of the exhibits.

 7                     MR. MITCHELL:       That's fine.

 8           Your Honor, before we take a break, can we address the

 9   timing issue?     This was requested to be a two hour setting.

10   And so I didn't try to make accommodations when I got a

11   hearing set on me for 1:30 this afternoon in the District

12   Court in the Eastern District of Texas.            I have a hearing at

13   1:30.   If we're going to go that long, or even close to that

14   long, can we at least address that?           Because I actually have

15   to go there.     It's an in-person hearing.         And I was only

16   anticipating a two hour hearing, because that's what I

17   thought we got, as far as the setting.

18                     THE COURT:      Well, who set this hearing?

19                     MR. MITCHELL:       Well, I think we had initially

20   set at a particular day and Mr. Nicoud said that he thought

21   it was going to take a couple of hours and so he --

22                     THE COURT:      My question is where in the

23   hearing in the Eastern District of Texas that you just

24   mentioned?

25                     MR. MITCHELL:       It's actually at the Plano




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                                53
                            Document     Page 53 of 105


 1   District Court.

 2                     THE COURT:      Okay.    So you're going to be in

 3   Plano?

 4                     MR. MITCHELL:        Correct.

 5                     THE COURT:      All right.      And that's fairly

 6   close to your office, right?           How long do you expect that

 7   hearing to last?

 8                     MR. MITCHELL:        I don't think it will take more

 9   than 30 minutes.

10                     THE COURT:      All right.      We'll recess -- we'll

11   recess then to give you time to go handle that matter.                 Or

12   we'll just see where we are when it's time to recess for a

13   lunch break.     Okay?

14                     MR. MITCHELL:        Okay.   Fair enough.       Thank you,

15   Your Honor.

16                     THE COURT:      We're going to take a 10 minute

17   recess right now.        Why don't you all organize that in terms

18   of discussing off-line what remains, what evidence remains,

19   how long it's going to take, et cetera.            And, also, if anyone

20   wishes to examine any witness about an exhibit, you all need

21   to make sure the witness has a copy of the exhibits in front

22   of them when you start.        So you all do what you need to do to

23   make sure that happens.        Okay?    So we'll take a 10 minute

24   recess to give you all time to get organized.

25            We stand in recess.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               54
                            Document     Page 54 of 105


 1                            (Brief recess ensued.)

 2                     COURTROOM DEPUTY:       GRCDallasHomes, LLC.        Case

 3   number 19-41186.       Plan Agent motion for authority to make

 4   certain payments, motion for sanction, and motion to compel

 5   debtor and creditor.

 6                     THE COURT:      All right.     When we -- when we

 7   recessed, we recessed so that the parties can make sure all

 8   of the witnesses have a copy of the exhibits in front of them

 9   and to make arrangements about scheduling issues related to

10   scheduling conflicts for this afternoon.

11         So where are we now?

12                     MR. MITCHELL:       Your Honor, I think we're

13   prepared to proceed.        I think Mr. Daneshmandi has the

14   exhibits in front of him.         As far as timing, as I mentioned,

15   my -- the hearing is at 1:00 -- is at 1:30.             I just Google

16   mapped it.     I'm exactly 30 minutes away.         So any cushion

17   would be appreciated.        But that's where I'm at.

18                     THE COURT:      Okay.   Let's see if we can finish

19   with this witness first.         And maybe that might be where we

20   need to recess for the morning, any way.

21         So you may proceed.

22                     MR. MITCHELL:       Thank you, Your Honor.

23        Q.      Mr. Daneshmandi, when we left off, we were starting

24   to look at exhibits.        Do you have those exhibits in front of

25   you now?




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              55
                           Document     Page 55 of 105


 1        A.     Yes.

 2        Q.     Okay.     So starting with Exhibit 2.       Exhibit 2 is a

 3   lot of pictures.      Tell us what we're seeing in these pictures

 4   as it relates to what's before the Court.

 5        A.     Correct.    Exhibit 2 is just a bunch of trash and

 6   stuff that's been taken out of the property and bundled up.

 7   The trash container has all of the trash in it, as well.               If

 8   you go down to the following picture with the trees that are

 9   growing into the electrical meter.          It just shows that the

10   electricity for that house needs to get done.            That's a fire

11   hazard.

12                      MR. NICOUD:    Excuse me, Your Honor, Robert

13   Nicoud.    Can we find out what property we're talking about

14   and when the photo was taken?

15                      THE COURT:    All right.     Let's be a little more

16   specific in your questioning so that we can get the

17   information.       And then further information ou guys can get

18   on -- in terms of by cross-examination.

19        Q.     Okay.     I guess, Mr. Daneshmandi, tell me, I guess,

20   were these pictures all taken at the same time?             Were they

21   taken at various times?

22        A.     The pictures were taken at various times.            I don't

23   recall the exact date that the pictures were taken, but I can

24   tell you which property the pictures are from.

25         The first picture with the trash outside --




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             56
                          Document     Page 56 of 105


 1       Q.     Okay.

 2       A.     -- is 2029 Chatsworth in Carrollton.           And the next

 3   picture is the trash container that was -- that's either at

 4   the property of 2029 Chatsworth or 6012 Mays.           The next

 5   photo, which is the electrical meter with the trees growing

 6   in, that is 6012 Mays.      It shows that it needed electricity.

 7   The next picture you see is a finished out version of 6012

 8   Mays with (indecipherable two words), the baseboard, the

 9   stone, floors, the texture tape bed, electrical, faucets,

10   things like that.     The next picture you're seeing like a

11   custom gate that I've done, the landscaping, the paint, the

12   roof, deck work.     That's at 6012 Mays, as well.         The next

13   picture is going to be 6012 Mays that shows, again, the new

14   windows, the new door, painting, brick work, the landscaping,

15   the gate, next to a security system (inaudible word).              The

16   next picture is an internal picture -- interior picture,

17   excuse me, of 6012 Mays, again, which is the finish out

18   flooring, tape and bed, texture, followed by the next

19   picture, again, custom doors, custom windows, custom

20   cabinets, back splash, fans, lights.         You name it, it's in

21   the property.   All of these photos are 6012 Mays.

22         The next one is the new appliances, refrigerator,

23   double oven, the vent-a-hood, the dishwasher, the faucets,

24   double faucets, LED lights, the chandelier, the mirror,

25   doors, the handles on the doors, on the kitchen doors.              The




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             57
                          Document     Page 57 of 105


 1   next one is a custom fireplace with stone inserts, security

 2   system, inlays on top of the fireplace, the 6 inch baseboard,

 3   the floors, the windows, the fans.         The next one is a close

 4   up of the back splash, again, the cabinet, the glass inserts

 5   into the custom cabinets, the appliances, the handles.              Then

 6   you're going to go into the next picture, which would be the

 7   bedroom which you'll see the two (indecipherable word) on the

 8   doors, electrical, the baseboards, the new mirrors, LED

 9   lights, HVC, which is air-conditioning ventilation, fire

10   alarm, things like that.       Next one you're going to see a

11   custom bathroom, custom glasswork, custom door, custom full

12   tile through the whole bathroom, including a custom floor

13   shower pan, tile, new toilet, new fixtures, new lights.

14   There's an LED speaker on top cuing up the light.

15         The next one you're going to look at the guest bathroom

16   new bathtub, new tile, new faucets, new cabinets with

17   handles, granite, toilet.       Next one you see a custom closet,

18   which is glass insert, custom cabinet work, handles,

19   flooring, trim work.      Next one is, again, another photo of

20   the bathroom that shows the glasswork that was done, the

21   flooring, the custom (inaudible word).          The next one you'll

22   see an outside photo which shows all of the stamped color

23   concrete that was done to the house.         I believe we had almost

24   three truckloads of concrete, the custom cedar pergola, the

25   fan, the lights, the brickwork, the doors, the landscaping.




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                                58
                            Document     Page 58 of 105


 1   Your next one is going to have a new garage door, the 8X8

 2   cedar fence with top cap and rails at the top pieces,

 3   stained.     You've got the stained concrete in multi -- three

 4   different colors.        You've got new windows, new doors, new

 5   trims.

 6            You see the new 15 year roof on there with a bridge

 7   (indecipherable word).        That's a little fence on top of the

 8   roof.    The landscaping.      And then you're going to go to the

 9   next picture which has Google on it.           That's the before

10   picture of that exact same house.           You can tell the

11   landscaping is not done.         The concrete is not done.         The

12   brick's not done.        The painting is not done.       The roof's not

13   done.    The trees aren't cut.        No new windows.     Anything like

14   that on it.     The final foundation has been done, obviously.

15   If you look at the next picture it says Google from the back.

16   It shows there's no foundation done, because those big cracks

17   in the driveway.       There's cracks in the driveway.            There's

18   cracks in the house, multiple cracks, which are also leaked

19   plumbing repairs.        (Indecipherable word) pipes, things like

20   that.    And that's just the -- that's the before picture of

21   the lot.     No fence.     No new grass.     No roof.    No bricks.      No

22   stamped concrete.        None of that stuff in there.        So that's

23   that exhibit.

24        Q.      Okay.     So did you take all of these pictures and

25   you're familiar with all of the contents in them?




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              59
                           Document     Page 59 of 105


 1        A.     Yes.    The last photo, the Google ones, that's done

 2   by the Google car that takes pictures.           I'm not sure.

 3        Q.     Okay.     But you're familiar with the contents and

 4   everything that we see here that's represented is true and

 5   correct, to the best of your knowledge?

 6        A.     Yes.

 7        Q.     And -- so basically is this -- does this represent

 8   kind of the quality of work that's being done to the

 9   properties owned by the debtor?

10        A.     Correct.    It represents pretty much the before

11   pictures of how all the properties were.           If you would have

12   asked Chris what he thought of the properties he saw, they

13   were dilapidated conditions, not habitable, just messed up

14   and junk, with all due respect.         And then after I get done

15   finishing them, they're, you know, top of the tier.              Best of

16   the best.   That's why they sell so quick.          That's why they

17   get over my disclosure amounts.         I'm getting more for them,

18   because I put in all of that work and repair and money.

19        Q.     Okay.

20                      MR. MITCHELL:     Your Honor, I'd ask that

21   Exhibit 2 be admitted into evidence.

22                      MR. NICOUD:    Objection; relevance.

23                      THE COURT:    Objection is overruled.         Exhibit 2

24   will be admitted.      You can connect as to relevance at

25   closing.




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              60
                           Document     Page 60 of 105


 1                      MR. NICOUD:    Okay.

 2                      MR. MITCHELL:     Thank you, Your Honor.

 3        Q.     Mr. Daneshmandi, let's just go through them in

 4   sequence.   Exhibit Number 3 is a State Court motion to

 5   dismiss without prejudice in a -- in case number 20-10384 in

 6   the 462nd District of Denton County.

 7         What does this relate to and how is it relevant to

 8   what's before the Court today?

 9        A.     That's pretty much John Caldwell just stonewalling

10   GRC and wanting it to burn.        That's one of three writ of

11   garnishments they did.       And they would just dismiss them on

12   the day of the hearing just so that Chris wouldn't pay me and

13   the process wouldn't keep going.          And I tried my best to keep

14   the process going, but it's hard when you can't have access

15   to funds.   So the way that I would refer to it in my mind,

16   and I would tell my lawyers I was like, hey, COVID-19 hit and

17   Caldwell-19 hit.      Either one is going to make me not be able

18   to finish what I have to do per the plan.

19        Q.     And while we're at that, along the same lines,

20   looking at Exhibit 4.       Exhibit 4 is styled a notice of

21   non-suit in a different case filed by John Caldwell, cause

22   number 21-3543-431 in the 431st District of Denton County.

23   Is this a different case that shows us more of the same?

24        A.     Yes.    Filed for writ of garnishment and then

25   non-suited the day before the hearing.




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             61
                          Document     Page 61 of 105


 1        Q.    Okay.

 2                    MR. MITCHELL:      Your Honor, I would ask that

 3   Exhibits 3 and 4 be admitted.

 4                    MR. NICOUD:     No objection.

 5                    THE COURT:     Exhibits 3 and 4 will be admitted.

 6                    MR. MITCHELL:      Thank you.

 7        Q.    Mr. Daneshmandi, turn to Exhibit 5.          Tell me what

 8   we're looking at and how it relates to what's before the

 9   Court today.

10        A.    Exhibit Number 5 was 2029 Chatsworth Drive in

11   Carrollton.    I believe it was the second property that I

12   sold.   So after I fixed up the property, obviously you get it

13   approved by the City per the permits, things like that, as

14   well as the people that are buying it get a residential

15   inspector to come out and inspect everything.           At the time

16   that they got the inspection, the Plan Agent only had maybe 2

17   to $5,000 in his account maximum.         In this addendum, this is

18   what the buyer was asking for.        They're asking for all this

19   stuff to get fixed.      So then I just cross it off and say,

20   fine, I'll give you a new roof.        You go to the next page,

21   mechanical exhaust vent.       Everything that I say yes and

22   there's a CG, that's their signature, is me going these are

23   all -- me agreeing that these are all of the issues with the

24   house that they want to address so that it would sell and

25   bring money into the plan for Chris.         So each one, yes, yes,




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             62
                          Document     Page 62 of 105


 1   yes.   So if you go down I'm doing grating and drain through

 2   all the supply system.      The water -- (indecipherable word)

 3   one is not necessary, but everything else.           All of the water

 4   supply lines in the attic should be fixed.           Grating and

 5   drainage, roof, mechanical exhaust vents.

 6          We'll go to the next page now.        The faucets appear

 7   sub-below water pressure.       I go fix all new pipes and

 8   faucets.   Next, the (indecipherable two words) is not

 9   functioning.   It's probably from the (indecipherable word).

10   Fix or replace faucet.      Then it goes (indecipherable word),

11   which are electrical things you plug into the electricity.              I

12   go, yes, I'll switch them to make it Code compliant.

13   (Indecipherable few words) outlets work.          Fine, I'll switch

14   them and make them Code compliant.         Next page, same thing.

15   All of the electrical stuff that needs to be done, I'm

16   saying, yes, yes, yes, yes, I'll do it all.           That's all

17   electrical stuff.

18          If you go down to electrical system.          The condition

19   should be further investigated and corrected.           Next, fix --

20   locate (indecipherable word).        I go, yes, install

21   (indecipherable word).      Fashion details.      There's no

22   (indecipherable word) on there, yes, yes.          So you see me

23   agree to everything -- this is agreeing to everything,

24   essentially, that they want so that I could get the house

25   sold for maximum value per my plan.         And I'm going ahead and




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               63
                            Document     Page 63 of 105


 1   agreeing to fix all of these things on it.             We both signed

 2   it.   But at that time, Chris didn't have money in the

 3   account.     So I emailed him and I said, hey, we don't have any

 4   money.     I'm going to use some of my cash that I've been using

 5   from getting from my wages and salary to go ahead and pay

 6   out-of-pocket to get all of this stuff done.             To put a whole

 7   new roof on a house, 30 squares, and all of this concrete

 8   work, and exhaust, and electrical.           All of this kind of

 9   stuff.     I'm going to go ahead and pay for it out-of-pocket

10   because if I don't, this house is not going to sell.                We're

11   not going to have any money in the account.             I'll pay for it

12   out-of-pocket.     I'm going to bill you later.          He agreed to

13   it.   What I submitted was the email communication where I'm

14   telling Chris that and he's responding back to me and we

15   continue to do that.        And I'm asking for that money back.

16   Chris asked me, can I have support?           Like he'd ask for all of

17   the repairs, to have support for this repair.             I sent him

18   saying, yes.     I've done all this, as a contractor would.             I

19   want to get paid for it.         And I'm using my own money to fund

20   the job, because there's no money left because he had paid

21   all of the taxes and the lawyers.           You see, I think, $142,000

22   to lawyers.     The majority -- a lot of these are because they

23   just keep stonewalling motion, motion, objection, objection.

24   They just won't let me (indecipherable word).             It's like

25   getting a divorce.       It's crazy.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             64
                          Document     Page 64 of 105


 1        Q.    Okay.     So --

 2                    MR. MITCHELL:      Yeah, that's all of the

 3   questions I have for Exhibit 5, Your Honor.           I would ask that

 4   Exhibit 5 be admitted into evidence.

 5                    THE COURT:     Any objection?

 6                    MR. NICOUD:     Voir dire, Your Honor.

 7                    THE COURT:     You may.

 8                    MR. NICOUD:     I just want to --

 9                    VOIR DIRE EXAMINATION

10   BY MR. NICOUD:

11        Q.    What is the date of this document?

12        A.    I believe there's dates in the -- it looks like

13   there are signatures from -- like automated signatures.

14                    MR. MITCHELL:      Yeah.   There's a DocuSign date

15   right next to the signatures that says 4/24 -- 4/25.

16        A.    Yeah.

17                    MR. MITCHELL:      April 25th of 2020.

18        A.    First page of the exhibit.

19        Q.    So 4/25/2020?

20        A.    Actually, it's on multiple pages of the exhibit,

21   but, yes, 4/25/2020.

22                    MR. NICOUD:     With that, no objection.

23                    THE COURT:     All right.     Exhibit's admitted.

24                    MR. MITCHELL:      Thank you, Your Honor.

25                        (no omission)




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              65
                           Document     Page 65 of 105


 1               DIRECT EXAMINATION CONTINUED

 2   BY MR. MITCHELL:

 3          Q.   Mr. Daneshmandi, turn to Exhibit 6.          Exhibit 6 is

 4   an email from your former counsel regarding -- this is back

 5   in March of 2020.       What is the reason for including this

 6   exhibit and what does this tell us, as it relates to what's

 7   before the Court?

 8           Mr. Daneshmandi, are you there?         Can you hear me?

 9          A.   I can now.

10          Q.   Okay.

11          A.   I can now.

12          Q.   Okay.

13          A.   It's an email from Joyce to Mr. Robert Nicoud dated

14   March 5th, which potentially was the peak of COVID-19.               So

15   Mr. Nicoud had emailed Joyce and put her on notice saying

16   that the properties weren't finished as per -- as he wanted.

17   And we were in default.       Ms. Lindauer, however, responded

18   back, we're not in default.        The houses are getting done.

19   It's a process.       As we know with construction, it usually

20   takes longer than necessary.         She pointed that stuff out to

21   him.    So the email just goes, Greenstone he said was one of

22   the houses that weren't done and not sold.            And that's one of

23   the houses -- hey, that house was closed.           Next was

24   Chatsworth at that time.        And I was saying, hey, I'm going to

25   get it finished because of permit inspections like Jewel and




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               66
                            Document     Page 66 of 105


 1   Harlington.     It's due for -- and these are all, you know,

 2   like rough times.       That's the whole point that I was trying

 3   to say with this was, these are all rough times.              This was

 4   like when Corona hit.        So all of these things -- like the

 5   houses will get put for sale way later.            I will finish them

 6   way later.     There's -- I couldn't be bound by this, because

 7   this was right at the beginning of the start of Corona and

 8   everything in my life completely changed.            So that was the

 9   whole point of -- you know.

10        Q.      So does this email kind of show that despite some

11   of the delays, there was regular communication between your

12   counsel and Mr. Caldwell's counsel regarding status?

13        A.      Yes.    And if Mr. Nicoud thought we were in

14   violation or inconsistent or anything like that, he

15   definitely would have notified my lawyer, as he did on this

16   occasion, as proof.        If he thought there was something wrong,

17   he would have notified her.         If Chris thought there was

18   something wrong, they would have notified her.              No one ever

19   thought anything was wrong.         We were following through with

20   what we were supposed to do.

21        Q.    Okay.

22                       MR. MITCHELL:     And for the record, Your Honor,

23   this is also Caldwell -- Mr. Caldwell's Exhibit G.                I don't

24   recall if that was admitted.          But we would ask that it be

25   admitted as our Exhibit Number 7.           No, Number 6, I'm sorry,




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              67
                           Document     Page 67 of 105


 1   our Exhibit --

 2                    THE COURT:      All right.     Any objection?

 3                    MR. NICOUD:      No objection.

 4                    THE COURT:      All right.     Exhibit 6 is admitted.

 5        Q.     Mr. Daneshmandi, I want to turn to Exhibit Number

 6   8.   Exhibit Number 8 is a text message string between you and

 7   Mr. Caldwell.    Tell me what's going on here and when this

 8   happened and why it happened.

 9        A.     Okay.     So the basis of the lawsuit that's now in

10   the appeal process of Mr. Caldwell's, finally thought we had

11   a contract between us to -- he invested money into a

12   particular property.       I signed the promissory notes, which is

13   the basis of the appeal that's going that says, hey, if

14   anything goes in default, I will give you --

15                    MR. NICOUD:      Your Honor, this is Robert

16   Nicoud.    The witness has testified it pertains to a state

17   court matter that's on appeal.         It's not relevant to this

18   proceeding.

19                    MR. MITCHELL:       Your Honor, we would submit

20   that this -- that this exhibit is relevant to show the kind

21   of mentality of the objecting creditor.           That, you know, as

22   we've tried to argue all along, Chapter 7 is not in the best

23   interest of anyone.       And we believe that Mr. Caldwell's

24   recommendations to the Court, decisions, are made based on

25   emotion.    That he sincerely does not like Mr. Daneshmandi,




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               68
                            Document     Page 68 of 105


 1   which is certainly his right.          But we believe that it's

 2   clouding his views.        And we believe that this text message

 3   kind of demonstrates that clouding of kind of clear thinking.

 4                     THE COURT:      All right.     I don't think

 5   Mr. Caldwell's thinking is at issue.           Objection is sustained.

 6                     MR. MITCHELL:       Okay.   Thank you, Your Honor.

 7        Q.      Mr. Daneshmandi, if you would turn to Exhibit 9.

 8   And I would point out that Exhibit 9 is also Mr. Caldwell's

 9   Exhibit H.     I think Mr. Moser addressed this in some

10   follow-up questioning.        But I just wanted to go ahead and ask

11   you, there's void written by several entries.             Does the void

12   reflect the numbers that were backed out that we looked at in

13   Exhibit A when I was questioning Mr. Moser?

14        A.    Correct.     They were voided checks.        So out of those

15   six checks, four of them were voided.

16        Q.      Got it.    So out of $150,000 that was initially

17   paid, $100,000 was eventually put back?

18        A.      Correct.

19        Q.      Okay.

20                     MR. MITCHELL:       And I guess even though I

21   believe Exhibit H was admitted, we would ask that our Exhibit

22   9 be admitted, to the extent that it reflects the

23   (indecipherable word) of the particular transactions.

24                     THE COURT:      Any objection?

25                     MR. NICOUD:      No objection.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                               69
                           Document     Page 69 of 105


 1                    THE COURT:      Exhibit 9 is admitted.

 2          Q.   Okay.     Mr. Daneshmandi, we're almost there.           Look

 3   at Exhibit 10.      Exhibit 10 is an email from Mr. Moser to your

 4   counsel, Mr. Cavari, and you were included.            Tell me what we

 5   see here and how this is relevant to what's before the Court.

 6          A.   What you're seeing is an email from Chris back to

 7   Rod.    And it was -- when the Court found us in default we

 8   contacted Joyce and I said, Joyce, can you re-do the plan?

 9   She said, no.    At that point, me and Rod called up Chris and

10   said, hey, we want you to distribute all of the money, except

11   for the 50, 60 grand that's for lawyers, for the allowed

12   administrative expenses to all of the creditors.             And then --

13   so we initiated that discussion with Chris saying, hey, we

14   want to do this.      Chris came back and said that -- exactly

15   what it says in the email.        Nicoud won't let it -- Nicoud

16   would be amenable to keeping the case in Chapter 11 and

17   making a proposed distribution, if we can all reach an

18   agreement on selling the remaining houses.            From that brought

19   Rod had replied back to him saying the Court's order did not

20   ask for us to come into an agreement with Mr. Nicoud.                It

21   just asked us to come into compliance.           And by coming into

22   compliance, the 300 -- over 300,000 we have distributed to

23   all of the creditors.       That's what we want to do.           And that's

24   Chris' response back saying, good.          I think it's a step in

25   the right direction to make a large distribution, which is




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             70
                          Document     Page 70 of 105


 1   all of the money in their estate to the people.            And when I

 2   went back and went through the accounting of the Plan Agent's

 3   report, I only spent 156,000 on construction of other

 4   properties that haven't been sold as of right now, but are in

 5   the process getting work.       So 156,000 was to remain

 6   non-compliant.     Us putting double that, 300,000 to pay

 7   everybody, should put us back into compliance.            And out of

 8   good faith, we're trying, A, (indecipherable word) the plan;

 9   B, just give all of the money back to the people and come

10   into compliance like the Court had asked.

11        Q.    Okay.

12                    MR. MITCHELL:      Based on that, I would ask that

13   Exhibit 10 be admitted into evidence.

14                    MR. NICOUD:     No objection.

15                    THE COURT:     Exhibit 10 is admitted.

16        Q.    Mr. Daneshmandi, I just have one other -- well,

17   probably just one question, but one line of questioning, if I

18   have a follow-up.

19         Have you made a side-by-side comparison of the results

20   if this case were to be converted to Chapter 7 versus other

21   options?   And, if so, what did you conclude?

22        A.    Yes, I did.     So if they were to convert this to

23   Chapter 7, the first thing would be the secured creditor

24   Statebridge would take back 1005 Shady Lane.           Then there's

25   only remaining four properties.        The four properties, as I've




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             71
                          Document     Page 71 of 105


 1   mentioned, one has been for sale for, you know, 6, 700 days,

 2   a long time.   It's a mobile home, unhabitable.           Another is a

 3   mobile home, unhabitable.       So both of those, per my

 4   disclosure statement and per the Cad results are both

 5   $25,000.   So I've submitted both of those at 25.           The house

 6   on Keller, like I said, would go back to the creditor.              Then

 7   there's only two properties house.         There's a house on

 8   Lakeview that on my disclosure I put at 90.           Cad is 120, but

 9   the house is still down to the studs on the inside.             The

10   inside needs to be finished.        And then the other house, which

11   is 4430 Chapman, that house still needs -- it's on my

12   disclosure for 130.      The Cad value is 130.       That house would

13   end up selling for that.       Or if it went to Chapter 7, it

14   would both just go away.

15         So if you just look at the numbers, $130,000 for

16   Chapman plus the two mobile homes at $25,000 a piece would be

17   50,000, that would be 180 plus Lakeview, which would end up

18   getting 90,000, so 180 would make 270,000.           And Chris is

19   holding $300,000 right now.       So that would be $500,070.          If

20   this went to Chapter 7 after all of the fees and the -- and,

21   you know, the lawyers putting in the notice to get fee

22   agreements and stuff like that, after it was all done, and

23   salary fee agreements, all that, it might net the creditors

24   25 cents on the dollar.      If we continue with the plan as

25   confirmed, as we've been doing for the last year and a half,




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             72
                          Document     Page 72 of 105


 1   I'm still projected to pay people 45 cents to 50 cents on the

 2   dollar completely.     So I'm still on track to do exactly that.

 3   Even if I was -- let's say even right now if I was to take

 4   1005 Shady Lane and say, hey, let me go ahead and finish this

 5   property, that property alone would then generate over

 6   100,000 plus thousand dollars into the estate.            And then I

 7   could fire sale the other properties without excess fees and

 8   stuff like that.     And at that point, it would still net the

 9   creditors probably around 40 to 45 cents right there.              If we

10   continue, it's exactly what the plan was drawn up and meant

11   to be, to pay people a maximum of 50 cents on the dollar of

12   their allowed claims.

13        Q.    Fair enough.     I think you answered any follow-up

14   that I would have.

15                    MR. MITCHELL:      I'll pass the witness.

16                    THE COURT:     All right.     Does anyone wish to

17   examine this witness?

18                    MR. NICOUD:     This is Robert Nicoud.

19                    THE COURT:     Okay.   You may proceed.

20                      CROSS-EXAMINATION

21   BY MR. NICOUD:

22        Q.    Turn, please, to Debtor's Exhibit Number 5.

23         Tell me when you're ready.

24        A.    I see it.

25        Q.    Okay.     And I want to understand, these are all




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             73
                          Document     Page 73 of 105


 1   issues that were raised by the purchasers, proposed

 2   purchasers after the house was complete and offered for sale?

 3        A.    Correct.

 4        Q.    Now I don't see that -- there were no issues with

 5   the air-conditioning unit; am I correct?

 6        A.    Correct.

 7        Q.    Okay.     It had a brand new air-conditioning unit in

 8   it, didn't it?

 9        A.    Correct.

10        Q.    And do you know when that was installed?

11        A.    I don't recall.

12        Q.    Okay.     Was it installed after October 18th of 2019?

13        A.    After -- when?      October?

14        Q.    October 18th, 2019.

15        A.    Honestly, I don't recall.        I've been working on

16   that house for years.

17        Q.    Okay.     Do you recall that it needed a new

18   air-conditioning unit in October of 2019?

19        A.    I don't recall the month that it needed a new

20   air-conditioner unit.      But I do remember it needing a new

21   air-conditioner unit.

22        Q.    Okay.     Did you, on behalf of GRC, ever reach an

23   agreement with John Caldwell regarding the amounts of funds

24   to be spent for a new air-conditioning until on the

25   Chatsworth property?




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              74
                           Document     Page 74 of 105


 1        A.     I don't -- I don't really recall, but, perhaps.

 2        Q.     Okay.     Are you familiar with the pending lawsuits

 3   in state court that GRC is pursuing?

 4        A.     Yes.

 5        Q.     Okay.     There's a suit against Julie Turner.          What

 6   was that -- what is that one about?

 7        A.     This suit against Julie Turner, I believe it's a

 8   breach of contract suit (indecipherable word) from other

 9   causes of action.       But I have -- I had the house under

10   contract.   The people didn't perform and didn't want to sell

11   it for the price after it went under contract.             So we're

12   suing for specific performance.

13        Q.     Okay.     So it's to compel her to sell the property

14   to GRC?

15        A.     Correct.

16        Q.     And how much would GRC have to pay, if it won the

17   lawsuit?

18        A.     That's a number that's undetermined.           I don't know

19   what the Court would make us pay.          Would it make us pay the

20   purchase price less the attorney's fees?           Would it make us

21   pay the purchase price less damages and attorney's fees?

22   Would it make us pay over the purchase price?            I'm not sure.

23        Q.     Okay.     Next item.   There's a lawsuit pending

24   against Pamela Freeman.       What's that one about?

25        A.     Exact same reason.       House was under contract.




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              75
                           Document     Page 75 of 105


 1   People decided they didn't want to sell it.            Breach of

 2   contract, amongst other things.

 3        Q.     Did you consult with Mr. Moser before these

 4   lawsuits were filed?

 5        A.     Yes.    Chris knew about the lawsuits from -- to be

 6   honest with you, you actually brought up the lawsuits during

 7   pre-confirmation.      Joyce had not included the causes of

 8   action.    And then you made a big deal about it so Joyce was

 9   like, okay, we'll include the causes of action.             And she went

10   through and listed the causes of action for you.

11        Q.     You don't even know when these lawsuits were filed.

12        A.     I don't have the dates in front of them.             But

13   they've been filed.       I've consulted with Joyce.        I've

14   consulted with Chris on them.         Chris has consulted with the

15   attorneys on them.      So it's been in the process.

16        Q.     Do you recall GRC entering into a lease for the

17   property on Mays?

18        A.     Yes.

19        Q.     And that lease was entered into after the plan was

20   confirmed, correct?

21        A.     Yes.

22        Q.     And payments were $2,500 a month?

23        A.     Correct.

24        Q.     And were those monies turned over to Mr. Moser?

25        A.     No.    They weren't supposed to be.        Per my plan,




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              76
                           Document     Page 76 of 105


 1   sales proceeds were supposed to be turned over to Chris

 2   Moser.

 3        Q.     Okay.     Does GRC have any other income, other than

 4   from sales proceeds, since the confirmation of this plan?

 5        A.     No.

 6        Q.     Okay.     No other leases?

 7        A.     No.

 8        Q.     Does GRC keep records of the payments that it makes

 9   to its subcontractors?

10        A.     It depends on the subcontractors and the work being

11   done.    So not always.

12        Q.    So some yes, some no?

13        A.     If it calls for it then, yes.         If it doesn't call

14   for it, there's no need.

15        Q.     So it depends on whether it's called for or not?

16        A.     Let's just say I go pick up four subs at $250 a day

17   and say, hey, do they know how to do roofing?            Yes.    Okay.

18   Come on out, let's knock out this roofing.            I work.    I could

19   pay them in cash and there's no receipts or records.

20        Q.     Your mother has a real estate company similar to

21   GRC; is that correct?

22        A.     I wouldn't say similar to GRC.         I would just say

23   she has a real estate company.

24        Q.     Okay.     Generally, what kind of business does it do?

25        A.     Real estate.




                       CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              77
                           Document     Page 77 of 105


 1                      MR. MITCHELL:     Your Honor, I'm going to object

 2   generally to the relevance of this line of questioning as to

 3   what it has to do with what's before the Court today.

 4                      THE COURT:    All right.     What's it's relevance?

 5                      MR. NICOUD:    I want to -- the testimony given

 6   was that he does 110 percent of his effort toward GRC.               And I

 7   want to find out, does he do any work for his mother's

 8   company.

 9                      THE COURT:    All right.     You may proceed on

10   that question.

11        Q.     Do you do any work for your mother's company?

12        A.     I help my mom out.

13        Q.     Okay.     How many properties does it own?

14        A.     I don't know.

15        Q.     More than ten?

16        A.     No.

17        Q.     Okay.     Does she have any other employees or

18   helpers?

19        A.     Yes.    I wouldn't say employees.       She has

20   subcontractors, as well.

21        Q.     Okay.     Do you help her coordinate with the subs and

22   so forth?

23        A.     I help my mom out whenever she needs anything in

24   life.

25        Q.     Okay.     Do you charge her anything for that?




                        CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             78
                          Document     Page 78 of 105


 1         A.   I don't charge her anything to do it.

 2         Q.   Okay.

 3         A.   I don't get paid.      I've never gotten paid.

 4         Q.   Okay.

 5         A.   I'm just being a son.

 6         Q.   Okay.     Now, what is the current status of the

 7   property at 1005 Shady Lane?

 8         A.   The current status is the foundation was fixed.

 9   The roof has been done.      The concrete holes have been filled

10   in.   I haven't been there really recent.         Coming up I have to

11   do the concrete work.      I have to put the rebar in.

12   Effectively right now, the problem is you guys have stopped

13   me from working on the house.        But my goal was after the roof

14   was to go on --

15         Q.   I just want to know what the status of it is.

16         A.   Okay.     The status is in construction.

17         Q.   Okay.     If you'll look at GRC Exhibit 9.

18         A.   I see it.

19         Q.   And the -- there's an entry for Shady Lane.             And

20   that $25,000 was actually paid to Construction Consultants?

21         A.   There's -- yeah, $50,000 got billed.

22         Q.   But only 25 is allocated to Shady Lane; is that

23   correct?

24         A.   That's what it appears.        But, again --

25         Q.   Do you know that to be a fact?




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              79
                           Document     Page 79 of 105


 1        A.     Well, there's a lot of properties on there.             And

 2   there was agreed upon work to be done.           Checks got cancelled.

 3   You guys had objected to them getting paid and the amounts.

 4   So it was a cluster situation of all of these houses and

 5   checks getting cancelled.        What work's getting done here.

 6   What work's been finished.        Who's been paid.       There's no

 7   money in the account.       Paying cash.     All of this kind of

 8   stuff is going on at this time.         So I can't honestly sit here

 9   and look at this bill and take it piece by piece.

10        Q.     Okay.     So when it says $25,000 per task here,

11   that's not necessarily, if I'm understanding it correct, a

12   correct allocation?       Some are different, some are in

13   progress?

14        A.     I don't know, because I didn't prepare that.

15        Q.     Well, did you request that it be paid?

16        A.     Yes, I did.     I requested through the Plan Agent to

17   get paid.   And Chris -- Chris actually came to those

18   properties.    Chris --

19        Q.     Did you -- did you make sure that the work was

20   done?

21        A.     Yes, for the work completed.         Sure.

22        Q.     Okay.     Can you turn to Caldwell Exhibit J?

23        A.     Yes, I see it.

24        Q.     Okay.     And that includes some work done on Shady

25   Lane, correct?




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               80
                            Document     Page 80 of 105


 1        A.      Correct.

 2        Q.      And do you know how much of that $24,000 is

 3   allocated to Shady Lane?

 4        A.      Of that 24,000, I mean, I would have to break them

 5   up per property.       But it looks like if I -- we listed 25

 6   piers installed, the bulk of it is going to be towards Shady

 7   Lane because that's heavy work.          Re-lifting the whole house,

 8   25 piers installed, which mean jackhammer, 30 feet of under

 9   concrete -- yeah, this is actually when Chris came to the

10   property and he reviewed it.          He saw that there were workers

11   there.     That there was dirt all in the house.          And that we

12   were actively working on it.

13            He first went to --

14        Q.      Was this work that was done in excess of what was

15   the $25,000 allocated to Construction Consultants in the

16   prior exhibit?

17        A.      I don't know how to -- I don't know to say yes or

18   no, because I'm not sure exactly what was allocated from

19   each.    And I noted five properties right there.            So I'd have

20   to literally see the property and go through it to know what

21   I allocated for each property.

22        Q.      Okay.     Now, for a period of time you had an

23   assistant and requested payment for her, correct?

24        A.      Correct.

25        Q.      And what was your assistant's name?




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              81
                           Document     Page 81 of 105


 1        A.     Christina Akerman.

 2        Q.     Okay.     Did you also have a personal relationship

 3   with her?

 4        A.     No.

 5        Q.     None at all?

 6        A.     No.

 7        Q.     Okay.

 8                     MR. NICOUD:     I'll pass the witness.

 9                     THE COURT:     All right.     Does anyone else wish

10   to examine this witness?

11           Any redirect?

12                     MR. MITCHELL:      No, Your Honor.

13                     THE COURT:     Thank you.

14           The witness is excused.

15           Any other evidence you wish to present?

16                     MR. MITCHELL:      No, Your Honor.

17                     THE COURT:     Any other evidence any other party

18   wishes to present?

19                     MR. NICOUD: Yes, Your Honor.         This is John

20   Caldwell.

21                     THE COURT:     Don't you have your own lawyer?

22                     MR. NICOUD:     No.   This is Robert Nicoud

23   speaking on behalf of John Caldwell.          Sorry.

24                     THE COURT:     I was a little confused.        But,

25   okay.   Yes, Mr. Nicoud.




                       CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              82
                           Document     Page 82 of 105


 1                    MR. NICOUD:      Yes.   We have evidence that we

 2   wish to present.      Myself as a witness and Mr. Caldwell.

 3                    THE COURT:      All right.     You may proceed.

 4         Who are you going to call first?

 5                    MR. NICOUD:      First I'm going to call myself.

 6                    THE COURT:      Okay.   Let's swear the witness in.

 7                  (The witness was sworn by the courtroom deputy.)

 8                    THE COURT:      You may proceed.

 9                         ROBERT NICOUD

10    The witness, having been duly sworn to tell the truth,

11   testified on his oath as follows:

12                    DIRECT EXAMINATION

13   BY MR. NICOUD (in narrative)

14                    THE WITNESS:      My first testimony relates to

15   Exhibits A, D -- Caldwell Exhibits A, D, and C.

16         Exhibit A was prepared by me and it is a spreadsheet

17   that is derived from Plan Agent Exhibit 4.            The Plan Agent's

18   ledger.    The figures are all the same as what is in the

19   original report, except for the following.            I have added a

20   column called category where you can see I've put in an

21   allocation of how that particular transaction would be

22   applied.    I removed the running balance column.           And on a few

23   instances, for example, on August 4 of 2020, we've gone over

24   this in some prior exhibits, we had a single check that was

25   allocated to four or five properties.           And in that instance,




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              83
                           Document     Page 83 of 105


 1   what I did is just allocated that payment equally to each of

 2   the properties, since there was no other breakdown.

 3         And the Court can see on page 9 of 9 the deposit and

 4   disbursement columns both reconcile to the Trustee's original

 5   report.    And so I would ask that Exhibit A be admitted.

 6                    THE COURT:      Any objection?

 7                    MR. MITCHELL:       No objection.     I think it

 8   already was admitted.       But no objection.

 9                    MR. NICOUD:      I think you're correct, it was.

10                    THE COURT:      Okay.   All right.     Hold on.     Let's

11   do this.    You all are taking up a lot more time than you

12   originally said you were going to and I have counsel on the

13   phone in a hearing who needs to go to another hearing.               So

14   I'm concerned about that.

15         But which exhibits does any -- that has not yet been

16   admitted does anyone wish to offer?

17                    MR. NICOUD:      I wish to offer, then, Exhibits

18   D, B -- Caldwell Exhibits B, C, D, E, F, and G.

19                    THE COURT:      Okay.   And for the record, that is

20   filed as docket number what?

21                    MR. NICOUD:      That is docket number 291-1 --

22                    THE COURT:      That's fine.     I've got it.      Okay.

23   These are documents attached to the witness and exhibit list

24   that's been filed as docket number 291.

25         Does anybody object to any of those exhibits?




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                                84
                            Document     Page 84 of 105


 1                     MR. MITCHELL:       No objection.

 2                     THE COURT:      All right.     So Exhibits B, C, D,

 3   E, F, and G filed as attachments to docket number 291 will be

 4   admitted.

 5            Is there any other evidence any other party wishes to

 6   offer that had not already been admitted?

 7                     MR. MITCHELL:       Your Honor, the debtor would

 8   like to admit -- we didn't file until today, admittedly, but

 9   it's -- it's other versions of the Plan Agent's report.                 We

10   filed it as an additional witness and exhibit list that's

11   found at docket number 299.         And we included Exhibits 12 and

12   13.   Those are versions of the Plan Agent report.                Mr. Nicoud

13   alluded to the fact that he removed the column and re-ordered

14   them.    To the extent that it mattered, we just wanted to have

15   in the record a full Plan Agent report.            Exhibit 12 is as of

16   May the 2nd, I believe, beginning of May.             And Exhibit 13 is

17   the same report as of, I believe it was yesterday.                So we

18   would ask that Exhibits 12 and 13 be admitted.

19                     THE COURT:      Any objection?

20                     MR. NICOUD:      No objection.

21                     THE COURT:      All right.     So Exhibits 12 an 13

22   attached as exhibits to docket number 299 are admitted.

23            Okay.

24                     MR. MITCHELL:       And that's all I have, Your

25   Honor.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               85
                            Document     Page 85 of 105


 1                     THE COURT:      Thank you.

 2            Mr. Nicoud, you may continue with your testimony.

 3                     THE WITNESS:      In particular, on Exhibit B --

 4                     THE COURT:      B like boy, Mr. Nicoud?

 5                     THE WITNESS:      B like boy.     B like boy.

 6                     THE COURT:      Okay.

 7                     THE WITNESS:      On the last page, page 8 of 8,

 8   you can see there is a summary that I have prepared that

 9   totals out the various categories that I had put in the Plan

10   Agent's report.        And, again, the total reconciles back to the

11   disbursements.     So from this, you can see how I have

12   allocated payments toward particular properties or if they

13   weren't for particular properties, toward the general areas.

14   And that is derived from the spreadsheet.

15            And for Exhibits D, E, F, and G, those communications

16   accurately represent the communications that I had with

17   Ms. Lindauer.     And that would conclude my testimony.

18                     THE COURT:      All right.     Does anyone wish to

19   cross?

20                     MR. MITCHELL:       I do not, Your Honor.

21                     THE COURT:      All right.     Mr. Nicoud, then, you

22   are excused as a witness.

23            Now, did you wish to call any other witnesses,

24   Mr. Nicoud?

25                     MR. NICOUD:      Yes.   We'd call John Caldwell.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              86
                           Document     Page 86 of 105


 1                    THE COURT:      Mr. Caldwell --

 2                    MR. CALDWELL:        I'm here.

 3                    THE COURT:      Thank you.     Let's swear you in.

 4                 (The witness was sworn by the courtroom deputy.)

 5                         JOHN CALDWELL

 6    The witness, having been duly sworn to tell the truth,

 7   testified on his oath as follows:

 8                    DIRECT EXAMINATION

 9   BY MR. NICOUD:

10        Q.     Mr. Caldwell, have you ever met Christine Ackerman?

11        A.     I cannot recall if I've ever met her.

12        Q.     Okay.     Have -- has Mr. Daneshmandi ever told you

13   anything about her?

14        A.     It was his girlfriend at the time.

15                    MR. MITCHELL:        Objection, Your Honor.

16   Objection, Your Honor.       That calls for hearsay testimony.

17                    THE COURT:      Objection's overruled.

18        Q.     Next, did you ever reach an agreement with

19   Mr. Daneshmandi regarding any expenses to be incurred in

20   installing a new air-conditioning unit on the Chatsworth

21   property?

22        A.     There was never an agreement.         Never even a chance

23   to make an agreement.       I went and looked at it twice.          And

24   once there was the older version and when I went back there

25   was a new version.      And that's all I could tell you.




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               87
                            Document     Page 87 of 105


 1        Q.      Okay.     Was the -- when you say, new version, what

 2   does that mean?

 3        A.      A new outside unit that I could see.

 4        Q.      Okay.     Was that new unit installed after October of

 5   2019?

 6        A.      Yes.

 7        Q.      Okay.

 8                       MR. NICOUD:    I'll pass the witness.

 9                       THE COURT:    Okay.   Any cross of this witness?

10                       MR. MITCHELL:     Just briefly, if I could, Your

11   Honor.

12                       THE COURT:    You may.

13                        CROSS-EXAMINATION

14   BY MR. MITCHELL:

15        Q.      Mr. Caldwell, what is your -- what is your position

16   regarding what is in the best interest of the debtor and all

17   of the creditors in this case?

18        A.      What is my position?       Let me think about that.

19        Q.      Let me be more specific.        Let me be more specific.

20            Is it your position that conversion of this case to

21   Chapter 7 is in the best interest of all the creditors and

22   the debtor?

23        A.      I feel with how the money was spent before, that

24   how it is now (indecipherable word) involved, at least with

25   no oversight, is in now way in the best interest of the




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               88
                            Document     Page 88 of 105


 1   creditors.

 2                       MR. MITCHELL:     Objection; non-responsive.

 3                       THE COURT:    Objection sustained.

 4           You need to answer the question posed.

 5        A.      Can you repeat the question for me, please?

 6        Q.      Do you -- sure.      Do you believe that Chapter 7 is

 7   in the best interest of the creditors and the debtor in this

 8   case?

 9        A.      Yes.    I believe that is the best solution.

10        Q.      Have you reviewed other options?

11        A.      As in -- be more specific, please.

12        Q.      As in anything other than Chapter 7.

13        A.      I'd have to say not really reviewed.           I have

14   nothing to go on to review.

15        Q.      Do you recall -- without getting into specific

16   settlement discussions, do you recall receiving proposals

17   from the debtor that were alternatives to Chapter 7?

18        A.      Yes.

19                       MR. MITCHELL:     I have no further questions.

20                       THE COURT:    All right.     Thank you.

21           No further questions for this witness.           Does anyone

22   else have any further questions?

23                       MR. NICOUD:    Nothing further from

24   Mr. Caldwell.

25                       THE COURT:    Thank you.     The witness is




                         CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              89
                           Document     Page 89 of 105


 1   excused.

 2           Does anybody have any further arguments -- I mean any

 3   further evidence they wish to present?

 4           I'll take that as a no.

 5           Are you all going to be able to wrap up your final

 6   closing arguments by 1:00?

 7                    MR. MITCHELL:       Your Honor, this is Greg

 8   Mitchell.

 9           To the extent that it makes a difference, at the risk

10   of violating the Court's (inaudible word due to audio cutting

11   out), I am almost to my destination.

12                    THE COURT:      Oh, I can tell.

13                    MR. MITCHELL:       If you will give me -- I

14   believe if you will give me 5 minutes, I'll actually be at my

15   destination.    If you will let somebody else go first, I'm

16   prepared to make closing arguments so that we can get this

17   wrapped up.    And I think I can do it before 1.           And since I

18   will be at my destination, I think we've got until maybe

19   1:15.

20                    THE COURT:      Okay.   All right.     It's

21    Mr. Moser's motion, so I'm going to let him go first.

22                    MR. MOSER:      Yes, Your Honor.

23           Very briefly.     Just to summarize everything.          I have

24   $357,000 in the account.        And depending on what this Court

25   wants to do, it seems to me to make a distribution, a




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             90
                          Document     Page 90 of 105


 1   sizeable distribution to unsecured creditors who have been

 2   waiting quite a while is in the best interest of the estate.

 3   Having said that, if the thought is that there's going to be

 4   further construction, remodeling, et cetera, how much of a

 5   distribution we can make is going to be the question.              The

 6   proposal I have right now basically would have left me with

 7   about 20 grand in the bank, which isn't a whole lot to do

 8   further rehab, et cetera.       Which would mean that we'd

 9   basically have to sell the houses as-is would be the thought.

10         If everybody were on page -- on the same page to do

11   that, I'd propose to basically distribute, you know,

12   everything except for 25, 20, $25,000 right now.            In addition

13   to unsecured creditors, there are attorneys who I have been

14   authorized to pay.     And they are for the services that you've

15   heard about about the specific performance case, et cetera,

16   Mr. Mitchell, Plan Agent fees, et cetera.          Those probably

17   come to roughly 40 grand.       I'd have to get the exact number.

18   But I'd like to pay those also.

19         My request also requested to pay Mr. Daneshmandi three

20   months of $7,500, which is January, February, and March.              I'd

21   need to verify that he's done some work in those months,

22   which I believe he has.      But my request would also include

23   paying him.

24         So long story short, if we're going to just liquidate

25   the houses without fixing them up, I'd say let's pay as much




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              91
                           Document     Page 91 of 105


 1   money out as possible right now as an interim distribution.

 2   And then if the monies come in just distribute on a

 3   going-forward basis.       The only monies I really need is

 4   Statebridge has a mortgage payment that I need to pay and

 5   insurance on that.      So it's not -- the carry costs aren't

 6   going to be that expensive, if we're not remodeling the

 7   houses.    But if we're remodeling the houses, I'm going to

 8   need some input from people who know a lot more than me about

 9   what the projected costs of construction are going to be.

10           With that, I conclude.

11                    THE COURT:      Thank you.

12           All right.    Does anyone else wish to be heard in

13   closing?

14                    MR. NICOUD:      This is Robert Nicoud.

15           Your Honor, we're on a somewhat unusual procedural

16   path.   We came before the Court back in March on Caldwell's

17   motion to modify the plan to deal with what had previously

18   been an undisclosed lease of property income to the estate

19   that was not explicitly dealt with in the plan because,

20   frankly, nobody envisioned it.         The Court didn't rule

21   specifically on that.       But the Court did enter an order that

22   found that the debtor was in default under the plan and gave

23   the debtor 14 days to either file to modify the plan or to

24   come into compliance with the plan.

25           They clearly did not file anything.         And so their




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               92
                            Document     Page 92 of 105


 1   effort was to propose to the Plan Agent to make this interim

 2   distribution.     And that would then bring them into

 3   compliance.     And if they failed on either of those tasks,

 4   then the order provides that the case would be converted to

 5   Chapter 7.     So the Trustee submitted his motion for interim

 6   distribution and, therefore, carries with it the issue of did

 7   the debtor meet its obligations under this Court's order of

 8   March 12, 2021.

 9         We contend that the debtor has not cured its default.

10   That making an interim distribution doesn't cure it in this

11   amount.    And based on the testimony, or lack thereof from

12   Mr. Daneshmandi, I don't know how we can ever really

13   determine what would be necessary to bring the debtor into

14   compliance since his testimony was, he doesn't keep records.

15   So we don't know what has really been spent on these

16   properties.     All we know is that there's been a lot of money

17   requested and paid by the Plan Agent.

18         I think there's ample evidence that this case should be

19   converted to Chapter 7.        We have a history of non-compliance,

20   that being payment requests on barely enough information.                As

21   I'll get into later, there's been active misrepresentation

22   concerning the status of properties and their conditions.

23   The debtor entered into an undisclosed lease of property,

24   which from Mr. Daneshmandi's own testimony, well, since it's

25   not part of the plan, we don't have to report about it.                They




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                              93
                          Document     Page 93 of 105


 1   have -- the debtor has pursued lawsuits without adequate

 2   consultation with the Plan Agent as required by Section

 3   4.04.4 of the plan.      And the debtor has increased his salary

 4   from $4,000, which is what it was during the case per Court

 5   order to $7,500.     And has employed his girlfriend.           So we've

 6   had thousands of dollars spent with no distribution to

 7   unsecured creditors.

 8         Now, I want to run down one particular property.               That

 9   being the property on Mays to just show how the size of the

10   problem we got here.      If the Court looks at Caldwell's

11   Exhibit E, that being a letter from Joyce Lindauer in

12   response to a letter from me.        And she's representing that

13   several properties are going to be sold.          That -- in

14   paragraph 4 on page 2, 6012 Mays, the debtor has about a week

15   left on this property, one week, seven days.           This is in

16   February of 2020.     Next go to Caldwell Exhibit G.            Again, a

17   message from Ms. Lindauer also addressing Mays.            And in March

18   of 2020, Mays just needs a custom window and minor touch-up

19   and it's ready to go.      Next go to Exhibit H.       We have an

20   invoice submitted by Mr. Daneshmandi which says that I want

21   $50,000 more in June of 2020 to work on Mays, which in March

22   of 2020 was one week away from being ready for sale.

23         Now, fortunately, that money was not paid out.               Then we

24   move to Exhibit J, an invoice from Mr. Daneshmandi for

25   $24,000 which, again, includes substantial work on the Mays




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                               94
                           Document     Page 94 of 105


 1   property.   Then Exhibit K.       Mr. Daneshmandi wants another

 2   $50,000 for work on the Mays' property, when it had been

 3   represented in February of 2020 that it is one week away from

 4   sale.   We, of course, have absolutely no backup for any of

 5   the amounts that were actually spent by GRC on these

 6   properties, because he doesn't keep records.            But you can see

 7   from Exhibit B that we spent -- and I'll say, we.                Creditors

 8   spent on the Mays' property $114,750 after it was represented

 9   it was one week away from selling.          That's who we're dealing

10   with.

11           We have got unaccounted for thousands of dollars.              And,

12   frankly, unknown how we're ever going to account for it.                The

13   proposal to simply say, okay, yeah, you got us, here's a few

14   hundred thousand dollars, that doesn't fix the problem.                It's

15   certainly not a plan modification.          And it doesn't bring this

16   debtor into compliance with what the Court determined the

17   debtor was supposed to be doing.         But it improperly spent

18   money from the unsecured creditors' pool.           There's been no

19   distributions.    Given the evidence that's before the Court

20   today, we think the only solution is the appointment of a

21   Trustee or conversion to Chapter 7.

22           That concludes my argument.

23                    THE COURT:      Okay.   Are you suggesting that

24   Mr. Moser paid -- that were improper, or made distributions

25   that were somehow improper, Mr. Nicoud?




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              95
                           Document     Page 95 of 105


 1                    MR. NICOUD:      Well, that it was certainly

 2   requested of him.      Not in compliance with the -- with

 3   insufficient justification.        Just to say, oh, I want $50,000

 4   for this general work on Mays.

 5                    THE COURT:      Okay.   But, again, I'm not

 6   understanding your argument.

 7         Are you suggesting that Mr. Moser somehow made

 8   distributions under the plan that were improper?             Or are you

 9   simply saying some of the requests that the debtor made, or

10   the debtor's principal made were somehow improper?               But I

11   don't see where Mr. Moser actually paid out on these that was

12   improper.   That's what I'm trying to understand.

13                    MR. NICOUD:      It was improper for

14   Mr. Daneshmandi to make requests and get paid on the invoices

15   that were not in compliance with the plan.            So that is the

16   improper act.    Further is improper for him to,

17    Mr. Daneshmandi, not to maintain records of what the debtor

18   then spends on its subcontractors and what other expenses it

19   may have.

20                    THE COURT:      Okay.   But, again, I'm still not

21   understanding.    Explain this to me.        Okay?

22         You're asking for a Trustee to be appointed, or the

23   case to be converted.       I understand that that's what you're

24   asking for.    But we already have a Plan Trustee who makes

25   determinations about what gets paid and what doesn't get




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                             96
                          Document     Page 96 of 105


 1   paid.   So unless he's doing something wrong, I don't really

 2   understand what the purpose would be of appointing a Chapter

 3   11 Trustee, or converting the case, at this juncture.              So can

 4   you explain that to me?

 5                    MR. NICOUD:     Okay.    The Plan Agent's role was

 6   defined by the plan, which is to take the money in and pay

 7   the money out.    The Plan Agent was not responsible for

 8   getting -- for working with subcontractors.           Not responsible

 9   for supervising the work being done.         His role is limited.       A

10   Trustee would take complete control of everything from

11   beginning to end.

12                    THE COURT:     Again, here's my question, though.

13   The Plan Trustee was put in place to make plan distributions

14   and make payments on any invoices and make plan

15   distributions.    Is that not correct?

16                    MR. NICOUD:     Yes, that's correct.

17                    THE COURT:     Okay.    So the thing that you're

18   complaining about is that there were somehow distributions

19   made, payments made to the debtor's principal that were

20   somehow improper, right?       But that also goes to -- so what

21   you're saying is, in effect, that Mr. Moser made plan

22   distributions that were improper and so now we need a full-on

23   Trustee.   I guess what I'm trying to understand, again,

24   Mr. Nicoud, is the issue that you're complaining about has to

25   do with, you know, the disbursements.          That funds were paid




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              97
                           Document     Page 97 of 105


 1   out that should have been paid out to unsecured creditors

 2   rather than to the various contractors and/or the debtor's

 3   principal, and they should not have been paid out.               So you

 4   are, in fact, saying that Mr. Moser did something improper

 5   and we need a different Trustee who has more -- broader

 6   rights.    Except the issue still relates to the disbursements,

 7   which he does have a role in.

 8                    MR. NICOUD:      Well, what you said is correct.

 9   The Court previously found that the debtor was in default

10   under the plan.       How that default came about would be a

11   combination.    It's improper request/improper payment.             And

12   that the only way around that I see -- and I think the flaw

13   is that the Plan Agent is not a Trustee.           And that we need a

14   Trustee, someone in here who can control this from beginning

15   to end.    Because we're going to end up somewhere down the

16   line where all of these assets are sold and we've got a

17   couple of thousand dollars in the account and that's it.

18                    THE COURT:      And somehow having a Chapter 11

19   Trustee in place is going to change that?

20                    MR. NICOUD:      Yes.

21                    THE COURT:      Okay.   Explain that to me.        I'm

22   trying to understand exactly what we're talking about, what

23   you are talking about.

24                    MR. NICOUD:      The Chapter 11 Trustee will have

25   the power to say, we're not doing any more work on this




                     CINDY SUMNER, CSR (214) 802-7196
Case 19-41186    Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              98
                           Document     Page 98 of 105


 1   house, or that house.       I'm listing it for sale.        Here's the

 2   price we're going to list it at.         Or, the Chapter 11 Trustee

 3   can say, okay.    I've looked at this.        Here's what I think we

 4   should spend.    You file a proper motion with the Court.

 5   Whatever procedure has to be in place so we know down to the

 6   penny where the money is going, what it's supposed to be for.

 7   And if creditors disagree with how it's being spent, the

 8   Court can resolve that issue.

 9                    THE COURT:      Okay.   All right.

10         Let me hear from the other parties.

11                    MR. MITCHELL:       Your Honor, this is Greg

12   Mitchell for the debtor.

13         We obviously would request that the Court grant the

14   Plan Agent's motion.       Allow the distributions to be made.

15   Allow the debtor to continue to maximize the value of the

16   estate by repairing and remodeling the remaining properties

17   prior to their sale.

18         Mr. Caldwell has put on evidence here today that we

19   believe simply focuses on the existence of a default.               And to

20   some extent out of fear that the Court might focus on that

21   evidence, we've spent much of our time responding to that

22   evidence.   But we would submit that most of that evidence is

23   irrelevant to the issues before the Court today, which we

24   believe to be fairly narrow, including, number one, the

25   actions proposed in the Plan Agent's motion bring the debtor




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323   Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                               99
                            Document     Page 99 of 105


 1   into compliance with the plan as confirmed.             And, number two,

 2   if not, what result makes sense in terms of the best interest

 3   of all parties.        Does it make sense to push the parties

 4   either to continue as they're doing now to try to maximize,

 5   maybe mediate the issues, the differences in an attempt to

 6   maximize, or simply converting to Chapter 7?

 7            Mr. Nicoud has thrown around numbers that without any

 8   context don't really mean anything.           There was an $800,000

 9   number that was thrown out without really considering the

10   authorized expenses that GRC incurred every month; mortgage

11   payments, ad valorem taxes, attorney's fees, Trustee fees,

12   Plan Agent fees, administrative costs, payments to pay

13   utilities for each of the properties.            It's not as if the

14   debtor has been running around, you know, gambling with the

15   money.     The money was spent on expenses that needed to be

16   paid, which is entirely consistent with the confirmed plan.

17   I think the lack of context substantially decreases the

18   credibility of the complaint.

19            As to the first issue, as far as coming into

20   compliance.     Once again, we believe it does.          We believe that

21   the focus of the Court's finding regarding breach was the

22   failure    to provide distributions.         We do not believe that

23   the Court found nor do we believe that the confirmed plan

24   prohibits the debtor spending funds to maximize the value of

25   the properties, or the making of payments to the debtor's




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                               100
                            Document      Page 100 of 105


 1   principal.     We believe that the plan contemplates the type of

 2   conduct that the debtor engaged in in order to maximize the

 3   value of the property.         The notion of value maximization by

 4   development is not exactly a novel concept.              I mean, the

 5   whole reason that developers develop properties is their

 6   belief that by doing so, they will realize a greater return

 7   than they would by simply selling the property as is.

 8         I would also point out that the notion of developing

 9   the properties to maximize value is not inconsistent with a

10   liquidating plan.        Because, again, we believe that the plan

11   fully contemplated a liquidation plan that maximizes value by

12   fixing up the properties prior to sale.             And that that effort

13   would necessarily involve expenses.            And I think you don't

14   have to look any further than the budget that was attached to

15   the disclosure statement that was filed two years ago to see

16   that there was several hundred thousand dollars contemplated

17   as expenses that would need to be incurred, in order to bring

18   the properties up to sale and maximize the value to the

19   estate.

20         Mr. Caldwell argues that the efforts took longer than

21   expected.    And to that point, we do not disagree.                At the

22   risk of stating the obvious, we're just now starting to

23   emerge from the year long pandemic that did not by any means

24   spare the real estate industry.           Labor shortages existed,

25   supply chains were disrupted, and, you know, costs




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                             101
                          Document      Page 101 of 105


 1   mushroomed.   And despite all of the challenges, this debtor

 2   managed to fix up and sell some of its property.             Yes, it

 3   took a little longer than expected.          But we submit the result

 4   is consistent with the results contemplated by the plan.

 5   Much of that success we would submit comes as a result of the

 6   efforts of the debtor's principal, who did much of the work

 7   himself.   That effort led to a couple of the facts being

 8   argued here today.      Both that the effort took a little longer

 9   and that the debtor's principal was paid for his efforts.                 We

10   don't think that was inappropriate at all.            But it's not

11   necessary for the Court to make a determination as to the

12   efforts of the debtor's principal today.           It's only necessary

13   for the Court to determine that the proposed actions of the

14   Plan Agent bring the debtor into compliance with its

15   confirmed plan.      And we believe it does.

16         As a last point in the first issue, we would point out

17   that the Court's ruling in which it found a brief, which we

18   attached as Exhibit 7 to our witness and exhibit list,

19   contemplated an either or scenario.          Either come into

20   compliance what the plan confirmed, or that the debtor

21   properly modify the plan.        We believe that the Court's ruling

22   implies that coming into compliance is an option.                And we

23   believe that the Plan Agent's motion does just that.

24         Turning to the second issue.          If and only if the Court

25   were to find for some reason that the Plan Agent's motion




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                               102
                            Document      Page 102 of 105


 1   does not bring the debtor into compliance, what is in the

 2   best interest of the creditors and the estate?               As a

 3   technical matter, I'm not sure this issue is before the

 4   Court.     But if the Court goes this direction, we would

 5   certainly want the opportunity to weigh in.              And I don't want

 6   to ignore it, in case the Court is prepared to go that

 7   direction today.

 8            Mr. Caldwell argues that Chapter 7 is in the best

 9   interest.    We believe we have shown today that Mr. Caldwell's

10   position is driven by more emotional consideration based on

11   his clear lack of trust of the debtor's principal.                 Whether

12   or not that lack of trust is justified or not is not really

13   relevant.    He admitted that he didn't even consider other

14   alternatives to Chapter 7.          He admits that he received some

15   proposals, but he never read them.            We believe Mr. Caldwell's

16   position doesn't take into account the consideration of

17   anyone but Mr. Caldwell.         And, ultimately, we don't really

18   believe that Chapter 7 is even in Mr. Caldwell's best

19   interest.    We believe he probably realizes this.             It's just

20   that his mis-trust of the debtor's principal overrides any

21   attempt at a rational analysis.

22            As we noted in our reply to Mr. Caldwell's objection,

23   and I believe Mr. Daneshmandi referenced in his comments

24   today, the debtor has made a proposal that it believes will

25   return somewhere between 45 and 50 percent to Mr. Caldwell,




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186     Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                              103
                            Document      Page 103 of 105


 1   whereas we believe that a Chapter 7 would lead to somewhere

 2   closer to a 25 to 30 percent return.            That at least warrants

 3   further consideration, which we don't believe Mr. Caldwell

 4   has done.    And that is why we propose as an alternative to

 5   approving the Plan Agent's motion, to the extent the Court is

 6   not going to grant that, then he returns to mediation, prior

 7   to giving up on it and throwing in the towel.              The hope would

 8   be that a mediator could bring the parties together in a way

 9   that would allow for the maximization of value to occur in a

10   way that addresses both parties' concerns and which has

11   really just been the debtor's goal all along.

12         Finally, I would just kind of echo some of the comments

13   that the Court made by way of its questions to Mr. Nicoud.

14   And that is, despite whatever concern there was about

15   payments that were made to Mr. Daneshmandi or made on behalf

16   of the debtor, there was regular communication with

17   Mr. Moser.     And Mr. Moser, you know, testified today that he

18   didn't simply pay an invoice simply because it was presented

19   to him.    He would ask questions.         And we saw evidence today

20   that -- where he did ask questions.            And we saw where the

21   supporting documentation was provided.             And we saw -- we

22   heard Mr. Moser tell us that he actually went out to visit

23   some of the properties to make sure that the work that he was

24   paying for was being done.

25         We believe, you know, if you're going to listen to




                      CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39    Desc Main
                                                                             104
                          Document      Page 104 of 105


 1   anybody in terms of credibility, you know, you've got two

 2   parties here today that are clearly invested, Mr. Caldwell

 3   and Mr. Daneshmandi.      If you're having trouble weighing

 4   those, consider Mr. Moser's testimony.           Because he's a

 5   disinterested third party.        I don't think he cares one way or

 6   the other whether one party wins.         He testified credibly that

 7   he verified payments.       He made payments where he thought it

 8   was appropriate.     And we believe that's where we are.            And we

 9   believe that his motion does what the Court directed and it

10   brings into compliance the debtor.          And we would ask the

11   Court to approve the motion.

12                   THE COURT:       Thank you.

13         All right.     Having considered the evidence, having

14   heard arguments of counsel, and reviewed the pleadings filed

15   in this case, the Court finds that the motion to make a

16   distribution should be granted.

17         Mr. Moser, it's your motion, so I'm going to ask that

18   you submit an order consistent with the Court's ruling.

19                   MR. MOSER:       Yes, ma'am.

20                   THE COURT:       Thank you.    All right.        Parties

21   are excused and we're adjourned.

22                           (End of Proceedings.)

23

24

25                        C E R T I F I C A T E




                    CINDY SUMNER, CSR (214) 802-7196
Case 19-41186   Doc 323    Filed 09/29/21 Entered 09/29/21 08:36:39   Desc Main
                                                                            105
                          Document      Page 105 of 105


 1              I, CINDY SUMNER, do hereby certify that the

 2   foregoing constitutes a full, true, and complete

 3   transcription of the proceedings as heretofore set forth in

 4   the above-captioned and numbered cause in typewriting before

 5   me.

 6

 7

 8

 9

10

11

12

13                                       /s/Cindy Sumner

14                                         ______________________________

15                                          CINDY SUMNER, CSR #5832
                                            Expires 10-31-2022
16                                          Cindy Sumner, CSR
                                            5001 Vineyard Lane
17                                          McKinney, Texas 75070
                                            214 802-7196
18

19

20

21

22

23

24

25




                    CINDY SUMNER, CSR (214) 802-7196
                                      NO. ____________

GRCDALLASHOMES, LLC                             §   IN THE DISTRICT COURT
Plaintiff,                                      §
                                                §
V.                                              §   ________ JUDICIAL DISTRICT
                                                §
STATEBRIDGE COMPANY, LLC AND                    §
DB RR, LLC                                      §
Defendants.                                     §   OF DENTON COUNTY, TEXAS

                           PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES GRCDallasHomes, LLC, hereinafter called Plaintiff, complaining of and

about Statebridge Company, LLC and DB RR, LLC, hereinafter called Defendants, and for cause

of action shows unto the Court the following:

                          DISCOVERY CONTROL PLAN LEVEL

       1.     Plaintiff intends that discovery be conducted under Discovery Level 2.

                                  PARTIES AND SERVICE

       2.     Plaintiff, GRCDallasHomes, LLC, is a Limited Liability Company whose address

is 13220 Beach Club Road, The Colony, Texas 75056.

       3.     Defendant Statebridge Company, LLC, a Nonresident Limited Liability

Company, may be served with process by serving the registered agent of said company, InCorp

Services, Inc., at 36 South 18th Avenure, Suite D, Brighton, CO, 80601, its registered office.

Service of said Defendant as described above can be effected by certified mail, return receipt

requested.

       4.     Defendant DB RR, LLC, a Nonresident Limited Liability Company, may be

served with process by serving the registered agent of said company, THE CORPORATION

TRUST COMPANY, at 1209 ORANGE ST, WILMINGTON, New Castle, DE, 19801, its

                                                1
registered office. Service of said Defendant as described above can be effected by certified mail,

return receipt requested.

                                  JURISDICTION AND VENUE

       5.      The subject matter in controversy is within the jurisdictional limits of this court.

       6.      Plaintiff seeks:

               a.      only monetary relief of $250,000 or less, excluding interest, statutory or

punitive damages and penalties, and attorney fees and costs.

       7.      This court has jurisdiction over Defendant Statebridge Company, LLC, because

said Defendant purposefully availed itself of the privilege of conducting activities in the state of

Texas and established minimum contacts sufficient to confer jurisdiction over said Defendant,

and the assumption of jurisdiction over Statebridge Company, LLC will not offend traditional

notions of fair play and substantial justice and is consistent with the constitutional requirements

of due process.

       8.      Furthermore, Plaintiff would show that Defendant Statebridge Company, LLC

engaged in activities constituting business in the state of Texas as provided by Section 17.042 of

the Texas Civil Practice and Remedies Code, in that said Defendant contracted with a Texas

resident and performance of the agreement in whole or in part thereof was to occur in Texas.

       9.      This court has jurisdiction over Defendant DB RR, LLC, because said Defendant

purposefully availed itself of the privilege of conducting activities in the state of Texas and

established minimum contacts sufficient to confer jurisdiction over said Defendant, and the

assumption of jurisdiction over DB RR, LLC will not offend traditional notions of fair play and

substantial justice and is consistent with the constitutional requirements of due process.

       10.     Venue in Denton County is proper in this cause under Section 15.011 of the Texas



                                                 2
Civil Practice and Remedies Code because this action involves real property as provided by said

Section, and this county is where all or part of the real property is located.

                                               FACTS

       11.     Statebridge issued loans to GRC for a property located at 6012 Mayes Place, The

Colony, Texas 75056. DB RR, LLC purchased the loans from Statebridge. Statebridge remained

the servicer of the loans. GRC filed for Bankruptcy on May 3, 2019.

       12.     On March 9, 2022 Statebridge sent GRC a Notice of Accelleration and Notice of

Trustee’s Sale. Shortly after receiving this notice, GRC requested a payoff statement from

Statebridge. GRC submitted the payoff request to Statebridge on March 22, 2022. Statebridge’s

counsel responded,

       “Hi Ryan, received. GRC has no ability or basis to convert to Chapter 7. Any
       attempt to do so is pretextual. Regardless, and with the facts before us, a
       conversion to Chapter 7 (even if allowed) would not reimpose the 362 stay. DB
       RR, LLC intends to proceed with foreclosure as scheduled. Since GRC has no
       good faith intent to pay off the lien (as is made apparent in this message) DB RR,
       LLC will not be providing payoff information. For conference purposes, DB RR,
       LLC opposes any motion to convert on the grounds that such action is dilatory
       and there is no fact or law to support it.”


       13.     On March 31, 2022 Statebridge sent Plaintiff a payoff statement. The amount of

the total payoff was $190,720.52. Plaintiff contends that the amount of the payoff is incorrect.

                                   BREACH OF CONTRACT

       14.     Plaintiff incorporates by reference paragraphs 11-14 herein,

       15.     A valid contract existed between the Parties.

       16.     Defendants had a duty to provide an accurate payoff statement by the eighth

business day after the date the request is received, pursuant to Title 7, Section 155.3 of the Texas

Administrative Code.

       17.     Plaintiff performed or tendered performance under the contract.

                                                  3
        18.      Defendant breached the contract.

        19.      Plaintiff was damaged because of the breach.

                                                 FRAUD

        20.      Plaintiff incorporates by reference paragraphs 11-14 herein,

        21.      Defendant made a representation to the Plaintiff.

        22.      The representation was material.

        23.      The representation was false.

        24.      Defendant made the representation knowingly or recklessly

        25.      Defendant made the representation with the intent that the Plaintiff act on it.

        26.      Plaintiff relied on the representation.

        27.      The representation caused the Plaintiff injury.

                  DAMAGES FOR PLAINTIFF, GRCDALLASHOMES, LLC

        28.      As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, GRCDallasHomes, LLC, was caused to suffer economic losses of $8,336.51 and

attorney fees.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, GRCDallasHomes, LLC,

respectfully prays that the Defendants be cited to appear and answer herein, and that upon a final

hearing of the cause, judgment be entered for the Plaintiff against Defendants, jointly and

severally, for damages in an amount within the jurisdictional limits of the Court; together with

pre-judgment interest at the maximum rate allowed by law; post-judgment interest at the legal

rate, costs of court; and such other and further relief to which the Plaintiff may be entitled at law

or in equity.



                                                    4
                Respectfully submitted,

                By: /s/ Ryan Rouz
                     Ryan Rouz
                     Texas Bar No. 24093079
                     Email: ryan@rouzlaw.com
                     1111 S. Akard St. #405
                     Dallas, TX 75215
                     Tel. (469) 777-1451
                     Fax. (469) 666-9291
                     Attorney for Plaintiff


PLAINTIFF HEREBY DEMANDS TRIAL BY JURY




                   5
01231445ÿ7890ÿ                                                                          ÿÿÿÿÿ
     ;<=<>?@ABC>ÿE=F>GÿH=IGJA<
     KLMNÿKPQRÿSKLMNTKPQRUMVWXPYZ
     [\Qÿ]^_^`a``ÿ_b̀`ÿcd
     [PbeMRÿfMNgh\ÿSXMNXQNeMRT\PiYMjUWXPYZ

     ÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                      lmnoÿpqrÿstut
                                   vwwmxyz{ÿl{qyÿlmnoÿ
                                ||||ÿ}tÿv~qxÿ}wtÿ}wztÿÿ
                                     qqÿÿ|
                                   smyzÿ||
                                    qÿ|
                                  rrrtqyzxxmnotm
                                                                                                                                          ÿ
     zÿmywzywÿmÿwÿz qzÿwmzwzxÿrwÿqy{ÿqwwqzywÿqxzÿywzyzÿmy{ÿmxÿwzÿn zÿmÿwzÿynqÿmxÿzyww{ÿwmÿrÿwz{ÿqxzÿqxz zÿqyÿq{
     mywqyÿymxqwmyÿwqwÿÿzq{ÿxzzÿmyzywqÿqyÿzzwÿxmÿm nxztÿÿ{mnÿqxzÿymwÿwzÿywzyzÿxzzywÿ{mnÿqxzÿzxz{ÿymwzÿwqwÿqy{
      zyqwmyÿwxnwmyÿmxÿm{yÿmÿwÿz qzÿmxÿqy{ÿqwwqzywÿÿwxw{ÿxmwztÿÿ{mnÿqzÿxzzzÿwÿz qzÿyÿzxxmxÿzq zÿymw{ÿwz
     mxyqÿzyzxÿzqwz{ÿ{ÿwzzmyzÿmxÿ{ÿxzwnxyÿqÿqyÿzzwzÿwÿz qzÿqmyÿrwÿqy{ÿqwwqzywÿxmÿ{mnxÿmnwzxtÿqy~ÿ{mnt




811 1 1!1""#"$ %&'()&*+2,*9 *-.$( /97&*02,* .'1&$23+*"0 0"#".4567 .428-793+:%$ 212
01231445ÿ7890ÿ                                                                          ÿÿÿÿÿ
     =>?@AÿC?DEÿFGF
     HIJKÿHMNOÿPHIJKQHMNORJSTUMVW
     XYNÿZ[\[]^]]ÿ_àZÿbc
     XM`dJOÿeJKfgYÿPUJKUNKdJOQYMhVJiRTUMVW

     ÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                      klmnÿopqÿrsts
                                   uvvlwxyzÿkzpxÿklmnÿ
                                {{{{ÿ|sÿu}pw~ÿ|vsÿ|vysÿÿ
                                     ppÿÿ{
                                   rlxyÿ{{
                                    pÿ{
                                  qqqspx~ywwlmnsl
                                                                                                                                          ÿ
     yÿlxvyxvÿlÿvÿypyÿvlyvywÿqvÿpxzÿpvvpyxvÿpwyÿxvyx~y~ÿlxzÿlwÿvyÿmyÿlÿvyÿx~~mpÿlwÿyxvvzÿvlÿqÿvyzÿpwyÿp~~wyy~ÿpx~ÿpz
     lxvpxÿxlwpvlxÿvpvÿÿypzÿwyy~ÿlx~yxvpÿpx~ÿyyvÿwlÿ~lmwysÿÿzlmÿpwyÿxlvÿvyÿxvyx~y~ÿwyyxvÿzlmÿpwyÿywyzÿxlvy~ÿvpvÿpxz
     ~yxpvlxÿ~vwmvlxÿlwÿlzxÿlÿvÿypyÿlwÿpxzÿpvvpyxvÿÿvwvzÿwlvy~sÿÿzlmÿpyÿwyyy~ÿvÿypyÿxÿywwlwÿypyÿxlvzÿvy
     lwxpÿyx~ywÿy~pvyzÿzÿvyylxyÿlwÿzÿwyvmwxÿpÿpx~ÿ~yyvyÿvÿypyÿplxÿqvÿpxzÿpvvpyxvÿwlÿzlmwÿlmvywsÿpx}ÿzlms




811 1 1!1""#"$ %&'()&*+2,*9 *-.$( /97&*02,* .'1&$23+*"0 0"#"4,5 3&367839:$3;< 212
         ef8ÿÆS;<RÿB?d:SRS==<ÿCcS;<REFRcIHSId;?Q@JD?EK
         LghiMfO8ÿ_j[ÿk?Slÿm\Xnopÿq_9ÿrSHHS=ÿs?EA=ÿkk9ÿtÿu>S>Av;<RdAwÿj=>S>AÿxSlbÿxSHSlDAÿyÿz{UX\nJpp
         ÿ
         *1
         ÿ
         23ÿ03ýý3ùúýÿûÿùýûÿ0ùúúûÿ.ûÿ 3ÿûÿ7ô86õõ|| }ÿ.ûÿ3ùúÿû
         ûùúúûý33 ÿù
         ÿ
         ùýûÿùûÿÿýú3ÿû3ûÿýÿ3ÿ 3ÿ3ý3ÿÿù 3ýÿýû33ÿùû3ÿÿ3ÿ.3ÿùû
         3ÿùú0ÿÿúû3
         ÿ
         óÑÔÕé
         ÿ
         ÿÿ ÿeOM5ÿÿ^5gOMMÿ65NM
         65ÿeM5MÿgNMÿN5gOfÿÿNÿe6Ng7M5ÿN5gOfÿ
7111 1 !1"1##$#% 8&'()&*+2,*- *./%( 0-1&*22,* /'3&%45+*#0 2#$#6711$  28509 210
01231445ÿ0780ÿ9                                                                                ÿÿÿÿÿ
            :;<=>ÿ@A=BCÿADÿE;F=GÿHI;JK=GKL=MAN
            OPKGGKNFQÿH;G=NC;BQÿEARNC>QÿSKN>G;TÿUÿVA>;BQÿWXYXÿZÿ[\\]ÿ@B^=NÿH_B;;_QÿHPK_;ÿ]`\\Qÿa=GG=>ÿ:bÿcd[\]
            aKB;J_eÿf[]ghÿ̀`\i]`\dÿZÿj=<eÿf[]ghÿ̀c]i[]]]ÿZÿlm=KGeÿJmA>;Bno>GRmXJAm
            ÿ
            ÿ
            ÿ
            jBAmeÿqrsÿtuvwvxyÿzxrs{|s}~v~xrr ÿ
            H;N_eÿuxsvÿÿÿÿÿ
            :Aeÿuxyruxÿrxÿz rx|~ r 
            YJeÿvxysÿruvsvyÿz}vxys |s}~v~xrr 
            HP;J_eÿqÿrvÿ¡ÿ¢qÿ£vvÿ¤r ÿÿ¥ÿ¦v§xysÿ̈vÿ©v{ÿ©vvÿªÿ«¬¡¡
            ­mIAB_=NJ;eÿ¤yu
            ÿ
            uxy
            ÿ
            ®ÿuvwÿxwy~sÿuÿrxxrsÿ§r~ÿvsÿ®ÿv ÿsyvrysÿrÿÿuvÿ¢q¯ÿr°s±vÿy}rx v±rÿ²ÿ³µ́ÿ́vr
            v·§vv¸ÿuvÿ§ÿxvsÿrÿqr§xÿ¹yrsÿ~yurÿvurxyºv±rÿ§ÿ¢qÿÿxÿ¹yrsÿuvÿuvÿuxruÿ~uyuÿuÿv
            xrxÿr§vyÿuvÿy}rx v±rÿ²³µ́ÿ́syrwxÿ§rvÿ¸ÿÿxÿ¹yrsÿvrÿ{~ÿuvÿuÿyÿrÿvxyÿ±sÿrÿuv
            y}rx v±rÿvÿsÿ§ÿuyÿr~ÿ vyÿ§r~ÿyyxyÿv§rÿ~uuxÿ»vs¼ÿuvÿvurxyºv±rÿrÿxvÿuÿy}rx v±rÿrÿx
            ¹yrsÿÿÿ»vÿÿrxÿxrÿyÿvxÿs°sÿ§ÿuÿ»vÿvsÿvy±ÿuÿxsyrxÿyÿvuxyÿy}rx v±rÿuvÿvÿ§ÿs
            vvyÿuÿ£§rxÿyÿrÿrÿr}ÿurÿvurxy±ÿ
            ÿ
            uvÿvysÿÿvurxyºsÿ§ÿuÿ»vÿrxÿ§ÿrxsxÿr}ÿuÿ§v{xÿ½sÿrÿvxÿrÿvurxyºsÿrÿxvÿvÿy}rx v±rÿrÿrux
            vx±ÿ~yurÿ¢q¯ÿrÿ
            ÿ
            yvÿsxyÿuÿq¾ÿuvxyÿrÿuvsÿysyvsÿuvÿrÿr{ÿrÿvÿxvrxÿxvxsyÿxyyÿrÿuÿur ÿuvÿx vyÿyÿuÿvÿ
            »vÿuvxÿuvÿy}rx v±rÿ~yuÿ¢qÿvÿ~ÿ
            ÿ
            »vÿÿÿ{r~ÿy}ÿrÿuvwÿvÿ±rÿrxÿ~rsÿy{ÿrÿsyÿuyÿv¼xÿ}xux
            ÿ
            uv{ÿr
            ÿ
            ¿ÀÁÿÃÄÿÅÆÇÈÇÉÊ
            ËÌÌÍÎÏÐÑÿÓÏÔÿÕÍÖÏ×ÐØÍÎÿÓÌÿÙÓÚ
            ÅÆÇÈÇÉÊÿÛÿÜÀÝÆÇÁÇÞÞÊßÿàááÀÉâãäÞÿÇáÿåÇæßÿçÄèÄ
            éêëéëÿìíîîíïÿðíñòóíô
            ìíîîíïõÿö÷øíïÿùúûüë
            ö÷îýÿþùûÿûûúÿüüüü
            0íøýÿþùûÿûûúÿüüüú
            123í4îýÿÿñ56ò768óîíó9ñ5 ÿ5
            4ï4ÿ5 ñÿó÷ï4÷ýÿÿýóóóÿ68óîíó9ñ5 ÿ5
            ÿðî÷íï÷ÿíò÷ÿ5÷ÿ58ÿ5 ñÿ÷óÿí66ñ÷ïïÿ
            ÿ
            5÷ ÿ4ÿïýÿÿ0í ÷55òÿÿöó4÷ñÿÿ559î÷ÿÿ4ò÷6
            ÿ
            3ðö ö 0ì1 öýÿö4ïÿ ÷ïïí9÷ÿ8ñ5 ÿ÷ÿîíóÿ84ñ ÿ58ÿ!"ÿ#ÿ3"ì$$õÿöö 1%$ÿöÿõÿðÿÿõÿ4ïÿ4÷6÷6ÿ5îôÿ85ñÿ÷
              ï÷ÿ58ÿ÷ÿí66ñ÷ïï÷÷ïÿï5óÿí5&÷ÿÿÿ5í4ïÿ485ñ í45ÿíÿ íôÿ÷ÿñ4&4î÷9÷6õÿ5846÷4íîÿí65ñÿ÷ø÷ ÿ8ñ5 ÿ64ïî5ïñ÷ÿ6÷ñÿí î4íî÷
               îíóÿÿ8ÿô5ÿíñ÷ÿ5ÿ÷ÿ4÷6÷6ÿñ÷44÷ÿ58ÿ4ïÿ ÷ïïí9÷õÿô5ÿíñ÷ÿ÷ñ÷ôÿ5484÷6ÿíÿ÷ÿ5ô49õÿï÷ÿ5ñÿ64ïñ445ÿ58ÿíôÿ485ñ í45ÿ5ñ
                 í÷ñ4íîïÿñíï 4÷6ÿ4ÿ5ñÿó4ÿ4ïÿ ÷ïïí9÷ÿ4ïÿïñ4îôÿñ544÷6ÿÿ8ÿô5ÿñ÷÷4&÷6ÿ4ïÿ ÷ïïí9÷ÿôÿ 4ïíò÷õÿî÷íï÷ÿ4 ÷64í÷îôÿíîîÿïÿí
                                                        þùûÿûûúÿüüüüÿí6ÿ6÷ïñ5ôÿ÷ÿ5ñ494íîÿ ÷ïïí9÷ÿÿöíòÿô5ÿ
                        ö1ýÿÿð ñïíÿ5ÿ÷ÿðööÿ õÿíîîÿ÷î÷ñ54ÿñíï 4ïï45ïÿíñ÷ÿï'÷ÿ5ÿ95&÷ñ ÷ÿïñ4ôÿó45ÿíÿ5ñÿ5ñ6÷ñÿ
            ÿ
            jBAmeÿty §xÿ¤yÿz{y uy|~ r ÿ
            H;N_eÿuxsvÿÿÿÿ¬ÿ
            :Aeÿuxyruxÿrxÿz rx|~ r ÿ̈{vºÿsvuÿ²v{vº|ur vyr ¸ÿzv{vº|ur vyr ÿ̈qrsÿtuvwvxy
            zxrs{|s}~v~xrr 
            HP;J_eÿqÿrvÿ¡ÿ¢qÿ£vvÿ¤r ÿÿ¥ÿ¦v§xysÿ̈vÿ©v{ÿ©vvÿªÿ«¬¡¡
            ­mIAB_=NJ;eÿ¤yu
            ÿ
            ()*ÿ*,-.-*ÿ/.01ÿ/.2.03*ÿ4,ÿ56789:;<<;ÿÿ=**ÿ.--.3)*>ÿ?@ABÿC
            ÿ
            !4÷ñîôÿ"4îî
            ðíñíî÷9íîÿ5ÿí÷ñÿùÿöñï÷÷õÿñ4ï5÷ñÿ35ï÷ñ
            D 4îî49õÿ$÷îí6÷ñõÿ5ó6ïõÿ4ïî÷ÿ#ÿ35ï÷ñõÿðÿÿ
            ûEEéÿFñôíÿ$ñ÷÷ÿ$ 4÷ÿéëEE
            ìíîîíïõÿöGÿÿùúûEé
            ûéü2ëùé2ûéEEÿH í4I
7111 1 !1"1##$#% 8&'()&*+2,*- *./%( 0-1&*22,* /'3&%45+*#0 2#$#6711$  28509 410
01231445ÿ0780ÿ9                                                                               ÿÿÿÿÿ
            :;<=>>?=;>;@ÿBCDEFGHI
            :;<=>@;=:;;;ÿBJKLI
            MNOPQÿSTUVWXYZT[Uÿ\YW[Uÿ]^_YW[U`aWbc_d^Y_eÿ
            fghiQÿjTkUWlmnoÿpkbnÿqroÿqsqtÿtsuvwÿx\
            yOQÿzm{ÿlm|[WTÿ}^m|^k|zm{`TYX_mVbd^Y_~ÿ]^m|^k|zm{`TYX_mVbd^Y_eÿYlÿTmmUVÿ]UYlz`lcbmcUYkZd^Y_e
             QÿV_[UbnÿVbbÿ]zV_TVbb̀aWbc_d^Y_e
            fgiQÿuÿjxÿÿuÿYm|ÿrwÿSÿmbbmWÿY_[WÿSÿÿXmX[UVl[
            ÿ
            ÿÿK¡Hÿ¢FÿHÿ£Kÿ¤HKHF¥EDC¦F§
            ÿ
            ¨©ª«¬
            ÿ
            ®¯°±²³´µ¯¶°ÿ·ÿ̧¹´²¶°ÿº»¼½igNÿ¿ÿyNÀiggÿºÁÂONhgÃ
            ÄO¼NÅÿgNÆÇgÅÿÄÀÈhgÀÀÿÄ¼hÉN½iÃÿÊ¼Ëÿ¼hÅÿOhÀPgNÿÄ¼hÉN½iÃÿÊ¼Ë
            ygÌ¼ÀÿÄO¼NÅÿOÍÿÊgÎ¼Ïÿf½gÈ¼ÏÈÐ¼ÆOh
            ÑÈÏÏÈhÎÒÿfgÏ¼hÅgNÒÿÊOËhÅÀÒÿÓÈhÀÏgÂÿÔÿÕOÀgNÒÿÖ××ÿºÿØÙÙÚÿÄNÃ¼hÿfiNggiÒÿfÈigÿÚÛÙÙÒÿÜ¼ÏÏ¼ÀÿyÝÿ¿ÞØÙÚ
            ÜÈNgiQÿßØÚàáÿÛÛÙâÚÛÙÞÿºÿM¼ÌQÿßØÚàáÿÛ¿ÚâØÚÚÚÿºÿãP¼ÈÏQÿPOÀgNäåÀÏËP×OP
            ÿ
            ÿ
            ÿ
            MNOPQÿSmUbYWÿ[U|m|l[{ÿ]SmUbYWd[U|m|l[{`Zml[æbmcUYkZd^Y_eÿ
            fghiQÿ[l|[Wlmnoÿpkbnÿqwoÿqsqtÿvutqÿç\
            yOQÿSTUVWXYZT[Uÿ\YW[Uÿ]^_YW[U`aWbc_d^Y_eÿY[UXÿV^Yklÿ]U_|V^Ykl`lmbbmWbmcd^Y_e
             QÿST[n[||[ÿèYzmV[ÿ]ST[n[||[dèYzmV[`Zml[æbmcUYkZd^Y_eÿzm{ÿlm|[WTÿ}^m|^k|zm{`TYX_mVbd^Y_~ÿ]^m|^k|zm{`TYX_mVbd^Y_e
            V_[UbnÿVbbÿ]zV_TVbb̀aWbc_d^Y_eÿYlÿTmmUVÿ]UYlz`lcbmcUYkZd^Y_e
            fgiQÿuÿjxÿÿuÿYm|ÿrwÿSÿmbbmWÿY_[WÿSÿÿXmX[UVl[
            ÿ
            [U[V|ÿXT[ÿm_Yk|XWÿYc[lu
            ÿ
            pk|[ÿZmn_[|Xuÿétsqtd
            pkbnÿZmn_[|Xuÿétsqtd
            êëìíîïðññòÿxkkWXÿZmn_[|Xuÿétsqtd
            kWZ[|W[ÿ}éqsdq~
            W^UYcÿV|WXmbb_[|X
            pk|[uÿétqdtt
            pkbnuÿétqdtt
            êëìíîïðññòÿxkkWXÿétqdtt
            ÿ
            jTm|zÿnYkÿjUkWX[[ÿ\YW[Uôÿçb[mW[ÿb[Xÿ_[ÿz|YcÿcT[|ÿXT[nÿmU[ÿÿVWWk[lÿm|lÿW[|XoÿWYÿõÿ^m|ÿV|YU_ÿ_nÿ^bV[|Xô
            [mUlWo
            SmUbYWÿmm[b
            ÿ
            ÿ
            ÿ
            ÿ
            ÿ

             ¼NÏOÀÿ÷×ÿøgNh¼hÅgÐâùÈúOhÈû
            Ä¼hÉN½iÃÿÁÂONhgÃÿâÿygÌ¼À
            üüstÿmWXÿýpÿUcnoÿX[dÿrqü
            mbbmWoÿjÿüqvs
            wüsdvqqdqüqsÿþÿtvvÿ}çTY|[~
            wüsdvqqdqüÿ}mþ~
            wdvwsdrqÿ}jYbbÿU[[~
            SmUbYWd[U|m|l[{`çml[æbmcUYkZd^Y_
            cccdZml[æbmcUYkZd^Y_
            ÿV^[|W[lÿV|ÿj[þmWÿ0ÿçk[UXYÿV^Y
            ÿ
            W^mbm1Y|ÿSY|Xm^XuÿST[n[||[ÿ\dÿèYzmV[oÿkZ[UVWV|ÿxæYU|[nj[þmWoÿST[n[||[dèYzmV[`Zml[æbmcUYkZd^Y_
            ÿ
            MNOPQÿSTUVWXYZT[Uÿ\YW[Uÿ]^_YW[U`aWbc_d^Y_eÿ
            fghiQÿ[l|[Wlmnoÿpkbnÿqwoÿqsqtÿquüqÿç\
            yOQÿSmUbYWÿ[U|m|l[{ÿ]SmUbYWd[U|m|l[{`Zml[æbmcUYkZd^Y_eÿY[UXÿV^Yklÿ]U_|V^Ykl`lmbbmWbmcd^Y_e
             QÿST[n[||[ÿèYzmV[ÿ]ST[n[||[dèYzmV[`Zml[æbmcUYkZd^Y_eÿzm{ÿlm|[WTÿ}^m|^k|zm{`TYX_mVbd^Y_~ÿ]^m|^k|zm{`TYX_mVbd^Y_e
            V_[UbnÿVbbÿ]zV_TVbb̀aWbc_d^Y_eÿYlÿTmmUVÿ]UYlz`lcbmcUYkZd^Y_e
            fgiQÿuÿjxÿÿuÿYm|ÿrwÿSÿmbbmWÿY_[WÿSÿÿXmX[UVl[
            ÿ
            23KHÿCÿÿ43 ÿK4ÿ£K4HÿCF§ÿ5677ÿ¦FHÿDHÿ£KDC8
7111 1 !1"1##$#% 8&'()&*+2,*- *./%( 0-1&*22,* /'3&%45+*#0 2#$#6711$  28509 810
01231445ÿ0780ÿ9                                                                                ÿÿÿÿÿ
            ÿ
            ;<=>?
            ÿ
            ABCDEFGHBICÿJKÿLGEICÿMNOPQRSTÿVÿWTXYRSSÿMZ[\T]S^
            _\PT`ÿNSTabS`ÿ_XYc]SYYÿ_P]dTXQRe^ÿfPgÿP]`ÿN\]YXhSTÿ_P]dTXQRe^ÿfPg
            WSiPYÿ_\PT`ÿ\jÿfSkPlÿmQSecPlcnPa\]
            oXcllc]kpÿmSlP]`STpÿf\g]`Ypÿqc]YlS[ÿrÿs\YSTpÿtuNuÿMÿvwwxÿ_T^P]ÿmRTSSRpÿmXcRSÿxywwpÿzPllPYÿW{ÿV|vwx
            zcTSeR}ÿ~vxÿyywxyw|ÿMÿPi}ÿ~vxÿyVxvxxxÿMÿhPcl}ÿeh\YST Ylghue\h
            ÿ
            ÿ
            ÿ
            T\h}ÿÿÿÿ
            mS]R}ÿÿÿ¡¢ÿ¡£¡¤ÿ¤¡¥¤¦ÿ§¨
            W\}ÿ©ª«©ÿ̈ÿ¬­ÿ®¯«ÿ°ªÿª±
            Ne}ÿ©ÿ²³ªÿ©²³ª
            mX´µSeR}ÿ®¶¥ÿ·¶¸¹¶®°º»¼ÿ±ÿ®¶¥ÿ»ÿ½¾¿À¢ÁÿÂ®ÿÃÿÿ»»ÿ±ÿÄ««¯ª
            ÿ
            ÂÿÅÿ¹«ÿ̈¥
            ¨ÿª«ÿ«ÿ«ÿÆÿª«©ÿÿ°ÇÿÈÿÃÈ«ÿÿ«©ÿÿÿ«©ÿ«ÿªÿ«ÿÿÈÿÁÉ¤É¡£¡¤
             «ÿªÿªÈÿ«©ÿ«ÿÿªÿ«ª«ÿÿÿ«ÿ̄ÿªÿÿªÿÿ«ÿÆªÿÿÊ«
            §ÿ«ÿÿ³Ë
            Ì«ÿ®
            ÿ®È
            ÿ
            ÿ
            ÿ

            NPTl\YÿÍuÿÎST]P]`SnÏcÐ\]cÑ
            _P]dTXQRe^ÿZ[\T]S^ÿÿWSiPY
            ¦¦£¤ÿ¶«ÿ»ÌÿÒÿÄ«ÿ¿¡¦
            Ãÿ¹¸ÿÀ¦¡Ó£
            ¢¦£Ó¡¡¡¦¡£ÿÔÿÀ¤ÓÓÿÕ§©Ö
            ¢¦£Ó¡¡¡¦ÁÀÿÕÒÔÖ
            ¢ÁÁÓ¢£¿¾À¡ÿÕ¹ÿÒÖ
            §
            
            ×»ªÿªÿ¹ÔÿØÿ§«ÿ®ª
            ÿ
            ¶Çÿ««¥ÿ©ÿ̈ÿ²³ªÿÄÆªªÿº±¹Ôÿ©²³ª
            ÿ
            T\h}ÿ©ª«©ÿ̈ÿ¬ÿ
            mS]R}ÿ¹©ÿ̈ÿ¡£ÿ¡£¡¤ÿ¿¥¦¡ÿº¨
            W\}ÿ®¯«ÿ°ªÿª±­ÿÿÿ
            mX´µSeR}ÿ®¶¥ÿ·¶¸¹¶®°º»¼ÿ±ÿ®¶¥ÿ»ÿ½¾¿À¢ÁÿÂ®ÿÃÿÿ»»ÿ±ÿÄ««¯ª
            ÿ
            ÙÚÛÜÝÞß
            ÿ
            àÜáÚÞáÿâãäáÿåÛæÿçãèÝéêÿÚëêÿìáÿíîáÿéëïÚãêÿðÚÜÚëèáÿÝñÿíîáÿÜÝÚëæ
            ÿ
            ;<=>?
            ÿ
            ABCDEFGHBICÿJKÿLGEICÿMNOPQRSTÿVÿWTXYRSSÿMZ[\T]S^
            _\PT`ÿNSTabS`ÿ_XYc]SYYÿ_P]dTXQRe^ÿfPgÿP]`ÿN\]YXhSTÿ_P]dTXQRe^ÿfPg
            WSiPYÿ_\PT`ÿ\jÿfSkPlÿmQSecPlcnPa\]
            oXcllc]kpÿmSlP]`STpÿf\g]`Ypÿqc]YlS[ÿrÿs\YSTpÿtuNuÿMÿvwwxÿ_T^P]ÿmRTSSRpÿmXcRSÿxywwpÿzPllPYÿW{ÿV|vwx
            zcTSeR}ÿ~vxÿyywxyw|ÿMÿPi}ÿ~vxÿyVxvxxxÿMÿhPcl}ÿeh\YST Ylghue\h
            ÿ
            ÿ
            ÿ
            T\h}ÿ®¯«ÿ°ªÿª±ÿ
            mS]R}ÿ¹©ÿ̈ÿ¡£ÿ¡£¡¤ÿ¿¥ÓÓÿº¨
            W\}ÿÿÿ
            Ne}ÿ©ª«©ÿ̈ÿ¬
            mX´µSeR}ÿ·¶¸¹¶®°º»¼ÿ±ÿ®¶¥ÿ»ÿ½¾¿À¢ÁÿÂ®ÿÃÿÿ»»ÿ±ÿÄ««¯ª
            ÿ
            ÙÚÛÜÝÞò
            ÿ
7111 1 !1"1##$#% 8&'()&*+2,*- *./%( 0-1&*22,* /'3&%45+*#0 2#$#6711$  28509 110
01231445ÿ0780ÿ9                                                                    ÿÿÿÿÿ
            :;ÿ=;>ÿ?@ABÿCBDEFGGF;HÿI;ÿIBJJÿEBÿI?BÿK>DDBHIÿL@J@HKBMÿNÿ@EÿFHKJ>OFHPÿQ?DFGÿR;GBDÿFHÿI?FGÿBE@FJÿ@Gÿ?B
            FGÿI?BÿC;GISK;HTFDE@IF;HÿCJ@Hÿ@PBHIÿU?;ÿFGÿ?@HOJFHPÿC@=EBHIGÿT;DÿVWQM
            ÿ
            X?@HYGÿT;Dÿ=;>Dÿ@GGFGI@HKBM
            ÿ
            Z[\]^_ÿabÿcde[fghÿi^b
            jklmnÿpmqrspmk
            ÿ
            tuvwxÿyz{|}~ÿ{zÿyz{|}~{zz|z{}}ÿ
            xÿ~zÿzÿlkÿkqklÿlllqÿ
            vxÿ}{ÿ}ÿ{}z||z~r|z}
             ¡¢xÿ£}zÿ¤¥¦s§¨ÿ©yÿªz||z~ÿ}~ÿ££yÿrÿ«z{
            ÿ
            ||}ÿ{}¬{ÿ}~|ÿ}
            {¬ÿÿ}zÿ­}{z®}ÿ}ÿ}ÿ¬ÿ¬z|~ÿ}­ÿ}z®}ÿ}ÿ¬~ÿz{ÿÿÿ
            z{~
            yz{|}~ÿz­z|
            ¯«
            °±ÿ~¬z{ÿ¬{ÿ¬ÿ}ÿ¬ÿªÿ}­ÿ²{~ÿz~ÿ¬~ÿ}ÿ~ÿ|ÿ­}{z®}
            ÿ
            ÿ

            ³´uµv¶ÿ̧¹ÿºu´»¼½¾¿Àv¿Á
            Â´ÃuÄ¢ÅÿÆÇvuÅÿ½ÿÈ´¶
            ppqlÿÉz~ÿ£ÊËÿÌ{ÿ«ÿ¦kp
            ªz||z~ÿ²Íÿspkmq
            §pqmkkkpkqÿÎÿslmmÿj¯¬}n
            §pqmkkkp¨sÿjÌzÎn
            §¨¨m§q¦¥skÿj²}||ÿÌ{n
            yz{|}~{z¯z|z{}}
            z|z{}}
            Ï£~ÿÿ²Îz~ÿÐÿ̄{}ÿ}
            ÿ
            É~z|z®}ÿy}zÿy¬ÿ ÿÑ}Òzÿ«{Ó~ÿ}{r²Îz~ÿy¬Ñ}Òzz|z{}}
            ÿ
            ²²É²°Ôÿ̄{Ó|ÿzÕ}{ÿ}Ö®z|ÿ­}{z®}ÿ|ÿz}{r|ÿ}z®}ÿzÕ}{ÿz}{ÿ}{Òÿ{}ÿzÿ
            }zÿÿ¬~ÿ~~zÿzÿ~ÿ|z||ÿ{Ó|ÿ{~zÿ}ÿ¬ÿÌ{z|ÿÉ|{}ÿy}z®}ÿ̄{Ózÿÿl§ÿ×«yÿØØÿkplqrkpkl
            ²¬~ÿz|ÿ~~zÿ~ÿÿ}|ÿ­}{ÿ¬ÿÓz|ÿ}{ÿÓz|~ÿ}ÿ¬}ÿÿ~ÿ{ÿ°­ÿ}ÿz{ÿ}ÿzÿÿ{ÿ}­ÿ¬~
            z|ÿ~~zÿ}{ÿ{~}~|ÿ­}{ÿ|Ó{ÿ}­ÿ¬~ÿ~~zÿ}ÿ~¬ÿ{~}ÿzÿ~~z®}ÿ~{®}ÿ}{ÿ}ÿ}­ÿ¬~
            }z®}ÿ~ÿ~{|ÿ{}¬ÿzÿzÿÿzÿ{ÿ°­ÿ}ÿ{Óÿ¬~ÿ~~zÿÿ{{}{ÿ|z~ÿz|ÿ}®­ÿ¬ÿ~{ÿ
            {~}ÿ}ÿ¬~ÿrz|ÿ~~zÿzÿz|ÿ|ÿ¬~ÿrz|ÿ~~zÿzÿz||ÿ}~ÿ}­ÿÿ­{}ÿ}{ÿ~~ÿzÿ~{}ÿz
            ¬z{ÿ}~ÿ}­ÿÿ²°«ÿ£ÿÌ°ÿÙÿÊÉÿªÉÉÉªÿÿÚªÉÊ²ÿyÔ££Éy²ÔÛÿ×ªÉÿ²ÉÿÌ°ÿªÉÊ²ÿyÔ££Éy²°Ôÿ̄y²°yÉ«ÿy²ÿÙÿªÿ££
            °ÌÔ²°ÔÿÔÊ²°Éªÿ°££ÿÊÉÿ×«ÉªÿÌÔÿ²Éÿ̄×¯Ô«ÉÿÔÌÿyÔ££Éy²°©ÿÿªÉÊ²ÿ²¬~ÿ~ÿÿ}ÿzÿzÿzÿ}ÿ}||ÿzÿÿ­{}ÿ}
            ­ÿ}{ÿ{~}z|ÿ|z|ÿ­}{ÿ~zÿÿ¬z~ÿÿ}Öÿ}{ÿÎ®~¬ÿÿzÿ~¬z{ÿÿzÒ{ÿ²¬zÒÿ}ÿ­}{ÿ}{ÿ®ÿz
            z®}ÿ}ÿ¬~ÿz{
            ²²É²°Ôÿ̄{Ó|ÿzÕ}{ÿ}Ö®z|ÿ­}{z®}ÿ|ÿz}{r|ÿ}z®}ÿzÕ}{ÿz}{ÿ}{Òÿ{}ÿzÿ
            }zÿÿ¬~ÿ~~zÿzÿ~ÿ|z||ÿ{Ó|ÿ{~zÿ}ÿ¬ÿÌ{z|ÿÉ|{}ÿy}z®}ÿ̄{Ózÿÿl§ÿ×«yÿØØÿkplqrkpkl
            ²¬~ÿz|ÿ~~zÿ~ÿÿ}|ÿ­}{ÿ¬ÿÓz|ÿ}{ÿÓz|~ÿ}ÿ¬}ÿÿ~ÿ{ÿ°­ÿ}ÿz{ÿ}ÿzÿÿ{ÿ}­ÿ¬~
            z|ÿ~~zÿ}{ÿ{~}~|ÿ­}{ÿ|Ó{ÿ}­ÿ¬~ÿ~~zÿ}ÿ~¬ÿ{~}ÿzÿ~~z®}ÿ~{®}ÿ}{ÿ}ÿ}­ÿ¬~
            }z®}ÿ~ÿ~{|ÿ{}¬ÿzÿzÿÿzÿ{ÿ°­ÿ}ÿ{Óÿ¬~ÿ~~zÿÿ{{}{ÿ|z~ÿz|ÿ}®­ÿ¬ÿ~{ÿ
            {~}ÿ}ÿ¬~ÿrz|ÿ~~zÿzÿz|ÿ|ÿ¬~ÿrz|ÿ~~zÿzÿz||ÿ}~ÿ}­ÿÿ­{}ÿ}{ÿ~~ÿzÿ~{}ÿz
            ¬z{ÿ}~ÿ}­ÿÿ²°«ÿ£ÿÌ°ÿÙÿÊÉÿªÉÉÉªÿÿÚªÉÊ²ÿyÔ££Éy²ÔÛÿ×ªÉÿ²ÉÿÌ°ÿªÉÊ²ÿyÔ££Éy²°Ôÿ̄y²°yÉ«ÿy²ÿÙÿªÿ££
            °ÌÔ²°ÔÿÔÊ²°Éªÿ°££ÿÊÉÿ×«ÉªÿÌÔÿ²Éÿ̄×¯Ô«ÉÿÔÌÿyÔ££Éy²°©ÿÿªÉÊ²ÿ²¬~ÿ~ÿÿ}ÿzÿzÿzÿ}ÿ}||ÿzÿÿ­{}ÿ}
            ­ÿ}{ÿ{~}z|ÿ|z|ÿ­}{ÿ~zÿÿ¬z~ÿÿ}Öÿ}{ÿÎ®~¬ÿÿzÿ~¬z{ÿÿzÒ{ÿ²¬zÒÿ}ÿ­}{ÿ}{ÿ®ÿz
            z®}ÿ}ÿ¬~ÿz{
            ²²É²°Ôÿ̄{Ó|ÿzÕ}{ÿ}Ö®z|ÿ­}{z®}ÿ|ÿz}{r|ÿ}z®}ÿzÕ}{ÿz}{ÿ}{Òÿ{}ÿzÿ
            }zÿÿ¬~ÿ~~zÿzÿ~ÿ|z||ÿ{Ó|ÿ{~zÿ}ÿ¬ÿÌ{z|ÿÉ|{}ÿy}z®}ÿ̄{Ózÿÿl§ÿ×«yÿØØÿkplqrkpkl
            ²¬~ÿz|ÿ~~zÿ~ÿÿ}|ÿ­}{ÿ¬ÿÓz|ÿ}{ÿÓz|~ÿ}ÿ¬}ÿÿ~ÿ{ÿ°­ÿ}ÿz{ÿ}ÿzÿÿ{ÿ}­ÿ¬~
            z|ÿ~~zÿ}{ÿ{~}~|ÿ­}{ÿ|Ó{ÿ}­ÿ¬~ÿ~~zÿ}ÿ~¬ÿ{~}ÿzÿ~~z®}ÿ~{®}ÿ}{ÿ}ÿ}­ÿ¬~
            }z®}ÿ~ÿ~{|ÿ{}¬ÿzÿzÿÿzÿ{ÿ°­ÿ}ÿ{Óÿ¬~ÿ~~zÿÿ{{}{ÿ|z~ÿz|ÿ}®­ÿ¬ÿ~{ÿ
            {~}ÿ}ÿ¬~ÿrz|ÿ~~zÿzÿz|ÿ|ÿ¬~ÿrz|ÿ~~zÿzÿz||ÿ}~ÿ}­ÿÿ­{}ÿ}{ÿ~~ÿzÿ~{}ÿz
            ¬z{ÿ}~ÿ}­ÿÿ²°«ÿ£ÿÌ°ÿÙÿÊÉÿªÉÉÉªÿÿÚªÉÊ²ÿyÔ££Éy²ÔÛÿ×ªÉÿ²ÉÿÌ°ÿªÉÊ²ÿyÔ££Éy²°Ôÿ̄y²°yÉ«ÿy²ÿÙÿªÿ££
            °ÌÔ²°ÔÿÔÊ²°Éªÿ°££ÿÊÉÿ×«ÉªÿÌÔÿ²Éÿ̄×¯Ô«ÉÿÔÌÿyÔ££Éy²°©ÿÿªÉÊ²ÿ²¬~ÿ~ÿÿ}ÿzÿzÿzÿ}ÿ}||ÿzÿÿ­{}ÿ}
            ­ÿ}{ÿ{~}z|ÿ|z|ÿ­}{ÿ~zÿÿ¬z~ÿÿ}Öÿ}{ÿÎ®~¬ÿÿzÿ~¬z{ÿÿzÒ{ÿ²¬zÒÿ}ÿ­}{ÿ}{ÿ®ÿz
            z®}ÿ}ÿ¬~ÿz{


7111 1 !1"1##$#% 8&'()&*+2,*- *./%( 0-1&*22,* /'3&%45+*#0 2#$#6711$  28509 010
     pÿusÿ|vwÿÿÿÿ
    npÿyxÿ~xwÿz{~xw}x{~ÿw~ÿ{ywÿz{yw}wwsvs{~ÿ~uÿys¡sÿz~ur}us~|¢{~ÿsvÿ~|t
    zsv}~|ts{~
    £¤pÿ~¥wÿ¦{~|uÿzv{~|u}ussx§s{~
     ¨©ª¤pÿwÿ«uwÿsvuÿ¢swv
    ÿ
    ­QiYP®
    ÿ
     °̄XÿWijYN±ÿWVÿMVÿkQJW°Pÿ²OPWÿ³ViÿJZZÿSiOMYWViPÿJNMÿ³ViÿJZZÿSiOMYWViPÿWQOÿ²OPWÿWQYN±ÿYPÿWVÿIOO´ÿµ¶­ÿJ³ZVJWÿJNMÿSVNWYNTOMÿXV·YN±ÿPVÿ²VWQÿµiO±
    JNMÿ¶VMÿWQOÿJWWViNOj°Pÿ³Viÿµ¶­ÿQJ·OÿJ±iOOMÿWVÿWQOÿViMOi[ÿÿ
    ¸OW°Pÿ±OWÿWQYPÿViMOiÿMVNOÿ́OiÿjVTiÿJ´´iV·OMÿXVWYVNÿJNMÿZYIOÿ̄ÿPJYMÿkOÿSJNÿMOJZÿkYWQÿ¹YSVTMÿJ³WOiÿkOÿºVYNWZjÿZVVIÿJWÿkQJWÿkOÿQJ·Oÿ³Vi
    O»´ONPOPÿSVXYN±ÿT´ÿkQYSQÿYPÿkQJWÿYPÿ²OPWÿ³ViÿWQOÿJZZVkOMÿ­iOMYWViPÿ
    ]QYPÿViMOiÿPQVTZMÿ²OÿJÿPWiJY±QW³VikJiMÿViMOiÿWQOÿºTM±OÿPJYMÿ±VÿJQOJMÿJNMÿ́JjÿJNMÿXJIOÿjVTiÿMYP²TiPOXONWPÿ́OiÿjVTiÿXVWYVNÿJNMÿT´ZVJM
    WQOÿViMOi[ÿ]QJWÿkJPÿjOPWOiMJjÿJWÿ̀V°SZVSIÿb¼ÿQVTiPÿJ±VÿJNMÿNVkÿJZZÿkO°iOÿMVYN±ÿYPÿOJWYN±ÿJkJjÿJWÿXViOÿJWWViNOjÿ²YZZP[ÿ
    ½TM±Oÿ¶QVMOPÿMOSYPYVNÿZYIOÿPQO°PÿMVNOÿYNÿWQOÿ́JPWÿPJjYN±ÿQOjÿQOiO°PÿXjÿMOSYPYVNÿ́ZOJPOÿXJIOÿJNÿViMOiÿViÿMVÿJPÿPQOÿPJjP®ÿJNMÿWQONÿNO»WÿWQYN±
    kOÿINVkÿ̄ÿQJ·OÿjVTÿPJjYN±ÿ¹YSVTMÿkYZZÿJ±iOOÿ̄¾[[[[[ÿJNMÿYW°PÿPVXOWQYN±ÿTNiOZJWOMÿWVÿWQOÿXVWYVNÿVNÿWQOÿWJ²ZOÿ
    ]QOÿ½TM±OÿYPÿ±Y·YN±ÿjVTÿJÿMOSYPYVNÿJNMÿJSWYVNÿ̄ÿMVN°WÿTNMOiPWJNMÿkQjÿhi[ÿ¹YSVTMÿYPÿSVX´ZOWOZjÿ±VYN±ÿJ±JYNPWÿkQJWÿWQOÿºTM±Oÿ́VYNWPÿVTW[
    ¿SWTJZZjÿ̄ÿMV[ÿ
    ]QOÿWiTWQÿV³ÿWQOÿXJWWOiÿJNMÿjVTÿINVkÿWQYPÿYPÿjOWÿJ±JYNÿ­JZMkOZZÿYPÿ²TjYN±ÿWYXOÿWVÿWijÿWVÿ±OWÿJNVWQOiÿkiYWÿV³ÿ±JiNYPQXONWÿPVÿWQJWÿQOÿSJN
    PYN±ZOÀQJNMOMZjÿPJ²VWJ±Oÿµ¶­°Pÿ³ViÿQYPÿOXVWYVNJZÿPOZ³ÿSONWOiOMÿ²ONO³YWÿ¹Á]ÿWQOÿ²ONY³YWÿV³ÿJZZÿSiOMYWViPÿJNMÿ²jÿMVYN±ÿPVÿMOPWiVjYN±ÿJZZÿWQO
    VWQOiÿSiOMYWViPÿSQJNSOÿV³ÿiOSVT´YN±ÿWQOÿXVPWÿWQOjÿSJNÿYNÿWQOÿ²JNIiT´WSjÿ́ZJNÿJPÿSVN³YiXOM[ÿ¿NMÿ̄ÿ³OOZÿjVTiÿVNÿ²VJiMÿkYWQÿWQOPOÿPWJZZYN±
    O³³ViWP[ÿ]QYPÿYPÿNVWÿYNÿWQOÿ²OPWÿYNWOiOPWÿV³ÿJZZVkOMÿSiOMYWViPÿ
     °̄·Oÿ́VYNWOMÿVTWÿWVÿjVTÿXTZWÝZOÿWYXOPÿ́ZOJPOÿ́JjÿWQOÿSiOMYWViPÿNVk
    Á­ÿJPÿ́iV·ONÿWYXOÿJNMÿWYXOÿJ±JYNÿQJ·OÿMVNOÿXTZWÝZOÿXVWYVNPÿ³ViÿkiYWÿV³ÿ±JiNYPQXONWPÿkQYSQÿQJ·OÿQJMÿjVTÿQVZMÿWQOÿXVNOjÿJNMÿNVW
    MYPWiY²TWOÿkQYSQÿ̄ÿJ±iOOÿkYWQÿkQYZOÿJÿ́ONMYN±ÿPVZTWYVNÿSVXOPÿ³iVXÿWQOÿPWJWOÿºTM±OÿWQONÿQOÿºTPWÿkYWQMiJkPÿQYPÿXVWYVNÿJNMÿ³YZOPÿYWÿJ±JYNÿJNM
    QO°Pÿ³ViSOMÿµ¶­°PÿJNMÿhjPOZ³ÿWVÿNVkÿV·OiÿWQOÿZJPWÿPY»ÿXVNWQPÿQJ·OÿWVÿMVÿJÿP´OSYJZÿSYiSTXPWJNSOÿQOJiYN±ÿJNMÿ²JWWZOÿ³ViÿkJ±OPÿJNMÿPJZJijÿWV
    NVWÿ±OWÿ±JiNYPQOMÿYNÿJÿ¹Á¹ÿµ¿¶¹Â̄Ã¹̄µÿPWJWO[ÿ
    ÄVT°iOÿPT´´VPOMÿWVÿ²OÿJÿNOTWiJZÿ́JiWjÿWQJWÿMVOPÿkQJWÿYPÿ²OPWÿ³ViÿJZZÿSiOMYWViPÿJPÿkOZZÿQOŹPÿWQOÿMO²WViÿWVÿXJ»YXYKOÿ́iV³YWPÿ́OiÿWQOÿ́ZJNÿ̄ÿ³OOZ
    JPÿWQVT±QÿjVT°·Oÿ²OONÿZOWWYN±ÿ¶V²OiWÿ¹YSVTMÿSVNWiVZÿWQOÿSVX´JNjÿNVNOÿV³ÿWQOÿVWQOiÿSiOMYWViPÿJNMÿNVNOÿV³ÿWQOÿVWQOiÿJWWViNOjPÿQJ·OÿO·Oi
    XJMOÿJNjÿMYPJ±iOOXONWPÿV³ÿJNjWQYN±ÿWQOj°·OÿJZZÿPT´´ViWOMÿµ¶­ÿJNMÿWQJWÿYPÿkQjÿkOÿQJ·OÿV·Oiÿe^cIÿkJYWYN±ÿWVÿ±VÿVTW[ÿ
    ÄVTÿÿSVNWYNTOÿWVÿZOWÿ¹YSVTMÿJNMÿ­JZMkOZZÿMOPWiVjÿµ¶­°ÿJNMÿ²jÿMVYN±ÿPVÿMOPWiVjÿJZZÿSiOMYWViPÿ²OPWÿYNWOiOPW[ÿ
    ÅOÿQJ·Oÿ²OONÿWijYN±ÿWVÿ±OWÿWQiTÿkYWQÿ­V·YMÀ`aÿ́ZOJPOÿPWV´ÿJZZVkYN±ÿ­JZMkOZZÀ`aÿWVÿMiY·OÿWQOÿ²TP[ÿ
    ÂONWÿ³iVXÿXjÿYgQVNO
          ÁNÿ½TNÿ¼®ÿbcb`®ÿJWÿ̀dcÆÿgh®ÿµiO±VijÿhYWSQOZZÿR±XYWSQOZZU³iOOXJNZJk[SVX\ÿkiVWOd

          ÿ{wvÿ{svv~ÿswwÿ~ÿx~wyvÿysÿywÿ~|ÿuuÿv~ÿ~uwÿÿÇywÿ~|Èxÿ~uwÿuuÿv~ÿv{|uwÿsvÿ{~vÉvwv{wx
          ÿ
          wÿ{yw
          ÿ
          lmnopÿ~¥wÿ¦{~|uÿzv{~|u}ussx§s{~ÿ
           pÿusÿ|vwÿÿÿÊÿ
          npÿyx~¢ywÿ~xwÿz{~xw}x{~ÿw~ÿ{ywÿz{yw}wwsvs{~ÿ~uÿys¡sÿz~ur}us~|¢{~
          rstÿusvwxyÿË{sv{|vrst}y~s{~Ìÿz{sv{|vrst}y~s{~
          £¤pÿ~yvÿsuwÿzÍ~yvu{suw}sy~~{~
           ¨©ª¤pÿÎÿ«uwÿsvuÿ¢swv
          ÿ
          ÏÐÑÒÓÔ
          ÿ
          Ö×ØÿÙÚÛÿØÜÝ×ÚÞÿßÐàÿ×ÑÞàÑÿá×ßÒáâÿÙÛÿÚÜÜÑ×ãÚÝÿÚÓÿß×ÿä×ÑÙÿ×áÝÛÿÒäÿåæçÿèæéÖÿêëÿì×ÐáÿÏÚÝÞíàÝÝîÓÿÚÞÙÒá
          ïÝÚÒÙÿÒÓÿß×ÿðàÿÜÚÒÞÿÚßÿßÐàÿÓÚÙàÿßÒÙàÿÚÓÿßÐàÿÞÒÓßÑÒðØßÒ×áñ
811!1! 1"#1$1%%&%' 9()*+(,-2.,7 ,/0'* 172(,32., 0)4('56-,%0 3%&%% "7/7+84809-0: 214
01231445ÿ2789ÿ                                                                                ÿÿÿÿÿ
           ÿ
           <=>?@AÿCDÿEFG=HIJÿK@D
           LMNOPÿROSTUROM
           ÿ
           VWXYZÿ[\]^_`ab\c]ÿda_c]ÿefga_c]hi_jkglfagmÿ
           nopqZÿr]^stuvÿwxycÿOvÿMSMNÿNMz{|ÿ}d
           ~XZÿac]`ÿ^faxsÿe]gy^faxshstjjt_Tjtklfagmÿ]ca]uÿd^`f\cjjÿeg^`f\cjjh ]ccgtyjtklfagmÿasÿ\tt]^
           e]ashskjtk]axblfagmÿtÿstyc_\ÿLftyfxyth\a`gt^jlfagPÿeftyfxyth\a`gt^jlfagm
           noqZÿ]sc]ÿtysÿbtugcy`
           ÿ
           ÿ
           ÿ
              Nlÿÿÿÿ¡ÿ ¡ÿ¢ÿ
              Mlÿ£¡ÿÿÿ¤¥ÿÿÿ¦§ÿ̈©ÿª«¬
                                                              ÿ­ÿ®ÿ«¡ÿÿÿ¡ÿ¡¯
                 ÿ¡ÿÿ¤©
           ÿ
           °±²³́
           ÿ
           ¶·¸¹º»¼½·¾¸ÿ¿ÀÿÁ¼º¾¸ÿÂÃÄÅÆqoWÿÈÿ~WÉqooÿÂÊËXWpoÌ
           ÍXÅWÎÿÃoWÏÐoÎÿÍÉÑpoÉÉÿÍÅpÒWÆqÌÿÓÅÔÿÅpÎÿÃXpÉYoWÿÍÅpÒWÆqÌÿÓÅÔ
           ~oÕÅÉÿÍXÅWÎÿXÖÿÓo×ÅØÿnÆoÑÅØÑÙÅÏXp
           ÚÑØØÑp×ÛÿnoØÅpÎoWÛÿÓXÔpÎÉÛÿÜÑpÉØoËÿÝÿÞXÉoWÛÿßàÃàÿÂÿáââãÿÍWÌÅpÿnqWooqÛÿnÑqoÿãäââÛÿåÅØØÅÉÿ~æÿÈçáâã
           åÑWoqZÿèáãéêÿääâëãäâçÿÂÿVÅÕZÿèáãéêÿäÈãëáãããÿÂÿìYÅÑØZÿYXÉoWíîÉØÔYàXY
           ÿ
           ÿ
           ÿ




811!1! 1"#1$1%%&%' 9()*+(,-2.,7 ,/0'* 172(,32., 0)4('56-,%0 3%&%% "7/7+84809-0: 414
01231445ÿ27893ÿ                                                                             ÿÿÿÿÿ
     9:;ÿ=>?@>ABCDEÿFÿA>;ÿGHIJHÿKLIÿMKNOJLP
     QRSÿURVWXYÿZ[RV[\VQRS]Y^_`Rabc[^`d
     eY\ÿfghigjkjjÿhklmnÿop
     e^lqrRVÿq^\SÿZqrRV]q^\SbRsc[^`d

     tuvwxÿz{|}~{|ÿ~|ÿ~|~
     xÿ|}ÿÿÿÿÿ
      vxÿ¡|¢|ÿ}{ÿ¢}{£|¤ÿ¥¦|ÿ§}ÿ|}~¨¤ÿ¥ÿ©{ª|}ÿ|«£¢|¤ÿ«¬ÿ~{
     ­«¬{}®ÿ«¬{}
     ¯°xÿ{ÿzÿ±{{
     ²³´°xÿ¥µÿ¶µ·¸µ¥§¹º»ÿ̈ÿ¥µÿ¼||ÿÿ
     ÿ
     ¾¿ÀÀÿÂÃÀÄÅÆÿÇÈÉÿÄÊÆÉÊÿÅËÆÿÄËÌÉÿÉËÇÉÊÉÆÿ¾¿ÀÀÿÍÅÎÉÿÅÀÀÿÇÈÉÿÃÅÏÍÉËÇÐÿÑËÿÇÈÉÿÄÊÆÉÊÒÿ¾ÿÓÑÀÀÿÅÀÐÄÿÃÅÏÿÔÊÒÿÕÅÀÆÓÉÀÀÿÃÉÊÿÈÑÐ
     ÌÄÂÊÇÿÄÊÆÉÊÿÅËÆÿÃÉÊÿÇÈÉÿÆÑÊÉÌÇÑÄËÿÄÖÿÇÈÉÿÃÀÅËÒ
     ÿ
     ×ØÙÚÛ
     ÿ
     ÝÞßàáâãäÞåßÿæçÿèãáåßÿé¯êëìuÿîÿu²ïÿéðñvuò
     óvëuôÿ̄uõöôÿó²ï÷ïïÿóëøu²ì°òÿùëúÿëôÿ̄vï²wuÿóëøu²ì°òÿùëú
      ûëïÿóvëuôÿvüÿùýëþÿì°÷ëþ÷ÿëõv
     0²÷þþ÷ý1ÿþëôu1ÿùvúôï1ÿ2÷ïþñÿ3ÿ4vïu1ÿ56̄6ÿéÿ7889ÿóuòëÿu1ÿ²÷ÿ9881ÿëþþëïÿ ÿî789
       ÷u°xÿ79ÿ 898ÿéÿtëûxÿ79ÿî97999ÿéÿwë÷þxÿ°wvïuïþúw6°vw
     ÿ
     ÿ
     ÿ
     tuvwxÿ¡|¢|ÿ}{ÿ¢}{£|ÿ
     xÿ|}ÿÿÿÿÿ
      vxÿ¥¦|ÿ§}ÿ|}~¨¤ÿz{|}~{|ÿ~|ÿ~|~¤ÿ¥ÿ©{ª|}ÿ|«£¢|¤ÿ«¬ÿ~{
     ­«¬{}®ÿ«¬{}
     ¯°xÿ{ÿzÿ±{{
     ²³´°xÿ¶µ·¸µ¥§¹º»ÿ̈ÿ¥µÿ¼||ÿÿ
     ÿ
     ÿ}ÿÿ¢|ÿÿ~{}¢ÿ{ÿ{ÿz|ÿ}ÿÿ||ÿÿ̧{ÿz|~ÿ||ÿ}ÿÿ}ÿÿ¢}~
     ÿ
     ¡|¢ÿ}{
     ÿ
     tuvwxÿ¥¦|ÿ§}ÿ|}~¨ÿ
     xÿ|}ÿÿÿÿÿ
      vxÿz{|}~{|ÿ~|ÿ~|~¤ÿ¡|¢|ÿ}{ÿ¢}{£|¤ÿ¥ÿ©{ª|}ÿ|«£¢|¤ÿ«¬ÿ~{
     ­«¬{}®ÿ«¬{}
     ¯°xÿ{ÿzÿ±{{
     ²³´°xÿ¥µÿ¼||ÿÿ
     ÿ
     ÕÈÊÑÐ
     ÿ
     ÄÂÿÍÅÏÿÂÃÀÄÅÆÿÇÈÉÿÄÊÆÉÊÿËÄÇÑËÿÍÏÿÅÃÃÊÄÅÀÿÅÐÿÇÄÿÖÄÊÍÿÄËÀÏÿÑÖÿÿ ÿ¾!ÿ"ÄÈËÿÕÅÀÆÓÉÀÀ¿ÐÿÅÆÍÑËÿÌÀÅÑÍÿÑÐ
     ÇÄÿ#ÉÿÃÅÑÆÿÅÇÿÇÈÉÿÐÅÍÉÿÇÑÍÉÿÅÐÿÇÈÉÿÆÑÐÇÊÑ#ÂÇÑÄËÒ
     ÿ
     $%&'()ÿ+,ÿ-./%012ÿ3(,
     ­®ÿ¨4
     ÿ
     tuvwxÿz{|}~{|ÿ~|ÿ~|~ÿ
     xÿ|}ÿÿÿÿ56ÿ
      vxÿ¥¦|ÿ§}ÿ|}~¨¤ÿ¡|¢|ÿ}{ÿ¢}{£|¤ÿ¥ÿ©{ª|}ÿ|«£¢|¤ÿ«¬ÿ~{
     ­«¬{}®ÿ«¬{}
     ²³´°xÿ¼||ÿÿ
     ÿ
     7ÀÉÅÐÉÿÌÄËÖÑÊÍ
     ÿ
        ÿ¾ÿÌÅËÿÂÃÀÄÅÆÿÇÈÉÿÅÇÇÅÌÈÉÆÿÄÊÆÉÊ8ÿÅËÆ

811 1 1!"1#1$$%$& 9'()*'+,2-+7 +./&) 071'+22-+ /(3'&45,+$0 2$%$)'-647441)1+78 214
01231445ÿ27893ÿ                                                  ÿÿÿÿÿ
           9:ÿ<=>?>ÿABÿCDÿDEF>GHA
                                DCÿHDÿI>ÿJKLACMÿN?OÿPKQRS>QQTBÿKRIACABH?KHAU>ÿ>VJ>CB>ÿS=>CÿWÿGXHÿH=>ÿG=>GYBÿZD?ÿH=>
           ACH>?AIÿRABH?AEXHADCO
    ÿ
    [\]^_
    ÿ
    abcdefghbicÿjkÿlgeicÿmnopqrstÿvÿwtxyrssÿmz{|t}s~
    |ptÿnstsÿxy}syyÿp}txqr~ÿpÿp}ÿn|}yxstÿp}txqr~ÿp
    wspyÿ|ptÿ|ÿspÿqspp|}
    x}ÿsp}stÿ|}yÿ}ys{ÿÿ|ystÿnÿmÿÿt~p}ÿrtssrÿxrsÿÿppyÿwÿv
    tsrÿÿ¡ÿmÿ¢pÿÿv¡ÿmÿ£pÿ|yst¤¥y|
    ÿ
    ÿ
    ÿ




811 1 1!"1#1$$%$& 9'()*'+,2-+7 +./&) 071'+22-+ /(3'&45,+$0 2$%$)'-647441)1+78 414
